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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY

  IN RE INSULIN PRICING LITIGATION           Civil Action No. 17-699 (BRM)(LHG)

                                             SECOND AMENDED
                                             CLASS ACTION COMPLAINT
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          The plaintiffs, on behalf of themselves and all others similarly situated, for their

   complaint against defendants Eli Lilly and Company (Eli Lilly), Novo Nordisk Inc. (Novo

   Nordisk), and Sanofi-Aventis U.S. LLC (Sanofi) (collectively, the Defendant Drug

   Manufacturers or defendants), allege the following based on (a) personal knowledge, (b) the

   investigation of counsel, and (c) information and belief.

                                       I.      INTRODUCTION

          1.      The plaintiffs, consumers of analog insulins, bring this proposed class action

   against the manufacturers of their insulin medications—Eli Lilly, Novo Nordisk, and Sanofi—

   for their artificial and fraudulent inflation of the analog insulins’ benchmark (or point of sale)

   prices in the United States. The analog insulin medications at issue in this complaint are

   Humalog, Basaglar, Fiasp, Novolog, Levemir, Tresiba, Apidra, Lantus, and Toujeo.

          2.      Eli Lilly, Novo Nordisk, and Sanofi separately conspired with each of the largest

   pharmacy benefit managers (PBMs)—CVS Health, Express Scripts, and OptumRx—to widen a

   secret spread between the defendants’ published benchmark prices and their undisclosed net

   selling prices for their analog insulins. Cognizant that PBM profits are tied to the size of the

   spread between benchmark price and net selling price, the defendants have offered the PBMs

   higher spreads in exchange for preferred positions on the PBMs’ drug formularies. To carry out

   this scheme, the Defendant Drug Manufacturers artificially inflate the prices they publicly

   report—their benchmark or “sticker” price—and then secretly offer a far lower price—the net

   price—to the largest PBMs. This benchmark price inflation pads the pockets of PBMs who retain

   a percentage of the spread between benchmark price and net price. In exchange for the

   defendants’ fraudulent inflation of their reported benchmark prices (and corresponding spreads

   between prices), the PBMs promise preferred formulary placement to the winning bidder (i.e.,

   the manufacturer with the highest spread). As a result, formulary decisions for these important


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   medications are increasingly made based on inflated benchmark prices (and corresponding

   spread inflation), rather than net prices or the safety and efficacy of the analog insulins.

          3.        Caught in the middle of this fraudulent price reporting are consumers whose

   payments for analog insulin are tied directly to the defendants’ published benchmark prices at the

   point of sale. The Defendant Drug Manufacturers’ scheme deceived the plaintiffs and class

   members. Rather than pay for analog insulin based on fair benchmark prices—reasonable

   approximations of the insulins’ real prices—consumers instead paid for their insulins at the point

   of sale based on the manufacturers’ fake benchmarks prices that bear little or no resemblance to

   the true prices of the drugs. All consumer payers relied on and reasonably believed the

   defendants’ representations that their sticker prices were reasonable benchmarks for making

   significant, out-of-pocket payments for their insulin medications.

          4.        PBMs effectuate the drug transactions between health insurers, pharmacies, and

   drug manufacturers. They negotiate directly with drug manufacturers on behalf of health insurers

   to determine the prices those insurers pay for the manufacturers’ drugs. Drug manufacturers and

   PBMs negotiate these price discounts in the form of “rebates”; the drug manufacturer pays back

   to the insurer’s PBM a portion of that drug’s cost (the rebate). The PBM may then give a portion

   of that rebate to the health insurer client. The nation’s most influential PBMs—CVS Health,

   Express Scripts, and OptumRx—together cover over 80% of the insured market—in total, 180

   million lives.

          5.        When two or more branded medicines fall into the same therapeutic category and

   have similar effectiveness and safety profiles (as is the case with the analog insulins), a PBM is

   in the position to sometimes exclude, or place in a non-preferred position, one of the medications

   in favor of another. When a drug is excluded from formulary or placed in a non-preferred




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   position, health insurers using that formulary will make their plan beneficiaries shoulder a

   greater percentage or all of the disadvantaged product’s cost. As a result, in the branded analog

   insulin therapeutic category, the large PBMs can push significant portions of the sales toward or

   away from the Defendant Drug Manufacturers’ products.

           6.       Ostensibly, PBMs in such a position might negotiate real price discounts from

   drug manufacturers. In other words, the PBMs might negotiate discounts or rebates that lower

   the manufacturers’ net selling prices and then use those reductions as legitimate bases to confer

   formulary status to the least costly medication. The legitimate use of discounts and rebates that

   actually reduce the manufacturers’ net selling prices (and their accompanying benchmark prices)

   is not at issue in this case.

           7.      PBMs make money by pocketing a percentage of the difference between a drug’s

   benchmark price and the net price they negotiate with its manufacturer, i.e., the “spread”

   between prices. Simply put, the larger the spread between a drug’s benchmark and net price, or

   the higher the absolute benchmark price, the larger the PBM’s profits.

           8.      In this case, in order to gain or maintain formulary placement, the Defendant

   Drug Manufacturers curried favor with the larger PBMs by increasing manufacturer benchmark

   (or list) prices so as to increase “rebate” amounts. In effect, the defendants announced a fictitious

   increase in their published prices, while secretly an offsetting rebate to the PBMs. The

   defendants gained or maintained formulary placement through a payoff without impacting their

   net sales prices. The PBMs sold formulary placement (on the basis of profit rather than product

   attributes or real price reductions), and obtained a fictitious, larger spread from which they

   profited. Only consumers lost, as only they paid higher prices at the point of pharmacy sale based




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   on a fraudulently inflated benchmark (or list) prices. Over time, the defendants have engaged in

   an arms race of false benchmark price increases to the detriment of consumers.

          9.      In the last five years alone, Eli Lilly, Novo Nordisk, and Sanofi raised their

   benchmark prices by over 150%. Benchmark prices that used to be $75 a decade ago are now

   between $300 and $700. And nothing about the defendants’ analog insulins has changed in that

   period; the $600 drug is the exact same one the defendants sold for $75 years ago. And the

   defendants have raised their benchmark prices in perfect lockstep.




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Figure 1: Defendant Drug Manufacturers increase long-acting insulin benchmark prices in lock-step.




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Figure 2: Defendant Drug Manufacturers increase rapid-acting insulin benchmark prices in lock-step.




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          10.     All of the defendants have participated in this arms race escalation of reported

   benchmark prices and consequently spreads. Each Defendant Drug Manufacturer has

   incrementally raised its benchmark prices (with offsetting payoffs to PBMs) just a bit more than

   its competitors, encouraging the large PBMs to keep its insulin on the formulary or in a preferred

   formulary position. Yet, at the same time, the manufacturers’ net selling prices have generally

   remained level. In short, the Defendant Drug Manufacturers have sold to the PBMs fictitious

   spreads between inflated benchmark prices and net selling prices. In this case, the fraud the

   defendants have committed is the publication of fake benchmark prices for their analog insulins.

          10.     This fraud has a victim: consumers who pay for their drugs based on benchmark

   prices. The plaintiffs and class members are people living with diabetes who pay for their insulin

   based on benchmark prices, including uninsured patients, patients in high deductible health

   plans, patients in Medicare Part D plans, and patients with coinsurance obligations. These

   plaintiffs’ out-of-pocket expenditures at the point of sale are based on benchmark prices. In other

   words, when plaintiffs go to pharmacies (or use mail order services) to pick up their analog

   insulins, the charges they incur are based on the analog insulins’ benchmark prices, not the

   medicines’ net prices. 1 The price reductions the defendants offer PBMs are not reflected in price

   tags the plaintiffs see. And the larger the benchmark price, the larger the plaintiffs’ out-of-pocket

   payments.

          11.     The Defendant Drug Manufacturers’ publication of their benchmark prices, while

   concealing their net prices, has deceived the plaintiffs into believing that the benchmark prices

   on which their out-of-pocket payments are based are reasonable and fair approximations of the


      1
         If the consumer is uninsured, the pharmacy offers the consumer a “usual and customary
   rate” based on benchmark price.


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   actual cost of their analog insulins. The defendants publicly represent that the benchmark prices

   of their analog insulins are just that—benchmark prices; reasonable approximations of the cost

   of their analog insulins and a reasonable basis for consumer out-of-pocket payments. Thus, by

   publicizing their fake benchmark prices, while keeping their net prices confidential, the

   defendants have deceived and/or acted unfairly toward the plaintiffs and caused class members

   to make out-of-pocket payments for their analog insulins that are grossly inflated.

             12.     In a similar case, defendant drug manufacturers “repeatedly asserted that they had

   no duty to disclose what was publicly known to everyone, that is, that the [drug’s benchmark

   price] was a ‘sticker price’ and never intended to reflect the drug’s true average wholesale

   price.” 2 But the district court saw through this argument: “There is a difference between a sticker

   price and a sucker price. . . . The [plaintiffs] . . . have it exactly right: ‘[I]f everything [about the

   drug] was known to everybody, why did [d]efendants emphasize secrecy?’” 3 As the court

   explained, the “defendants trumpeted a lie by publishing the inflated [benchmark prices],

   knowing (and intending) them to be used as instruments of fraud.” 4

             13.     Had the Defendant Drug Manufacturers published true benchmark prices—

   benchmark prices that were reasonable approximations of their analog insulins’ true costs—the

   plaintiffs and class members would have paid much less for their analog insulins.

             14.     As a result of the Defendant Drug Manufacturers’ deceptive, unfair, and

   unconscionable conduct, the plaintiffs and members of the class have overpaid for their analog

   insulins when they paid for these medications based on the defendants’ fake benchmark prices.


       2
       In re Lupron Mktg. & Sales Practices Litig., 295 F. Supp. 2d 148, 168 n.19 (D. Mass.
   2003).
       3
           Id.
       4
           Id. at 167.


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   The amount they have overpaid is the difference between the drugs’ point-of-sale prices and a

   reasonable approximation of the drugs’ true net prices.

          15.     For the plaintiffs and class members, the physical, emotional, and financial tolls

   of paying such excessive prices for insulin is devastating. Unable to afford their analog insulins,

   plaintiffs report under-dosing their insulin, injecting expired insulin, re-using needles, and

   starving themselves to control their blood sugars with as little insulin as possible. These

   behaviors are dangerous for people living with diabetes. Because such behaviors ineffectively

   control those individuals’ blood sugar levels, they can lead to serious complications such as

   kidney failure, heart disease, blindness, infection, and amputations. Unable to afford the analog

   insulins their doctors prescribe, multiple plaintiffs have lost their vision and/or kidneys. Other

   plaintiffs have been rushed to emergency rooms because they were unable to afford enough

   analog insulin to control their blood sugars and developed diabetic ketoacidosis. To cut down on

   costs, many class members re-use needles and pen tips, a dangerous practice that can lead to

   infection. Other class members explain that they avoid the doctor because their inability to afford

   insulin has caused their blood sugars to spike. They know that their doctors will prescribe more

   analog insulin to treat this problem, and they simply cannot afford to buy any more analog

   insulin. Plaintiffs describe how the amount they spend on analog insulin makes it impossible for

   them to maintain the healthy diet that people living with diabetes need, further compromising

   their health. Thus, while the purpose of insulin is to improve the health of those living with

   diabetes, the rising and excessive cost of these drugs is actually forcing the plaintiffs to

   jeopardize their health.

          16.     The financial strain that the defendants’ fake benchmark prices cause infects all

   areas of the plaintiffs’ lives. Stories of diabetics taking out loans and accruing debt to afford




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   insulin are common. Multiple people living with diabetes estimate that they spend over 50% of

   their monthly income on analog insulin medications. Some patients have been unable to leave

   bad jobs for fear of losing their health insurance; others have been encouraged to leave good jobs

   for positions that might pay more or have better insurance. Many plaintiffs describe rearranging

   their lives around their analog insulin costs—keeping lights off and the heat low to avoid high

   electricity bills, moving back in with parents, and leaving school. Many parents of children with

   diabetes have had to make hard choices regarding their children’s futures: pre-Kindergarten

   schooling or insulin? As one plaintiff put it, “[f]inancially, it’s killing me.”

           17.     The financial hardships the defendants’ price hikes impose on those living with

   diabetes also have serious mental health consequences. Many patients describe the constant

   stress and anxiety that accompanies not knowing how they will pay for next month’s analog

   insulin supply. “I often cry, and I think, have I done something wrong that I can’t afford to take

   care of myself?” Others express anger and a deep sense of betrayal that once-affordable

   medications are now completely unaffordable. “I feel so taken advantage of; now, I can’t afford

   my medications, and for what? All so some drug company can profit from my sickness?” In

   short, a medication that should be a source of health has become a cause of pain.

           18.     This action alleges that the Defendant Drug Manufacturers’ violated the

   Racketeer Influenced and Corrupt Organizations Act (RICO), 18 U.S.C. §§ 1961-1968, and

   various state consumer protection laws by publishing fraudulent benchmark prices for their

   analog insulins. This scheme directly and foreseeably caused and continues to cause consumers

   to overpay for the analog insulins they need.




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                                           II.     PARTIES

    A.     Plaintiffs

          1.      Alabama Plaintiffs

                  a.     Christie Boelman

          19.     Plaintiff Christie Boelman is a citizen of the State of Alabama and resides in

   Phenix City, Alabama.

          20.     Ms. Boelman purchases insulin for her minor son who has type 1 diabetes. He

   currently takes Novolog brand insulin. In the past, he took Humalog and Lantus. In 2016, when

   her son was diagnosed, Ms. Boelman was uninsured and paid for Humalog based on benchmark

   prices. In early 2017, Ms. Boelman obtained some insurance, but still made large out-of-pocket

   payments for Humalog and Lantus. As a direct result of the scheme, she has overpaid for at least

   Humalog.

                  b.     Samantha Nelson

          21.     Plaintiff Samantha Nelson was a citizen of the State of Alabama and resided in

   Birmingham, Alabama.

          22.     Ms. Nelson has type 1 diabetes and currently takes Novolog brand insulin to treat

   her diabetes. She also occasionally takes Lantus. In the past, she took Humalog. Ms. Nelson is

   currently, and has also been in the past, insured in a high deductible health plan where she pays

   for insulin based on benchmark prices. As a direct result of the scheme, she has overpaid for at

   least Novolog and Lantus in Alabama.

          2.      Arizona Plaintiffs

                  a.     F. Donald Fellow

          23.     Plaintiff F. Donald Fellow is a citizen of the State of Arizona and resides in

   Peoria, Arizona.



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          24.     Mr. Fellow has type 2 diabetes and currently takes Lantus and Humalog brand

   insulin to treat his diabetes. He is insured under Medicare Part D and pays for insulin based on

   benchmark prices due to his high coinsurance rates. As a direct result of the scheme, he has

   overpaid for Humalog and Lantus.

                  b.     Michelle Gwin

          25.     Plaintiff Michelle Gwin is a citizen of the State of Arizona and resides in Prescott

   Valley, Arizona.

          26.     Ms. Gwin used to purchase insulin on behalf of her adult sons, Taylor and Alex

   Gwin. She purchased insulin for Taylor until March 31, 2017 and purchased insulin for Alex

   until 2012. Both Alex and Taylor have type 1 diabetes and take Humalog brand insulin to treat

   their diabetes. Ms. Gwin has a high deductible health plan and pays for insulin based on

   benchmark prices. As a direct result of the scheme, she has overpaid for Humalog.

                  c.     Ruth Hart

          27.     Plaintiff Ruth Hart is a citizen of the State of Arizona and resides in Mesa,

   Arizona.

          28.     Ms. Hart has type 1 diabetes and currently takes Humalog brand insulin to treat

   her diabetes. In the past, she took Novolog. Between May 2013 and April 2015, Ms. Hart was

   insured through her employer and enrolled in an employee welfare benefit health plan.

   Beginning in June 2015 through August 2017, she worked for a different employer and enrolled

   in that company’s employee welfare benefit health plan. Under the terms of that plan, she made

   high coinsurance payments for her insulin based on benchmark prices. As a direct result of the

   scheme, she has overpaid for Novolog.




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                  d.       Jeffrey Liedl

          29.     Plaintiff Jeffrey Liedl is a citizen of the State of Arizona and resides in Gold

   Canyon, Arizona.

          30.     Mr. Liedl has type 2 diabetes, and he currently takes Toujeo and Novolog brand

   insulin to treat his diabetes. In the past, he took Lantus and Levemir. He is insured under

   Medicare Part D and pays for insulin based on benchmark prices due to his high coinsurance

   rates. As a direct result of the scheme, he has overpaid for Lantus, Toujeo, Levemir, and

   Novolog.

          3.      Arkansas Plaintiffs

                  a.       Lynn Davidson

          31.     Plaintiff Lynn Davidson is a citizen of the State of Arkansas and resides in

   Rogers, Arkansas.

          32.     Ms. Davidson has type 1 diabetes, and she currently takes Humalog brand insulin

   to treat her diabetes. In the past, she took Novolog and Levemir brand insulin. She is currently

   insured in a Medicare Part D plan and pays for insulin based on benchmark prices due to her

   high coinsurance rates. In the past, she was insured in a high deductible plan and paid for insulin

   based on benchmark price before she hit her deductible. As a direct result of the scheme, she has

   overpaid for at least Humalog. The rising prices of analog insulin have forced her into the

   Medicare Part D “Donut Hole” earlier and earlier each year.

                  b.       William LaSuer

          33.     Plaintiff William LaSuer is a citizen of the State of Arkansas and resides in

   Harrisburg, Arkansas.

          34.     Mr. LaSuer has type 1 diabetes, and he currently takes Novolog and Tresiba brand

   insulin to treat his diabetes. He is currently insured in a Medicare Part D plan, and therefore


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   makes high coinsurance payments based on benchmark prices for his analog insulins. As a direct

   result of the scheme, he has overpaid for Novolog and Tresiba.

          4.      California Plaintiffs

                  a.      Sara Hasselbach

          35.     Plaintiff Sara Hasselbach is a citizen of the State of California and resides in San

   Diego, California.

          36.     Ms. Hasselbach has type 1 diabetes and currently takes Humalog and Lantus

   brand insulin to treat her diabetes. In the past, she took Novolog brand insulin. She is insured

   through her employer and has a high deductible health plan with coinsurance requirements. She

   has to pay for her insulin based on benchmark prices before she hits her deductible, and her

   coinsurance requirements are also calculated based on benchmark prices. As a direct result of the

   scheme, she has overpaid for Humalog, Lantus, and Novolog.

                  b.      Jeanne MacNitt

          37.     Plaintiff Jeanne MacNitt is a citizen of the State of California and resides in

   Sonora, California.

          38.     Ms. MacNitt has type 2 diabetes, and she currently takes Lantus and Novolog

   brand insulin to treat her diabetes. She used to take Lantus and Humalog. She is insured under

   Medicare Part D and pays for insulin based on benchmark price due to her high coinsurance

   rates. As a direct result of the scheme, she has overpaid for Novolog, Lantus, and Humalog.

                  c.      Juliana Patton

          39.     Plaintiff Juliana Patton is a citizen of the State of California and resides in Fresno,

   California.

          40.     Ms. Patton purchases insulin for her minor daughter, Alexa Patton, who has type

   1 diabetes. In January 2017, Ms. Patton began to purchase Novolog brand insulin for her


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   daughter. Prior to that, she purchased Apidra and Humalog brand insulin. Ms. Patton is insured

   in a high deductible health plan with high coinsurance rates and pays for her daughter’s insulin

   based on benchmark price. As a direct result of the scheme, she has overpaid for at least Novolog

   and Apidra.

                  d.      Bertha Sanders

          41.     Plaintiff Bertha Sanders is a citizen of the State of California and resides in Los

   Angeles, California.

          42.     Ms. Sanders has type 2 diabetes, and she currently takes Lantus and Novolog

   brand insulin to treat her diabetes. Ms. Sanders is currently insured through the BlueCross

   BlueShield Federal Employee Program. Under the terms of that plan, she makes high

   coinsurance payments for her insulin, based on benchmark prices. As a direct result of the

   scheme, she has overpaid for Lantus and Novolog.

                  e.      Mark Schloemer

          43.     Plaintiff Mark Schloemer is a citizen of the State of California and resides in

   Corona, California.

          44.     Mr. Schloemer purchased insulin for his adult son, Luke, who has type 1 diabetes.

   Luke has taken Humalog and Novolog brand insulin to treat his diabetes. Mr. Schloemer paid for

   these purchases under his GEHA health plan, which has a high deductible and coinsurance

   requirements. He was paying for his son’s insulin based on benchmark prices. As a direct result

   of the scheme, he has overpaid for Humalog and Novolog.

          5.      Colorado Plaintiffs

                  a.      Scott Andel

          45.     Plaintiff Scott Andel is a citizen of the State of Colorado and resides in Castle

   Pines, Colorado.


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          46.     Mr. Andel has type 1 diabetes, and currently takes Novolog brand insulin to treat

   his diabetes. He was previously insured under a high deductible plan and paid for insulin based

   on benchmark price. As a direct result of the scheme, he has overpaid for Novolog.

                  b.      Donald Douthit

          47.     Plaintiff Donald Douthit is a citizen of the State of Colorado and resides in

   Woodland Park, Colorado.

          48.     Mr. Douthit has type 2 diabetes, and he used to take Lantus and Humalog brand

   insulin to treat his diabetes. He is insured under Medicare Part D and pays for insulin based on

   benchmark prices due to his high coinsurance rates. As a direct result of the scheme, he has

   overpaid for both Lantus and Humalog.

          6.      Connecticut Plaintiffs

                  a.      Jonathan R. Chappell

          49.     Plaintiff Jonathan R. Chappell is a citizen of the State of Connecticut and resides

   in Wallingford, Connecticut.

          50.     Mr. Chappell has type 1 diabetes, and he takes Humalog brand insulin to treat his

   diabetes. He is insured in high deductible health plan and must pay for insulin based on

   benchmark prices before he meets his deductible. As a direct result of the scheme, he has

   overpaid for Humalog.

                  b.      Samantha Jensen

          51.     Plaintiff Samantha Jensen is a citizen of the State of Connecticut and resides in

   Avon, Connecticut.

          52.     Ms. Jensen purchased insulin on behalf of her son, Matthew Jensen, who has type

   1 diabetes. She currently purchases Novolog brand insulin to treat his diabetes. In the past, he

   took Humalog and Lantus brand insulin. Ms. Jensen is insured in high deductible health plan and


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   must pay for insulin based on benchmark prices before she meets her deductible. As a direct

   result of the scheme, she has overpaid for Humalog, Novolog, and Lantus.

          7.     Delaware Plaintiffs

                 a.      Ann-Marie Jordan

          53.    Plaintiff Ann-Marie Jordan is a citizen of the State of Delaware and resides in

   Dover, Delaware.

          54.    Ms. Jordan has type 1 diabetes, and she is a brittle diabetic. She currently takes

   Lantus and Humalog brand insulin. In the past, she took Novolog. She is insured under Medicare

   Part D and pays for insulin based on benchmark price due to her high coinsurance rates. As a

   direct result of the scheme, she overpaid for Lantus, Humalog, and Novolog.

                 b.      Carole Matheny

          55.    Plaintiff Carole Matheny was a citizen of the State of Delaware and resided in

   Middletown, Delaware. She moved from Delaware to Ohio on March 1, 2019.

          56.    Ms. Matheny purchased analog insulin in Delaware for her son, Mark Matheny,

   who has type 1 diabetes. In Delaware, she purchased Tresiba, Novolog, Levemir, Lantus, and

   Humalog brand insulin for her son. Ms. Matheny is currently insured in high deductible health

   plan and must pay for insulin based on benchmark prices before she meets her deductible. As a

   direct result of the scheme, she has overpaid for Novolog, Levemir, Tresiba, and Lantus in

   Delaware.

          8.     Florida Plaintiffs

                 a.      Gay Deputee

          57.    Plaintiff Gay Deputee previously lived in the State of Florida for eight months,

   and she purchased insulin in Dunedin, Florida.




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          58.     Ms. Deputee has type 2 diabetes, and when she lived in Florida, she took Novolog

   and Levemir brand insulin to treat her diabetes. She was uninsured and paid for insulin based on

   benchmark price due to her high coinsurance rates. As a direct result of the scheme, she overpaid

   for Novolog and Levemir in Florida.

                  b.        Edward Johnson

          59.     Plaintiff Edward Johnson is a citizen of the State of Florida and resides in Ponte

   Vedra, Florida.

          60.     Mr. Johnson has type 1 diabetes, and he currently takes Humalog brand insulin to

   treat his diabetes. He is insured under Medicare Part D and pays for insulin based on benchmark

   price due to his high coinsurance rates. As a direct result of the scheme, he has overpaid for

   Humalog.

                  c.        Sean Mac an Airchinnigh

          61.     Plaintiff Sean Mac an Airchinnigh is a citizen of the State of Florida and resides

   in Ave Maria, Florida.

          62.     Mr. Airchinnigh has type 2 diabetes, and he currently takes Novolog and Novolin

   brand insulin to treat his diabetes. In the past, he took Lantus and Humalog brand insulin. In

   December 2018, he obtained insurance coverage through the Veteran’s Administration. Prior to

   that, he was insured through Medicare Part D and where he paid for insulin based on benchmark

   prices due to his high coinsurance rate. As a direct result of the scheme, he overpaid for Lantus

   and Humalog.

                  d.        Anne Olinger

          63.     Plaintiff Anne Olinger is a citizen of the State of Florida and resides in Naples,

   Florida.




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             64.   Ms. Olinger purchases insulin for her adult son and has purchased insulin on his

   behalf since he was 12 years old. He has type 1 diabetes. In spring 2017, Ms. Olinger began to

   purchase Humalog brand insulin for him. In the past, she has purchased Levemir and Novolog

   brand insulin. She has a high deductible plan and must pay for insulin based on benchmark

   prices. As a direct result of the scheme, she has overpaid for at least Levemir and Novolog.

                   e.      Howard Schurr

             65.   Plaintiff Howard Schurr is a citizen of the State of Florida and resides in Boca

   Raton, Florida.

             66.   Mr. Schurr has type 2 diabetes, and he currently takes Toujeo and Novolog brand

   insulin to treat his diabetes. In the past, he took Lantus and Humalog. He is insured under

   Medicare Part D and pays for insulin based on benchmark prices due to his high coinsurance

   rates. As a direct result of the scheme, he has overpaid for Humalog, Novolog, Toujeo, and

   Lantus.

                   f.      Tremayne Sirmons

             67.   Plaintiff Tremayne Sirmons is a citizen of the State of Florida and resides in

   Winter Park, Florida.

             68.   Mr. Sirmons has type 1 diabetes, and he currently takes Levemir and Humalog

   brand insulin to treat his diabetes. He is insured in a high deductible health plan and pays for his

   insulin based on benchmark prices. As a direct result of the scheme, he has overpaid for both

   Levemir and Humalog.

                   g.      Hector J. Valdes, Sr.

             69.   Plaintiff Hector J. Valdes, Sr. is a citizen of the State of Florida and resides in

   Miami, Florida.




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          70.       Mr. Valdes, Sr. has type 2 diabetes, and he currently takes Humalog brand insulin

   to treat his diabetes. He is insured under Medicare Part D and pays for insulin based on

   benchmark price due to his high coinsurance rates. As a direct result of the scheme, he has

   overpaid for Humalog.

          9.        Georgia Plaintiffs

                    a.     Marilyn Person

          71.       Plaintiff Marilyn Person is a citizen of the State of Georgia and resides in Villa

   Rica, Georgia.

          72.       Ms. Person has type 2 diabetes, and she currently takes Levemir and Novolog

   brand insulin to treat her diabetes. She was previously taking Humalog and Lantus brand insulin.

   She is insured under Medicare Part D and pays for insulin based on benchmark price due to her

   high coinsurance rates. She sometimes obtains samples when she cannot afford her prescribed

   insulin medications. As a direct result of the scheme, she has overpaid for Novolog, Levemir,

   Lantus, and Humalog.

                    b.     Karyn Wofford

          73.       Plaintiff Karyn Wofford is a citizen of the State of Georgia and resides in

   Jackson, Georgia.

          74.       Ms. Wofford has type 1 diabetes, and she currently takes Lantus and Humalog

   brand insulin to treat her diabetes. She is insured through the Georgia Healthcare Marketplace in

   a high deductible health plan. She started this plan in January 2018 and cannot afford to hit her

   deductible. As a direct result of the scheme, she has overpaid for both Lantus and Humalog.




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            10.    Idaho Plaintiff

                   a.      Emma Jensen

            75.    Plaintiff Emma Jensen is a citizen of the State of Idaho and resides in Meridian,

   Idaho.

            76.    Ms. Jensen has type 1 diabetes, and she currently takes Humalog brand insulin to

   treat her diabetes. Previously, she purchased several different insulin brands, including Novolog

   and/or Lantus. During the class period, she was uninsured and paid for her insulin out-of-pocket

   based on benchmark prices. As a direct result of the scheme, she has overpaid for Humalog,

   Novolog, and/or Lantus.

            11.    Illinois Plaintiffs

                   a.      Andre’ Arnold

            77.    Plaintiff Andre’ Arnold is a citizen of the State of Illinois and resides in

   Belleville, Illinois.

            78.    Ms. Arnold has type 2 diabetes, and she takes Tresiba brand insulin to treat her

   diabetes. In the past she took Lantus and Levemir. She is insured under Medicare Part D and

   pays for insulin based on benchmark prices due to her high coinsurance rates. As a direct result

   of the scheme, she has overpaid for Tresiba and Lantus.

                   b.      Valetina Bohner

            79.    Plaintiff Valentina Bohner is a citizen of the State of Illinois and resides in Casey,

   Illinois.

            80.    Ms. Bohner purchases insulin on behalf of her daughter, Miriam Bohner, who

   has type 1 diabetes. Ms. Bohner currently purchases Novolog and Lantus brand insulin for her

   daughter. She used to purchase Humalog brand insulin. She was previously insured in a high




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   deductible health plan and paid for her daughter’s insulin based on benchmark price. As a direct

   result of the scheme, she has overpaid for Humalog and Lantus.

                  c.      Wendy Dunnington

           81.    Plaintiff Wendy Dunnington is a citizen of the State of Illinois and resides in

   Arlington Heights, Illinois.

           82.    Ms. Dunnington purchases insulin on behalf of her daughter who has type

   1 diabetes. Ms. Dunnington currently purchases Humalog brand insulin for her daughter. She is

   insured in a high deductible health plan and pays for her daughter’s insulin based on benchmark

   prices. As a direct result of the scheme, she has overpaid for Humalog.

                  d.      Adam Levett

           83.    Plaintiff Adam Levett is a citizen of the State of Illinois and resides in Chicago,

   Illinois.

           84.    Mr. Levett has type 1 diabetes, and he currently takes Novolog brand insulin to

   treat his diabetes. He was previously insured in a high deductible health plan and paid for his

   insulin based on benchmark price. As a direct result of the scheme, he has overpaid for Novolog.

           12.    Indiana Plaintiffs

                  a.      Mary Bobo

           85.    Plaintiff Mary Bobo is a citizen of the State of Indiana and resides in Kirklin,

   Indiana.

           86.    Ms. Bobo has type 1 diabetes, and she currently takes Fiasp brand insulin. In the

   past, she took Novolog and Humalog. She was previously insured in a high deductible health

   plan, where she paid for insulin based on benchmark price. As a direct result of the scheme, she

   has overpaid for Novolog and Fiasp.




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                  b.      Arthur Janz

           87.    Plaintiff Arthur Janz is a citizen of the State of Indiana and resides in Elkhart,

   Indiana.

           88.    Mr. Janz has type 2 diabetes, and he currently takes Tresiba and Novolog brand

   insulin to treat his diabetes. In the past, he took Levemir and Lantus brand insulin. He is insured

   under Medicare Part D and pays for insulin based on benchmark price due to his high

   coinsurance rates. As a direct result of the scheme, he has overpaid for at least Levemir, Tresiba,

   and Novolog.

                  c.      Marie Saffran

           89.    Plaintiff Marie Saffran has resided in Nevada since 2016. However, she was

   previously a citizen of Indiana, where she purchased insulin.

           90.    Ms. Saffran has type 2 diabetes, and she currently takes Humalog and Basaglar

   brand insulin to treat her diabetes. She previously took Lantus brand insulin. When she moved to

   Nevada, she enrolled in Medicaid. Her insulin is now affordable. However, she was previously

   insured in a high deductible health plan and paid for her insulin based on benchmark price. As a

   direct result of the scheme, she has overpaid for Lantus and Humalog.

           13.    Iowa Plaintiffs

                  a.      Richard Knauss

           91.    Plaintiff Richard Knauss is a citizen of the State of Iowa and resides in Madrid,

   Iowa.

           92.    Mr. Knauss has type 1 diabetes, and he currently takes Lantus and Novolog brand

   insulin to treat his diabetes. He recently switched to Novolog from Humalog brand insulin. He is

   insured under Medicare Part D and pays for insulin based on benchmark prices due to his high




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   coinsurance rates. As a direct result of the scheme, he has overpaid for Lantus, Novolog, and

   Humalog.

                  b.     Sara Stock

          93.     Plaintiff Sara Stock is a citizen of the State of Iowa and resides in Akron, Iowa.

          94.     Ms. Stock has type 1 diabetes, and she currently takes Lantus and Humalog brand

   insulin to treat her diabetes. She was uninsured prior to 2017 and paid for her insulin based on

   benchmark prices. As a direct result of the scheme, she has overpaid for Lantus and Humalog.

          14.     Kansas Plaintiffs

                  a.     Kandyce Gunther

          95.     Plaintiff Kandyce Gunther is a citizen of the State of Kansas and resides in

   Douglass, Kansas.

          96.     Ms. Gunther has type 1 diabetes and currently takes Novolog brand insulin to

   treat her diabetes. Ms. Gunther was insured under a high deductible health plan, and she paid for

   insulin based on benchmark price. As a direct result of the scheme, she has overpaid for

   Novolog.

                  b.     Susan Marsh

          97.     Plaintiff Susan Marsh is a citizen of the State of Kansas and resides in Lenexa,

   Kansas.

          98.     Ms. Marsh has type 1 diabetes and currently takes Novolog brand insulin to treat

   her diabetes. In the past, she took Humalog, Lantus, and Apidra brand insulin. In 2017, Ms.

   Marsh moved into a high deductible health plan with a 30% coinsurance obligation after she

   meets her deductible. She must now pay for insulin based on benchmark price. As a direct result

   of the scheme, she has overpaid for Novolog.




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          15.     Kentucky Plaintiff

                  a.       Donna Ramsey

          99.     Plaintiff Donna Ramsey is a citizen of the State of Kentucky and resides in

   Louisville, Kentucky.

          100.    Ms. Ramsey has type 1 diabetes and he currently takes Basaglar and Novolog

   brand insulin to treat her diabetes. She used to take Lantus. She is insured under Medicare Part D

   and pays for insulin based on benchmark prices due to her high coinsurance rates. As a direct

   result of the scheme, she has overpaid for at least Lantus and Novolog.

          16.     Louisiana Plaintiffs

                  a.       Terry Brewster

          101.    Plaintiff Terry Brewster is a citizen of the State of Louisiana, but has been

   traveling abroad since 2018. His permanent address is his mother’s address in Oak Ridge,

   Louisiana. He has purchased insulin in Louisiana.

          102.    Mr. Brewster has type 1 diabetes and currently takes Lantus and Apidra brand

   insulin to treat his diabetes. In the past, he purchased Novolog. He was previously insured in a

   high deductible health plan with coinsurance obligations. Therefore, he paid for Lantus, Apidra,

   and Novolog based on benchmark prices. As a direct result of the scheme, he has overpaid for

   Novolog, Lantus, and Apidra.

                  b.       Robyn Rushing

          103.    Plaintiff Robyn Rushing is a citizen of the State of Louisiana and resides in

   Winnsboro, Louisiana.

          104.    Ms. Rushing has type 1 diabetes and currently takes Humalog brand insulin to

   treat her diabetes. She also previously took Levemir and Novolog brand insulin. In November

   2016, she enrolled in Medicaid. She now pays $3 per bottle for insulin. However, she was


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   previously uninsured and paid for her insulin out-of-pocket based on benchmark prices. As a

   direct result of the scheme, she has overpaid for at least Humalog.

          17.     Maine Plaintiff

                  a.     Molly Thompson

          105.    Plaintiff Molly Thompson is a citizen of the State of Maine and resides in

   Portland, Maine.

          106.    Ms. Thompson has type 1 diabetes and currently takes Humalog brand insulin to

   treat her diabetes. In the past, she took Levemir and Lantus brand insulin. In January 2017, she

   moved into a high deductible insurance plan where she pays for insulin based on benchmark

   prices. Prior to January 2017, she was enrolled in a different high deductible plan and paid for

   her insulin based on benchmark prices. As a direct result of the scheme, she has overpaid for

   Levemir, Lantus, and Humalog.

          18.     Maryland Plaintiff

                  a.     Brian Phair

          107.    Plaintiff Brian Phair is a citizen of the State of Maryland and resides in North

   Bethesda, Maryland.

          108.    Mr. Phair has type 1 diabetes and currently takes Humalog brand insulin to treat

   his diabetes. In the past, he has also taken previously taking Novolog brand insulin. He is insured

   in a high deductible health plan and must pay out-of-pocket, based on benchmark prices, before

   he meets his deductible. As a direct result of the scheme, he has overpaid for Novolog and

   Humalog.




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             19.    Massachusetts Plaintiffs

                    a.     Donald Chaires

             109.   Plaintiff Donald Chaires is a citizen of the Commonwealth of Massachusetts and

   resides in Springfield, Massachusetts.

             110.   Mr. Chaires has type 2 diabetes and currently takes Levemir and Novolin brand

   insulin to treat his diabetes. In the past, he took Lantus, Humalog, and Novolog brand insulin. He

   is insured under Medicare Part D and pays for insulin based on benchmark prices due to his high

   coinsurance rates. As a direct result of the scheme, he has overpaid for Novolog, Levemir, and

   Lantus.

                    b.     Sheila Cooney

             111.   Plaintiff Sheila Cooney is a citizen of the Commonwealth of Massachusetts and

   resides in Taunton, Massachusetts.

             112.   Ms. Cooney has type 2 diabetes and currently takes Lantus brand insulin to treat

   her diabetes. She is insured under Medicare Part D and pays for insulin based on benchmark

   prices due to her high coinsurance rates. As a direct result of the scheme, she has overpaid for

   Lantus.

                    c.     Gerald Girard

             113.   Plaintiff Gerald Girard is a citizen of the Commonwealth of Massachusetts and

   resides in Fairhaven, Massachusetts.

             114.   Mr. Girard has type 2 diabetes and currently takes Lantus brand insulin to treat his

   diabetes. In the past, he has taken Novolog and Humalog brand insulin. He is insured under

   Medicare Part D and pays for insulin based on benchmark prices due to his high coinsurance

   rates. As a direct result of the scheme, he has overpaid for Novolog, Lantus, and Humalog.




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                  d.      Sara Hasselbach

          115.    Plaintiff Sara Hasselbach is a citizen of the State of California and resides in San

   Diego, California. However, she spends nearly half the year in the Commonwealth of

   Massachusetts and purchases insulin there.

          116.    Ms. Hasselbach has type 1 diabetes and currently takes Humalog and Lantus

   brand insulin to treat her diabetes. In the past, she took Novolog brand insulin. She is insured

   through her employer and has a high deductible health plan with coinsurance requirements. She

   has to pay for her insulin based on benchmark prices before she hits her deductible, and her

   coinsurance requirements are also calculated based on benchmark prices. As a direct result of the

   scheme, she has overpaid for Humalog, Lantus, and Novolog in Massachusetts.

          20.     Michigan Plaintiffs

                  a.      Mildred Ford

          117.    Plaintiff Mildred Ford is a citizen of the State of Michigan and resides in

   Dearborn, Michigan.

          118.    Ms. Ford has type 2 diabetes and currently takes Levemir and Novolog. She is

   insured under Medicare Part D and pays for insulin based on benchmark prices due to her high

   coinsurance rates. As a direct result of the scheme, she has overpaid for Levemir and Novolog.

                  b.      Ritch Hoard

          119.    Plaintiff Ritch Hoard is a citizen of the State of Michigan and resides in Atlanta,

   Michigan.

          120.    Mr. Hoard has type 1 diabetes and currently takes Lantus brand insulin to treat his

   diabetes. He is insured under Medicare Part D and pays for insulin based on benchmark prices

   due to his high coinsurance rates. As a direct result of the scheme, he has overpaid for Lantus.




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                    c.     Susan Landis

             121.   Plaintiff Susan Landis is a citizen of the State of Michigan and resides in Taylor,

   Michigan.

             122.   Ms. Landis has type 1 diabetes and currently takes Lantus and Novolog brand

   insulin to treat her diabetes. In the past, she took Humalog. She is insured under Medicare Part D

   and pays for insulin based on benchmark prices due to her high coinsurance rates. As a direct

   result of the scheme, she has overpaid for Lantus, Humalog, and Novolog.

                    d.     Patricia Quint

             123.   Plaintiff Patricia Quint is a citizen of the State of Michigan and resides in

   Rochester Hills, Michigan.

             124.   Ms. Quint has type 1 diabetes and currently takes Humalog, Humulin R, and

   Humulin N brand insulin to treat her diabetes. She is insured under Medicare Part D and pays for

   insulin based on benchmark prices due to her high coinsurance rates. As a direct result of the

   scheme, she has overpaid for Humalog.

                    e.     Andrew Van Houzen

             125.   Plaintiff Andrew Van Houzen is a citizen of the State of Michigan and resides in

   Lewiston, Michigan.

             126.   Mr. Van Houzen has type 2 diabetes and currently takes Lantus brand insulin to

   treat his diabetes. He is insured under Medicare Part D and pays for insulin based on benchmark

   prices due to his high coinsurance rates. As a direct result of the scheme, he has overpaid for

   Lantus.




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          21.     Minnesota Plaintiffs

                  a.       Christina Elberling

          127.    Plaintiff Christina Elberling is a citizen of the State of Minnesota and resides in

   Redwood Falls, Minnesota.

          128.    Ms. Elberling has type 1 diabetes and currently takes Novolog brand insulin to

   treat her diabetes. She is insured in a high deductible health plan and pays for her insulin based

   on benchmark prices. As a direct result of the scheme, she has overpaid for Novolog.

                  b.       Quinn Nystrom

          129.    Plaintiff Quinn Nystrom is a citizen of the State of Minnesota and resides in

   Baxter, Minnesota.

          130.    Ms. Nystrom has type 1 diabetes and currently takes Novolog brand insulin to

   treat her diabetes. She is insured in a high deductible health plan with high coinsurance rates and

   pays for her insulin based on benchmark prices. As a direct result of the scheme, she has

   overpaid for Novolog.

                  c.       Jon Ugland

          131.    Plaintiff Jon Ugland is a citizen of the State of Minnesota and resides in Byron,

   Minnesota.

          132.    Mr. Ugland has type 1 diabetes and currently takes Humalog brand insulin to treat

   his diabetes. In the past, he took Lantus and Novolog brand insulin. He is insured under

   Medicare Part D and pays for insulin based on benchmark prices due to his high coinsurance

   rates. As a direct result of the scheme, he has overpaid for Humalog, Lantus, and Novolog.




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          22.     Mississippi Plaintiffs

                  a.       Alethea Weir

          133.    Plaintiff Alethea Weir is a citizen of the State of Mississippi and resides in

   Grenada, Mississippi.

          134.    Ms. Weir has type 2 diabetes and currently takes Basaglar brand insulin to treat

   her diabetes. She previously took Levemir brand insulin. She is insured under Medicare Part D

   and pays for insulin based on benchmark prices due to her high coinsurance rates. As a direct

   result of the scheme, she has overpaid for at least Levemir.

                  b.       John Blake

          135.    Plaintiff John Blake is a citizen of the State of Mississippi and resides in

   Starkville, Mississippi.

          136.    Mr. Blake has type 1 diabetes and currently takes Humalog and Tresiba brand

   insulin to treat his diabetes. In the past, he took Novolog and Lantus. He is insured in a high

   deductible health plan and pays for his insulin based on benchmark prices. He also pays 20%

   coinsurance after he meets his deductible, with a $200 out-of-pocket maximum. As a direct result

   of the scheme, he has overpaid for Humalog, Tresiba, Novolog, and Lantus.

          23.     Missouri Plaintiffs

                  a.       Monique Armstrong

          137.    Plaintiff Monique Armstrong is a citizen of the State of Missouri and resides in

   St. Louis, Missouri.

          138.    Ms. Armstrong has type 1 diabetes, and currently takes Humalog and Levemir

   brand insulin. Ms. Armstrong is currently insured in a high deductible health plan and pays for

   her insulin based on benchmark prices. As a direct result of the scheme, she has overpaid for

   Humalog and Levemir.


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                  b.     Lauren Robb

          139.    Plaintiff Lauren Robb is a citizen of the State of Missouri and resides in Webster

   Groves, Missouri.

          140.    Ms. Robb has type 1 diabetes, and currently takes Humalog brand insulin. Ms.

   Robb is insured in a high deductible health plan and pays for her insulin based on benchmark

   prices. As a direct result of the scheme, she has overpaid for Humalog.

                  c.     Mary Maberry

          141.    Mary Maberry is a citizen of Missouri and resides in Hillsboro, Missouri.

          142.    Ms. Maberry has type 2 diabetes and currently takes Lantus to treat her

   diabetes. In the past, she took Humalog and Levemir. She is currently insured under Medicare

   Part D, and pays for insulin based on benchmark prices due to her high coinsurance rates. As a

   direct result of the scheme, she has overpaid for Lantus.

          24.     Montana Plaintiffs

                  a.     James Bonser

          143.    Plaintiff James Bonser is a citizen of the State of Montana and resides in Bigfork,

   Montana.

          144.    Mr. Bonser has type 2 diabetes, and he currently takes Lantus and Novolog brand

   insulin to treat his diabetes. In the past, he took Apidra, Humalog, and Levemir. He is insured

   under Medicare Part D and pays for insulin based on benchmark price due to his high

   coinsurance rates. As a direct result of the scheme, he has overpaid for Humalog, Novolog,

   Levemir, Apidra, and Lantus.

                  b.     Gay Deputee

          145.    Plaintiff Gay Deputee is a currently a citizen of the State of Montana and resides

   in Hardin, Montana.


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          146.    Ms. Deputee has type 2 diabetes, and she currently takes Lantus and Novolog

   brand insulin to treat her diabetes. In the past she took, she took Levemir and Humalog. She is

   insured under Medicare Part D and pays for her insulins based on benchmark prices due to her

   high coinsurance rates. As a direct result of the scheme, she overpaid for Humalog, Levemir,

   Novolog, and Lantus in Montana.

          25.     Nebraska Plaintiff

                  a.      John Loschen

          147.    Plaintiff John Loschen is a citizen of the State of Nebraska and resides in

   Holdrege, Nebraska.

          148.    Mr. Loschen has type 1 diabetes, and he currently takes Novolog brand insulin to

   treat his diabetes. In the past, he took Levemir, Lantus, and Humalog brand insulin. He was

   previously insured in a high deductible health plan and paid for his insulin based on benchmark

   prices. As a direct result of the scheme, he overpaid for Lantus, Levemir, Humalog, and

   Novolog.

          26.     Nevada Plaintiff

                  a.      Andrew Bauer

          149.    Plaintiff Andrew Bauer is a citizen of the State of Nevada and resides in Las

   Vegas, Nevada.

          150.    Mr. Bauer has type 2 diabetes, and he currently takes Lantus brand insulin to treat

   his diabetes. He is insured under Medicare Part D and pays for insulin based on benchmark price

   due to his high coinsurance rates. As a direct result of the scheme, he has overpaid for Lantus.

   He has also lost his vision and his kidney is failing due to the high cost of insulin.




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          27.     New Jersey Plaintiffs

                  a.       Carole Andrew

          151.    Plaintiff Carole Andrew is a citizen of the State of New Jersey and resides in the

   Township of East Brunswick, New Jersey.

          152.    Ms. Andrew purchases insulin for her son, who has type 1 diabetes. She currently

   purchases Novolog brand insulin for her son, but, in the past, she purchased Lantus for him as

   well. In 2015, when her son was diagnosed, Ms. Andrew was insured in a high deductible plan

   with coinsurance obligations. In July 2016, she switched to a different plan, which also has high

   coinsurance obligations. Ms. Andrew has paid for both Novolog and Lantus based on benchmark

   prices. As a direct result of the scheme, she has overpaid for Novolog and Lantus.

                  b.       Michael Carfagno

          153.    Plaintiff Michael Carfagno is a citizen of the State of New Jersey and resides in

   Clementon, New Jersey.

          154.    Mr. Carfagno has type 2 diabetes, and he currently takes Novolog brand insulin to

   treat his diabetes. In the past, Mr. Carfagno also took Levemir to treat his diabetes. As of last

   year, Mr. Carfagno was insured under Medicare Part D. Prior to becoming a Medicare recipient,

   he was insured by Horizon Blue Cross/Blue Shield of New Jersey. Under that plan, Mr. Carfagno

   paid for his insulin drugs out-of-pocket until he reached his deductible and then he made a co-

   payment for each purchase. As a direct result of the scheme, he has overpaid for his Novolog.

                  c.       David Hernandez

          155.    Plaintiff David Hernandez is a citizen of the State of New Jersey and resides in

   Paterson, New Jersey.

          156.    Mr. Hernandez has type 1 diabetes, and he recently received a pancreas transplant

   so he no longer takes insulin. In the past, he took Humalog and Lantus brand insulin to treat his


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   diabetes. From 2014 through 2018, he received pharmaceutical coverage under the New Jersey

   Pharmaceutical Assistance to the Aged and Disabled Program. However, until 2014, he was

   uninsured or had sporadic coverage. During that time, he could not afford his insulin. As a result,

   his blood sugar levels caused severe damage to his eyes and kidneys. He is now blind in one eye

   and has had a kidney transplant due to his inability to afford insulin and control his type 1

   diabetes. As a direct result of the scheme, he has overpaid for both Humalog and Lantus.

                  d.      Lawrence Mandel

          157.    Plaintiff Lawrence Mandel is a citizen of the State of New Jersey and resides in

   West Orange, New Jersey.

          158.    Mr. Mandel has type 1 diabetes, and he currently takes Lantus and Humalog

   brand insulin to treat his diabetes. He occasionally buys Levemir instead of Lantus depending on

   the drugs’ prices. He is insured under Medicare Part D and pays for insulin based on benchmark

   price due to his high coinsurance rates. As a direct result of the scheme, he has overpaid for

   Lantus, Levemir, and Humalog.

          28.     New Mexico Plaintiffs

                  a.      Francis Barnett

          159.    Plaintiff Francis Barnett is a citizen of the State of New Mexico and resides in

   Albuquerque, New Mexico.

          160.    Mr. Barnett has type 2 diabetes, and he currently takes Novolin N to treat his

   diabetes. In the past, he has taken Novolog, Lantus, and Basaglar. He is insured under Medicare

   Part D and pays for insulin based on benchmark price due to his high coinsurance rates. As a

   direct result of the scheme, he has overpaid for Lantus, Basaglar, and Novolog.




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                  b.       Roseanna Barnett

          161.    Plaintiff Roseanna Barnett is a citizen of the State of New Mexico and resides in

   Albuquerque, New Mexico.

          162.    Ms. Barnett has type 2 diabetes, and she currently takes Novolin N brand insulin

   to treat her diabetes. In the past, she took Lantus brand insulin. She is insured under Medicare

   Part D and pays for insulin based on benchmark price due to her high coinsurance rates. As a

   direct result of the scheme, she has overpaid for Lantus.

          29.     New York Plaintiffs

                  a.       Julia D’Arrigo

          163.    Plaintiff Julia D’Arrigo is a citizen of the State of New York and resides in Staten

   Island, New York.

          164.    Ms. D’Arrigo has type 1 diabetes, and she currently takes Novolog brand insulin

   to treat her diabetes. She is insured under Medicare Part D and pays for insulin based on

   benchmark price due to her high coinsurance rates. As a direct result of the scheme, she has

   overpaid for Novolog.

                  b.       Sarah Gierer

          165.    Plaintiff Sarah Gierer is a citizen of the State of New York and resides in

   Bridgeport, New York.

          166.    Ms. Gierer has type 1 diabetes, and she currently takes Apidra brand insulin to

   treat her diabetes. From 2017 until present, she was insured by Medicaid and paid $3 for a vial of

   insulin. Her Medicaid plan just stopped covering Apidra, and she is unsure how she will pay for

   it this year. From 2013 to 2016, she was insured in a high deductible health plan. In that plan, she

   paid for her insulin based on benchmark price before she hit her deductible. As a direct result of

   the scheme, she has overpaid for Apidra.


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                  c.      Robert Lowman

          167.    Plaintiff Robert Lowman is a citizen of the State of New York and resides in

   Buffalo, New York.

          168.    Mr. Lowman has type 1 diabetes, and he currently takes Humalog and Basaglar

   brand insulin to treat his diabetes. In the past, he also took Novolog, Levemir, and Lantus brand

   insulin. He is currently insured, but was not in the past. During the time he was uninsured, he had

   very high out-of-pocket costs due to benchmark prices. As a direct result of the scheme, he has

   overpaid for at least Lantus and Humalog.

                  d.      Melissa Passarelli

          169.    Plaintiff Melissa Passarelli is a citizen of the State of New York and resides in

   Astoria, New York.

          170.    Ms. Passarelli has type 1 diabetes, and takes Novolog brand insulin to treat her

   diabetes. She used to take Humalog brand insulin. She is currently insured in a high deductible

   health plan and pays for her insulin based on benchmark price before she hits her deductible. As

   a direct result of the scheme, she has overpaid for at least Novolog.

          30.     North Carolina Plaintiff

                  a.      Donna Miller

          171.    Plaintiff Donna Miller is a citizen of North Carolina and resides in Fletcher, North

   Carolina.

          172.    Donna Miller has type 2 diabetes and currently takes Novolin 70/30 insulin to

   treat her diabetes. In the past, she took Novolog and Lantus to treat her diabetes. She is insured

   under Medicare Part D and pays for insulin based on benchmark price due to her high

   coinsurance rates. As a direct result of the scheme, she has overpaid for Lantus and Novolog.




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          31.       North Dakota Plaintiff

                    a.     Jake Knaack

          173.      Plaintiff Jake Knaack is a citizen of North Dakota and resides in Fargo, North

   Dakota.

          174.      Jake Knaack has type 1 diabetes and currently takes Novolog brand insulin to

   treat his diabetes. In the past, he took Humalog and Lantus to treat his diabetes. He is currently

   insured in a health plan that covers Novolog. However, in the past, he was insured in a high

   deductible health plan with coinsurance where he had to purchase Humalog based on benchmark

   price. As a direct result of the scheme, he has overpaid for Humalog.

          32.       Ohio Plaintiffs

                    a.     Julia Blanchette

          175.      Plaintiff Julia Blanchette is a citizen of the State of Ohio and resides in Cleveland

   Heights, Ohio.

          176.      Ms. Blanchette has type 1 diabetes, and takes Novolog and Fiasp brand insulin to

   treat her diabetes. She used to take Apidra brand insulin. When she took Apidra, she was insured

   in a high deductible health plan and paid for her insulin based on benchmark price before she hit

   her deductible. As a direct result of the scheme, she has overpaid for Apidra.

                    b.     Carole Matheny

          177.      Plaintiff Carole Matheny is currently a citizen of the State of Ohio and resides in

   Hebron, Ohio. She moved there on March 1, 2019.

          178.      Ms. Matheny will purchase Tresiba and Humalog brand insulin for her son, Mark

   Matheny, who has type 1 diabetes. Ms. Matheny is currently insured in high deductible health

   plan and must pay for insulin based on benchmark prices before she meets her deductible.




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   Although, at the time of this filing, she has not yet purchased analog insulin for her son in Ohio,

   she will in the near future and, therefore, she will overpay for Tresiba and Humalog in Ohio.

                  c.      Larissa Shirley

           179.   Plaintiff Larissa Shirley is a citizen of the State of Ohio and resides in Marion,

   Ohio.

           180.   Ms. Shirley has type 1 diabetes, and she currently takes Fiasp brand insulin to

   treat her diabetes. She previously took Humalog and Novolog brand insulin. She was previously

   insured under Medicare Part D, but when she hit the Donut Hole, she filled her prescriptions

   through her husband’s health insurance plan. Her husband’s plan is a high deductible plan. Her

   doctor also sometimes gives her samples. In her husband’s plan and in her Medicare Part D plan,

   she paid for her insulin based on benchmark price. As a direct result of the scheme, she has

   overpaid for at least Novolog.

           33.    Oklahoma Plaintiffs

                  a.      Melinda Bell

           181.   Plaintiff Melinda Bell is a citizen of the State of Oklahoma and resides in Allen,

   Oklahoma.

           182.   Ms. Bell purchases insulin for her son who has type 1 diabetes. She currently

   purchases Humalog brand insulin for her son, but, in the past, she purchased Lantus and Novolog

   brand insulin. Ms. Bell was insured in a high deductible plan. As a direct result of the scheme,

   she has overpaid for Novolog and Lantus.

                  b.      Clayton McCook

           183.   Plaintiff Clayton McCook is a citizen of the State of Oklahoma and resides in

   Allen, Oklahoma.




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          184.    Mr. McCook purchases insulin for his daughter who has type 1 diabetes. He

   currently purchases Novolog brand insulin for his daughter, but, in the past, he purchased Lantus

   and Humalog brand insulin for her. Mr. McCook is currently insured in a high deductible plan

   and was insured in other high deductible plans in the past. As a direct result of the scheme, he

   has overpaid for Humalog, Novolog, and Lantus.

                  c.      Shannon Meadows

          185.    Plaintiff Shannon Meadows is a citizen of the State of Oklahoma and resides in

   Duncan, Oklahoma.

          186.    Ms. Meadows has type 1 diabetes, and she currently takes Novolog and Levemir

   brand insulin to treat her diabetes. In the past, she took Humalog, Toujeo, and Lantus brand

   insulin. She is insured under Medicare Part D and pays for insulin based on benchmark price due

   to her high coinsurance rates. As a direct result of the scheme, she has overpaid for Novolog,

   Levemir, Lantus, and Toujeo.

          34.     Oregon Plaintiffs

                  a.      Russell Scott Palmer

          187.    Plaintiff Russell Scott Palmer is a citizen of the State of Oregon and resides in

   Eugene, Oregon.

          188.    Mr. Palmer has type 2 diabetes, and he currently takes Lantus and Novolog brand

   insulin to treat his diabetes. In 2015 and the first half of 2016, he was insured in a health

   insurance plan with high co-payments. He is now insured under Medicare Part D and pays for

   insulin based on benchmark price due to his high coinsurance rates. As a direct result of the

   scheme, he has overpaid for Lantus and Novolog.




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                   b.     Kim and Jim Wallan

          189.     Plaintiffs Kim and Jim Wallan are citizens of the State of Oregon and reside in

   Medford, Oregon.

          190.     Ms. and Mr. Wallan’s son, Eric Wallan, was diagnosed with type 1 diabetes in

   2014. He takes Lantus and Novolog brand insulin to treat his diabetes. From April 2014 through

   December 2014, the Wallans were uninsured and paid for their son’s insulin out-of-pocket based

   on benchmark prices. As a direct result of the scheme, they have overpaid for Lantus and

   Novolog.

          35.      Pennsylvania Plaintiffs

                   a.     Carl Brockmeyer

          191.     Plaintiff Carl Brockmeyer is a citizen of the State of Pennsylvania and resides in

   Pittsburgh, Pennsylvania.

          192.     Mr. Brockmeyer has type 1 diabetes, and he currently takes Novolog brand

   insulin to treat his diabetes. He is currently insured in a high deductible health plan. As a direct

   result of the scheme, he has overpaid for Novolog.

                   b.     Deborah Schwab

           193.    Plaintiff Deborah Schwab is a citizen of Pennsylvania and resides in Canonsburg,

   Pennsylvania.

          194.     Ms. Schwab has type 1 diabetes and currently takes Humalog brand insulin to

   treat her diabetes. In the past, she took Novolog. In the past, she was insured in a high deductible

   health plan with coinsurance requirements where she purchased Humalog and Novolog based on

   benchmark prices. As a direct result of the scheme, she has overpaid for Humalog and Novolog.




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                   c.     Kerry Stare

          195.     Plaintiff Kerry Stare is a citizen of Pennsylvania and resides in Bethel Park,

   Pennsylvania.

          196.     Ms. Stare has type 1 diabetes and currently takes Novolog brand insulin to treat

   her diabetes. In the past, she took Humalog. Ms. Stare has been insured in a high deductible

   health plan since about 2012 or 2013 and therefore has paid Humalog and Novolog based on

   benchmark prices. As a direct result of the scheme, she has overpaid for Novolog and Humalog.

          36.      South Carolina Plaintiffs

                   a.     Jonathan Rollins

          197.     Plaintiff Jonathan Rollins is a citizen of the State of South Carolina and resides in

   Charleston, South Carolina.

          198.     Dr. Rollins has type 1 diabetes, and he currently takes Humalog brand insulin to

   treat his diabetes. During the class period, he was insured under National Union Fire Insurance

   Company of Pittsburgh, PA and paid for insulin based on benchmark price due to his high

   coinsurance rates. As a direct result of the scheme, he has overpaid for Humalog.

                   b.     Sarah Krueger

          199.     Plaintiff Sarah Krueger is a citizen of the State of South Carolina and resides in

   Okatie, South Carolina.

          200.     Ms. Krueger has type 1 diabetes and currently purchases Novolog to treat her

   diabetes. In the past, she took Humalog and Lantus brand insulin. Ms. Krueger is insured in a

   high deductible health plan with high coinsurance rates. She pays for her Novolog based on

   benchmark price due to her deductible and coinsurance requirements. As a direct result of the

   scheme, she has overpaid for at least Novolog.




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                  c.      Robert Vissage

          201.    Plaintiff Robert Vissage is a citizen of the State of South Carolina and resides in

   Seneca, South Carolina.

          202.    Mr. Vissage has type 2 diabetes, and he currently takes Novolog brand insulin to

   treat his diabetes. In the past, he took Lantus. He is insured under Medicare Part D and pays for

   insulin based on benchmark price due to his high coinsurance rates. The high prices of insulin

   have forced Mr. Vissage to systematically under-dose his insulin, leading a partial amputation of

   his right foot. As a direct result of the scheme, he has overpaid for Novolog and Lantus.

          37.     Tennessee Plaintiffs

                  a.      Tyler Campbell

          203.    Plaintiff Tyler Campbell is a citizen of the State of Tennessee and resides in Old

   Hickory, Tennessee.

          204.    Mr. Campbell has type 1 diabetes, and he currently takes Humalog brand insulin

   to treat his diabetes. In the past, he was uninsured and paid benchmark prices for his insulin. As a

   direct result of the scheme, he has overpaid for Humalog.

                  b.      Willie Phillips

          205.    Plaintiff Willie Phillips is a citizen of the State of Tennessee and resides in

   Prospect, Tennessee.

          206.    Ms. Phillips has type 2 diabetes, and she currently takes Levemir brand insulin to

   treat her diabetes. She is insured under Medicare Part D and pays for insulin based on benchmark

   price due to her high coinsurance rates. As a direct result of the scheme, she has overpaid for

   Levemir.




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            38.    Texas Plaintiffs

                   a.     Patricia Dague

            207.   Plaintiff Patricia Dague is a citizen of the State of Texas and resides in

   Rosenberg, Texas.

            208.   Ms. Dague has type 2 diabetes, and she currently takes Lantus and Novolog brand

   insulin to treat her diabetes. She is insured under Medicare Part D and consistently reaches the

   Medicare Part D “Donut Hole” where she receives assistance through a patient assistance

   program. In the past, she was insured in a high deductible health plan, where she paid based on

   benchmark price. As a direct result of the scheme, she has overpaid for Lantus and Novolog.

                   b.     Michael Horton

            209.   Plaintiff Michael Horton is a citizen of the State of Texas and resides in

   Telephone, Texas.

            210.   Mr. Horton has type 2 diabetes, and he currently takes Novolog and Levemir

   brand insulin to treat his diabetes. In the past, he took Lantus brand insulin. He is insured in a

   high deductible health plan with high coinsurance rate and has to pay for insulin based on

   benchmark prices. As a direct result of the scheme, he has overpaid for at least Lantus and

   Levemir.

                   c.     Laura Stark

            211.   Plaintiff Laura Stark is a citizen of the State of Texas and resides in Cypress,

   Texas.

            212.   Ms. Stark purchases insulin for her minor son, Jakob Stark, who has type 1

   diabetes. Jakob currently takes Tresiba and Novolog brand insulin. In the past, he took Lantus,

   Humalog, and Levemir. Ms. Stark was previously insured in a high deductible health plan and




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   paid for her son’s insulin based on benchmark price. As a direct result of the scheme, she has

   overpaid for at least Tresiba, Novolog, Humalog, and Lantus.

                   d.     Bret Stewart

            213.   Plaintiff Bret Stewart is a citizen of the State of Texas and resides in Dalhart,

   Texas.

            214.   Mr. Stewart has type 1 diabetes, and he currently takes Novolin R and Novolin N

   brand insulin to treat his diabetes. In the past, he took Humalog, Lantus, Apidra, and Toujeo. He

   is insured under Medicare Part D and pays for insulin based on benchmark price due to his high

   coinsurance rates. As a direct result of the scheme, he has overpaid for Humalog, Lantus, Apidra,

   and Toujeo.

            39.    Utah Plaintiffs

                   a.     Scott Christensen

            215.   Plaintiff Scott Christensen is a citizen of the State of Utah and resides in Elk

   Ridge, Utah.

            216.   Mr. Christensen has type 1 diabetes, and he currently alternates between Novolog

   and Humalog brand insulin to treat his diabetes. For a portion of 2016, Mr. Christensen’s

   insurance provider did not cover his insulin medications, and he was forced to pay for his insulin

   out-of-pocket based on benchmark price. As a direct result of the scheme, Mr. Christensen

   overpaid for his Novolog and Humalog.

                   b.     Dianna Gilmore

            217.   Plaintiff Dianna Gilmore is a citizen of the State of Utah and resides in Spanish

   Fork, Utah.

            218.   Ms. Gilmore has type 2 diabetes, and she currently takes Novolog and Toujeo

   brand insulin to treat her diabetes. In the past, she has taken Lantus, Levemir, and Humalog. Ms.


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   Gilmore is currently insured under Medicaid and Medicare Part A and B. In the past, Ms.

   Gilmore was uninsured and paid out-of-pocket for her insulin based on benchmark price. As a

   direct result of the scheme, she has overpaid for Lantus, Levemir, Novolog, and Toujeo.

          40.     Washington Plaintiffs

                  a.      Garett Johnson

          219.    Plaintiff Garett Johnson is a citizen of the State of Washington and resides in

   Kent, Washington.

          220.    Mr. Johnson purchases insulin on behalf of his spouse who has type 1 diabetes.

   She currently takes Novolog brand insulin to treat her diabetes, but, in the past, she took

   Humalog brand insulin. Mr. Johnson was previously insured in a high deductible health plan and

   paid for his spouse’s insulin based on benchmark prices. As a direct result of the scheme, he has

   overpaid for Humalog and Novolog.

                  b.      Edward Stanford

          221.    Plaintiff Edward Stanford is a citizen of the State of Washington and resides in

   Olympia, Washington.

          222.    Mr. Stanford has type 1 diabetes, and he currently takes Humalog brand insulin to

   treat his diabetes. He has a high deductible health plan and coinsurance requirement and pays for

   his insulin based on benchmark price. As a direct result of the scheme, he has overpaid for

   Humalog.

                  c.      Richard Thomas

          223.    Plaintiff Richard Thomas is a citizen of the State of Washington and resides in

   College Place, Washington.

          224.    Mr. Thomas purchases insulin on behalf of his daughter who has type 1 diabetes.

   She currently takes Humalog brand insulin to treat her diabetes, but, in the past, she took


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   Novolog and Lantus brand insulin. Mr. Thomas has a high deductible health plan and

   coinsurance requirements and pays for his daughter’s insulin based on benchmark prices. As a

   direct result of the scheme, he has overpaid for Humalog, Novolog, and Lantus.

          41.     Virginia Plaintiff

                  a.      Michael Foster

          225.    Plaintiff Michael Foster is a citizen of the State of Virginia and resides in Sterling,

   Virginia.

           226.   Mr. Foster has type 1 diabetes and currently purchases Tresiba and Humalog

   brand insulin to treat his diabetes. In the past, he purchased Lantus. In addition, he purchases

   Tresiba and Humalog brand insulin for his daughter who also has type 1 diabetes. He used to

   purchase Lantus for her as well. Mr. Foster has a high deductible insurance plan with high

   coinsurance rates. He pays for Humalog, pays for Tresiba, and paid for Lantus based on

   benchmark prices due to his deductible and coinsurance requirements. As a direct result of the

   scheme, he has overpaid for Humalog, Tresiba, and Lantus for both himself and his daughter’s

   required insulin needs.

          42.     West Virginia Plaintiff

                  a.      Natalie Sargent

          227.    Plaintiff Natalie Sargent is a citizen of the State of West Virginia and resides in

   Beaver, West Virginia.

           228.   Ms. Sargent purchases insulin on behalf of her son, Jaron Bragg, who has type 1

   diabetes. Her son currently takes Novolog and Tresiba brand insulin to treat his diabetes. In the

   past, he took Lantus and Humalog brand insulin. Ms. Sargent has an insurance plan with high

   coinsurance rates and must therefore pay for her son’s insulin based on benchmark price. As a

   direct result of the scheme, she has overpaid for Novolog, Humalog, and Lantus.


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          43.     Wisconsin Plaintiffs

                  a.     Scott Dercks

          229.    Plaintiff Scott Dercks is a citizen of the State of Wisconsin and resides in

   Milwaukee, Wisconsin.

          230.    Mr. Dercks has type 2 diabetes, and he currently takes Humalog brand insulin to

   treat his diabetes. In the past, he also purchased Lantus. He is insured under Medicare Part D and

   pays for insulin based on benchmark price due to his high coinsurance rates. As a direct result of

   the scheme, he has overpaid for both Lantus and Humalog.

                  b.     Angela Kritselis

          231.    Plaintiff Angela Kritselis is a citizen of the State of Wisconsin and resides in

   Grafton, Wisconsin.

          232.    Ms. Kritselis has type 1 diabetes, and she currently takes Lantus and Humalog. In

   the past, she has also taken Novolog. Ms. Kritselis was uninsured until October 2017 and paid

   for Lantus, Novolog, and Humalog out-of-pocket based on benchmark prices. Her health savings

   account is dwindling away due to the high cost of insulin. As a direct result of the scheme, she

   has overpaid for Lantus, Novolog, and Humalog.

                  c.     Michael Starr

          233.    Plaintiff Michael Starr is a citizen of the State of Wisconsin and resides in

   Pleasant Prairie, Wisconsin.

          234.    Mr. Starr has type 2 diabetes, and he currently takes Levemir and Humalog brand

   insulin to treat his diabetes. He is insured under Medicare Part D and pays for insulin based on

   benchmark price due to his high coinsurance rates. As a direct result of the scheme, he has

   overpaid for both Levemir and Humalog.




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          235.    On information and belief, each plaintiff paid out-of-pocket for analog insulin and

   those payments were based on the artificially inflated benchmark prices. As a result, each

   plaintiff has been injured. With the exception of Mr. Hernandez, each plaintiff will continue to

   purchase analog insulin in the future.

    B.     Defendants

          236.    Defendant Eli Lilly and Company is a corporation organized and existing under

   the laws of the State of Indiana. Eli Lilly’s principal place of business is Lilly Corporate Center,

   Indianapolis, Indiana 46285. Eli Lilly manufactures Humalog and Basaglar, which are used for

   the treatment of diabetes. Lilly’s revenues from Humalog in 2016 were $2.84 billion. Its

   revenues from Humalog were $1.5 billion in 2013 and $1.7 billion in 2015 and owe $10 billion

   during the class period.

          237.    Defendant Novo Nordisk Inc. is a Delaware corporation and has a principal place

   of business at 800 Scudders Mill Road, Plainsboro, New Jersey 08536. Novo Nordisk

   manufactures Fiasp, Novolog, Levemir, and Tresiba, which are used for the treatment of

   diabetes. Novo Nordisk’s revenues from the sale of Novolog were $3.03 billion in 2016, over

   $2 billion in 2014 and 2015, and over $10 billion during the class period. Revenues from

   Levemir were $955 million in 2013, $1.3 billion in 2014, and $1.3 billion in 2015. Sales to

   diabetic patients are such a critical part of Novo Nordisk’s business that its 2015 Annual

   Report’s cover page stated in bold letters, “Why Do So Many People in Cities Get Diabetes?”.

          238.    Defendant Sanofi-Aventis U.S. LLC is a Delaware limited liability corporation

   with a principal place of business at 55 Corporate Drive, Bridgewater, New Jersey 08807. Sanofi

   manufactures Apidra, Lantus, and Toujeo, which are used for the treatment of diabetes. Sanofi’s

   revenues from Lantus were $6.98 billion in 2016 and over $4 billion in each year since 2013 for

   a total of $24 billion during the class period. Sanofi’s SEC Form 20-F for the year 2015 notes


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   that “Lantus is particularly important; it was the Group’s leading product . . . representing 17.2%

   of . . . net sales . . . .”

                                   III.    JURISDICTION AND VENUE

            239.      This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331 because

   the plaintiffs’ claims arise under federal law and under 18 U.S.C. § 1964(c): this action alleges

   violations of the Racketeer Influenced and Corrupt Organizations Act, 18 U.S.C. § 1962. This

   Court also has jurisdiction pursuant to 28 U.S.C. § 1332(d), which provides federal district courts

   with original jurisdiction over civil actions in which the matter in controversy exceeds the sum or

   value of $5,000,000, exclusive of interests and costs, and is a class action in which any member

   of a class of plaintiffs is a citizen of a state different from any defendant. Finally, this Court has

   supplemental jurisdiction over the plaintiffs’ state law claims pursuant to 28 U.S.C. § 1367.

            240.      Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b) and (c)

   and 18 U.S.C. § 1965, because each defendant transacts business in, is found in, and/or has

   agents in the District of New Jersey, and because some of the actions giving rise to this

   complaint took place within this district.

            241.      The Court has personal jurisdiction over each defendant. Each defendant has

   transacted business, maintained substantial contacts, and/or committed overt acts in furtherance

   of the illegal scheme and conspiracy throughout the United States, including in this District. The

   scheme and conspiracy have been directed at, and have had the intended effect of, causing injury

   to persons residing in, located in, or doing business throughout the United States, including in

   this District.




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                         IV.    DRUG PRICING IN THE UNITED STATES

    A.      Entities Involved in Drug Pricing

           242.    The prescription drug industry consists of an opaque network of entities,

   including pharmaceutical companies, wholesalers, pharmacies, health benefit providers

   (institutional insurers, self-insured employers, health and welfare plans), pharmacy benefit

   managers, and patient-consumers.

           243.    Pharmaceutical Companies. Pharmaceutical companies (also known as drug

   companies or drug manufacturers) own the rights to manufacture and market drugs. This remains

   true even if these companies contract out the actual production of their drugs. Pharmaceutical

   companies typically own or contract with facilities that manufacture drugs and then sell their

   products to wholesalers. Critically, pharmaceutical companies set the prices of their drugs and

   those prices are the prices used to calculate payments made by consumers. The defendants here

   are pharmaceutical companies.

           244.    Wholesalers. After production, the defendant manufacturers send their drugs to

   FDA-registered drug wholesalers for further distribution. Wholesalers purchase inventory and

   sell pharmaceutical products to a variety of providers, including retail pharmacy outlets,

   hospitals, and clinics.

           245.    Health benefit providers. Health benefit providers include institutional insurers,

   self-insured employers, and health and welfare plans. These plans submit payments on behalf of

   insured individuals to healthcare providers for services rendered to those individuals. Health

   insurers also cover a portion of their beneficiaries’ drugs costs, submitting payments to

   pharmacies on behalf of their members. The term “health insurers” includes public and private

   entities, the latter of which includes self-insured businesses, insurance companies, union-run

   health plans, and private plans that sponsor Medicaid and Medicare drug benefits.


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           246.    Pharmacy Benefit Managers. Pharmacy benefit managers (PBMs) effectuate

   financial and contractual arrangements between drug manufacturers, pharmacies, and health

   insurers. In this role, PBMs perform a variety of services on behalf of their health insurer clients,

   including the negotiation of drug prices with drug companies, creation of formularies,

   management of prescription billing, construction of retail pharmacy networks for insurers, and

   provision of mail-order services. Nonetheless, they generally are not a direct link in the physical

   supply chain for pharmaceutical products because, in most instances, they do not take possession

   or control of prescription drugs. The largest PBMs are CVS Health, Express Scripts, and

   OptumRx. Together, they cover roughly 80 to 85 percent of privately insured Americans.

    B.      The Drug Payment & Distribution Structure

           247.    Distribution. Generally speaking, for retail pharmacy channels, branded

   prescription drugs are distributed from manufacturer to wholesaler, wholesaler to retail pharmacy

   (or mail order), and retailer to patient.

           248.    Downstream charges. The downstream charges are from manufacturer to

   wholesaler, wholesaler to retailer (or mail order), and retailer (or mail order) to the health benefit

   providers (in the form of ingredient cost reimbursement and dispensing fees) and consumers (in

   the form of coinsurance, copayment, deductible payment, and/or cash).

           249.    Upstream charges. The upstream charges are from health benefit providers and/or

   PBMs directly back to the manufacturer. These upstream charges are price discounts the

   defendant drug manufacturers offer PBMs and their health insurer clients in the form of

   “rebates.” They typically occur well after the point-of-sale transactions.

           250.    The figure below illustrates this payment structure. This figure labels certain

   payments “payment” and others “negotiated payment.” The term “payment” refers to individual

   payments, made at the time of delivery; for example, when a patient walks into a pharmacy and


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   picks up her prescription. At that moment, her health plan also pays a service fee to its PBM for

   dispensing the drug through its network of retail pharmacies. In contrast, a “negotiated payment”

   is a payment made under a negotiated contract. For example, a PBM might negotiate a contract

   with a drug manufacturer for supply of X drug for $Y per pill for a period of time. The figure

   also indicates the flow of products and rebates.

                            Figure 3: The U.S. Drug Payment Structure 5




          251.    When an insured consumer buys a medication from a pharmacy (a retailer), her

   insurer pays the pharmacy based on the price its PBM negotiated for that medication (the net

   price). In addition to her insurer’s payment, the patient usually pays for a portion of the

   medication’s cost, out-of-pocket. Importantly, the patient’s payment is typically based on the

   benchmark price the drug manufacturer set for that drug.




      5
         Allison Tsai, The Rising Cost of Insulin, Diabetes Forecast (Mar. 2016),
   http://www.diabetesforecast.org/2016/mar-apr/rising-costs-insulin.html.


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    C.     Benchmark pricing as a Basis for Reimbursement

          252.    The prices for the drugs distributed in this chain are different for each

   participating entity: different actors pay different prices for the same drugs. In this system, only a

   drug’s benchmark price—also known as its Average Wholesale Price (AWP) or the

   mathematically-related Wholesale Acquisition Price (WAC)—is publicly available.

          253.    The prescription drug industry is unusual in that there are stark differences in the

   way patients pay for the products versus the ways institutions and health benefit providers pay

   for the same products. The beneficiary of this industry’s products (the patient) typically pays in

   one of several predictable ways for a single product based on the manufacturer’s published

   benchmark price. First, in the case of coinsurance, consumers pay a pre-set percentage of the

   point-of-sale transaction price. Second, in the case of cash transactions, consumers pay a usual

   and customary price. And, third, in the case of deductibles, consumers pay a portion of the point-

   of-sale transaction price. (Consumers might also pay a tiered or fixed copay). Consumer make

   these payments at the point-of-sale only. In contrast, intermediaries and third-party payers

   typically determine net costs for pharmaceuticals based on arrangements that apply to hundreds

   of products. And these charges occur not only at the point-of-sale, but also during later, off-

   invoice transactions.

          254.    The use of price benchmarks to calculate and communicate reimbursement

   payments reflects an efficient method by which to maintain the system’s flexibility, minimize

   uncertainty through predictable costs, maximize coverage in a cost-effective manner, and

   provide a mechanism for competition among payers. Payers’ reimbursement formulas will often

   include a series of price benchmarks and payment caps. The price benchmarks used in payers’

   formulas are commonly adjusted by a percentage that is contractually set (for commercial

   payers) or established through regulatory procedures (for public payers). For example,


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   reimbursement could be determined based on the lower of the drug’s (i) AWP – x%, (ii) WAC +

   y%, and (iii) payment cap.

          255.    Despite multiple modifications to health insurers’ reimbursement policies over

   time, the most commonly and continuously used set of reference prices in reimbursement and

   provider payment calculations and negotiations for retail channel drug transactions remains

   AWP. Crucially, AWP is the basis for plaintiffs’ payments in this case.

          256.    From an administrative perspective, AWP provides a logical starting point for the

   calculation and communication of reimbursement to various pharmacy providers for various

   drugs. Moreover, given the historical use of AWP by all industry participants, one cannot

   discount the significance of AWP’s entrenchment in the complex and highly automated payment

   system that is used to process billions of payments. As such, it is widely used as a competitive

   benchmark and to estimate costs and revenues.

          257.    This benchmark serves as the immovable reference point off of which PBMs and

   drug manufacturers negotiate price, i.e., the basis for reimbursement. As previously explained,

   PBMs create formularies for their health insurer clients, and those formularies significantly

   influence patients’ drug purchasing behavior. Health insurers cover all or a portion of their

   members’ drug costs based on whether and where drugs fall on their PBMs’ formularies. Drug

   companies offer PBMs “rebates”—essentially discounts off benchmark prices—to influence the

   PBMs’ formulary decisions.

          258.    As explained in the following section, consumer payments are directly based on

   the manufacturers’ benchmark prices.

    D.     Consumer Drug Costs

          259.    Pharmaceutical companies directly set the prices certain consumers pay by setting

   benchmark prices.


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          260.    When a consumer goes to a retail pharmacy (or the website of a mail order

   pharmacy) and requests to buy a drug, the pharmacy’s computer system pulls up the benchmark

   price the manufacturer of that drug has set and published. This benchmark price is not

   determined by the pharmacy or the wholesaler that brought the drug to the pharmacy. Rather, the

   pharmacy’s computer system taps into a database of benchmark prices that manufacturers have

   published. The pharmacy’s search for the drug’s benchmark price is akin to stock broker’s search

   for the price of a stock; the pharmacy, like the broker, does not and cannot change or influence

   the benchmark price. It can only report that price to the consumer. The prices pharmacies charge

   consumers are directly computed based on the manufacturer’s benchmark prices (e.g., the

   published list price less a small discount of, say, 15%). 6

          261.    Three principal types of consumers pay based on the benchmark prices that drug

   manufacturers—and drug manufacturers alone—set: (1) uninsured consumers; (2) consumers in

   high deductible plans; and (3) consumers with coinsurance obligations.

          262.    Uninsured. Uninsured consumers must pay the full, point-of-sale prices (based on

   benchmark prices) every time they pick up their prescriptions. Despite the Affordable Care Act’s

   expansion of Medicaid coverage and establishment of Health Insurance Marketplaces, millions

   of people—28.5 million in 2015—remain without coverage. This uninsured population is

   especially concentrated in states that did not take the Medicaid expansion, where diabetes is

   prevalent. Of the 28.5 million uninsured, reports indicate that 46% tried to get coverage but

   could not afford it. The uninsured population may grow drastically in the next few years if cost-

   sharing reduction payments under the Affordable Care Act are discontinued.



      6
        This complaint refers to this price as the full, point-of-sale price (based on benchmark
   price).


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          263.    The uninsured are not the only patients saddled with high out-of-pocket costs.

   Despite their monthly insurance premiums, insured consumers often pay a significant portion of

   a drug’s benchmark price. Out-of-pocket costs for insured consumers come in three forms:

   deductibles, coinsurance requirements, and/or copayment requirements.

          264.    High deductible Plans. The term “deductible” refers to a set amount of healthcare

   cost an insured must shoulder (out-of-pocket) before her plan will begin to contribute to her

   healthcare costs. Although most health plans have some form of a deductible, high deductible

   health plans are aptly named for their larger-than-average deductibles. And while high deductible

   health plans usually boast lower premiums, they are nonetheless more onerous to patients and

   families that need expensive care on a regular basis. Insured individuals in high deductible plans

   are usually required to pay full, point-of-sale prices (based on benchmark prices) before they

   reach their deductibles.

          265.    The past decade has witnessed a shift away from traditional health plans, which

   provide broader coverage, toward high deductible health plans. In their 2016 survey of employer

   health benefits, the Kaiser Family Foundation found that 29% of all covered employees are now

   enrolled in high deductible health plans, up from 17% in 2011. Although Preferred Provider

   Organizations (PPOs) are still the most common plan type (48% of Americans are enrolled in

   PPOs), enrollment in PPOs has fallen 10% over the last two years, while enrollment in high

   deductible health plans has increased by 8%. Figure 4 illustrates the rising trend in high

   deductible plans.




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     Figure 4: Percentage of covered workers enrolled in high deductible health plans from
                                         2006-2016. 7




          266.    Moreover, deductibles themselves have risen. The average annual deductible for

   an individual enrolled in a high deductible plan was between $2,031 and $2,295 in 2016,

   depending on the exact type of plan. 8 The average annual deductible for family coverage was

   between $4,321 and $4,364 in 2016, again, depending on the type of plan.

          267.    A recent Kaiser Family Foundation study found that 30% to 40% of U.S.

   households with private coverage do not have enough liquid assets to pay the deductible required

   by their health plan. Figure 5 below demonstrates this reality.



      7
        2016 Employer Health Benefits Survey, Kaiser Family Foundation 3 (2016),
   https://kaiserfamilyfoundation.files.wordpress.com/2016/09/employer-health-benefits-2016-
   summary-of-findings.pdf.
      8
        There are two primary types of high deductible health plans: high deductible plans with
   Health Reimbursement Arrangements and high deductible plans with Health Savings Accounts.


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     Figure 5: Share of non-elderly households with liquid assets less than their deductibles
                         among people with private health insurance. 9




          268.    Overall, in the entire employer-based health plan marketplace, deductibles have

   risen 12% since 2015—four times faster than premiums increased in the same period. Among all

   individuals enrolled in employer health plans (both high deductible plans as well as others), the

   average deductible in 2016 was $1,478.

          269.    The average deductible for individuals working at smaller firms was higher than

   that in larger firms ($2,069 v. $1,238 in 2016).

          270.    Figure 6 shows the increase in health plans with a general annual deductible of

   $1,000 or more, broken down by firm size.




      9
        Drew Altman, The Biggest Health Issue We Aren’t Debating, Axios (Nov. 22, 2017),
   https://www.axios.com/the-biggest-health-issue-we-arent-debating-2511098849.html (graphic
   based on data from Matthew Rae, Gary Claxton, and Larry Levitt, Do Health Plan Enrollees
   Have Enough Money to Pay Cost Sharing, Kaiser Family Foundation (Nov. 23, 2017),
   https://www.kff.org/health-costs/issue-brief/do-health-plan-enrollees-have-enough-money-to-
   pay-cost-sharing/).


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           Figure 6: Percentage of covered workers enrolled in a plan with a general annual
            deductible of $1000 or more for single coverage, by firm size, from 2006-2016. 10




            271.   The average deductibles for plans available under the Affordable Care Act on the

   Marketplace Exchanges are also high. The Marketplace health plans are broken into “metal”

   tiers: bronze, silver, gold, and platinum. The cheapest plans—bronze and silver—unsurprisingly

   come with very high deductibles. In 2016, the average deductibles in such plans were $5,765 for

   bronze plans (up from $5,328 in 2015) and $3,064 for silver plans (up from $2,556 in 2015).

            272.   High deductible plans are particularly hard on patients with chronic diseases: not

   only do patients living with chronic diseases, like diabetes, hit their deductibles year after year,

   but they hit their deductibles over a shorter period of time, resulting in significant financial

   burden at the start of each year. Individuals and families who do not have savings or access to


      10
          2016 Employer Health Benefits Survey, Kaiser Family Foundation 4 (2016),
   https://kaiserfamilyfoundation.files.wordpress.com/2016/09/employer-health-benefits-2016-
   summary-of-findings.pdf.


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   credit often take less insulin than they are prescribed to spread their out-of-pocket payments over

   a longer period of time.

           273.   Coinsurance and Copayments. In addition to their deductibles, individuals with

   insurance typically make copayments or coinsurance payments for the healthcare services they

   need. A copayment is a fixed or tiered fee that an individual must pay for a healthcare service at

   the time of care; for example, when she picks up a prescription. Copayment rates vary depending

   on the drug; usually drugs in preferred formulary positions have lower copays, and drugs in

   disfavored formulary positions require larger copays.

          274.    Coinsurance is similar. However, instead of paying a fixed or tiered fee for a

   particular service, individuals with coinsurance arrangements are required to pay a fixed

   percentage of the cost of the healthcare service provided. For drugs, this means a percentage of

   the plan’s point-of-sale price, which is mathematically tied to the drug’s benchmark price. This

   percentage can vary, with lower coinsurance rates for preferred drugs and higher coinsurance

   rates for disfavored drugs.

          275.    For those in high deductible health plans, copayments and coinsurance obligations

   begin after they reach their deductibles. Plans that cover prescription drugs right away, not

   requiring patients to reach deductibles first, usually require copayments or coinsurance

   contributions for every drug purchase.

          276.    For covered workers enrolled in health plans with three or more tiers of cost

   sharing for prescription drugs, the average coinsurance rates in 2016 were 17% for first-tier

   drugs, 25% for second-tier drugs, 37% for third-tier drugs, and 29% for fourth-tier drugs (fourth

   tier drugs are usually specialty medications, for diseases such as cancer, and are extremely

   expensive). Humalog, Basaglar, Levemir, Novolog, Fiasp, Tresiba, Lantus, Toujeo, and Apidra




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   are still branded drugs. Therefore, insurance plans generally classify them as second-tier or third-

   tier drugs on their formularies. As a result, coinsurance payments keyed to the benchmark prices

   of these medicines can be quite burdensome.

          277.    Recently, health plans have been demanding higher and higher coinsurance

   contributions from patients. Table 1 shows this trend.

                                  Table 1: Rising Coinsurance Rates
                             Retail Coinsurance Payment
                                          T2 Brand   T3 Brand           Flat
                             1998            24.7%     26.0%          20.7%
                             1999            24.9%     26.9%          21.0%
                             2000            26.0%     28.0%          22.0%
                             2001            24.0%     29.0%          20.0%
                             2002            24.4%     34.7%          23.0%
                             2003            24.3%     32.4%          22.0%
                             2004            25.0%     32.0%          25.0%
                             2005            26.5%     35.6%          23.0%
                             2006            26.2%     36.0%          23.0%
                             2007            26.4%     37.9%          22.0%
                             2008            26.1%     37.0%          24.0%
                             2009            26.3%     35.8%          22.0%
                             2010            25.2%     36.6%          24.0%
                             2011            25.6%     37.9%          23.0%
                             2012            26.1%     37.6%          22.0%
                             2013            25.5%     37.1%          22.0%
                             2014            24.3%     35.9%          22.0%
                             2015            27.1%     41.8%          22.0%

          278.    Overall, out-of-pocket spending for prescription drugs has shifted away from

   copayments toward deductibles and coinsurance spending over the past decade. In 2014, patients

   paid for 24% of their out-of-pocket prescription drug expenses through deductibles, compared to

   just 4% in 2004. Similarly, patients paid for 20% of their out-of-pocket drug expenses through

   coinsurance in 2014, compared to just 3% in 2004.

          279.    Medicare Part D. Finally, patients in Medicare Part D plans—Medicare’s

   prescription drug program—often pay a large portion of their drugs’ benchmark prices. In 2017,

   the Medicare Part D standard prescription drug plan had a $400 deductible and a 25%


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   coinsurance obligation up to an initial coverage limit of $3,700. This meant patients in Medicare

   Part D plans paid full, point-of-sale prices (based on benchmark price) until they spent $400.

   After they hit this deductible, they paid 25% of their drugs’ point-of-sale prices (based on

   benchmark prices) until they, together with their plans, spent $3,700 on drugs. Once Part D

   patients met this $3,700 coverage limit, they fell into the Coverage Gap, more commonly known

   as the “Donut Hole.” In the Donut Hole, they were required to pay 40% of their brand-name

   drugs’ point-of-sale prices. Only once the patients’ total out-of-pocket spending (both before and

   in the Donut Hole) reached $4,950 did their Medicare Part D plans begin to shoulder 95% of

   their healthcare costs again. Figure 7 demonstrates patient cost-sharing in the standard Medicare

   Part D plan for 2017.




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                 Figure 7: The standard Medicare prescription drug benefit in 2017. 11




    E.        Impact on Consumers

              280.   The defendants and their collaborators have exploited the drug pricing and

   payment system, forcing patient consumers to pay drastically higher prices for analog insulins

   than their insurers (if they have insurance). If a patient is uninsured, she is required to pay full,

   point-of-sale prices (based on benchmark prices); if a patient is responsible for all of her drugs’

   costs before she hits her deductible, she is required to pay full, point-of-sale prices (based on

   benchmark prices) until she meets her deductible; if a patient pays coinsurance, she pays for a

   percentage of her drugs’ point-of-sale prices (based on benchmark prices); if the patient is in a


         11
         The Medicare Part D Prescription Drug Benefit, The Kaiser Family Foundation 6 (Sept.
   26, 2016), http://kff.org/medicare/fact-sheet/the-medicare-prescription-drug-benefit-fact-sheet/.


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   Medicare Part D plan, she pays based on benchmark price before she meet her deductible, and

   then pays between 25% and 40% of point-of-sale prices (based on benchmark prices).

          281.    An example helps illustrate this structure. A woman with diabetes needs to

   purchase a box of insulin pens. She goes to her local retail pharmacy, where the pharmacist tells

   her the box’s benchmark price is $450. She has health insurance through her employer. Her plan

   requires her to pay a $2,000 deductible and then 30% coinsurance after she hits her deductible.

   If she has not yet reached her deductible, she pays $382.50 (benchmark price (AWP) minus

   15%, i.e., the point-of-sale price) for the box of insulin. If she has reached her deductible (paid

   $2,000 in health care costs), she pays $114.75 (382.50 x .3) for the box. The consumer believes

   her insurer paid the remaining $276.75. But it has not. In fact, in a transaction concealed from

   the patient, the drug manufacturer has paid an undisclosed amount of money back to the PBM.

   The PBM then paid a portion of this “rebate” to its insurer client. Thus, the net price of this

   insulin to the consumer’s insurer is much lower than the price she paid.

          282.    In the case of insulin, the defendants’ publicly-reported benchmark prices, used

   for consumer transactions, has climbed further and further away from the net prices that

   institutional payers pay. The net prices of analog insulins to PBMs and insurers are much lower:

   35%, 40%, or even 50% lower than benchmark prices.

          283.    Taking the above example one step further: the manufacturer’s publicly-reported

   benchmark price is $450, but its secret net price to PBMs is $229.50 (AWP minus 15%, less a

   40% “rebate”). As a result, when the consumer paid $382.50 for the box during her deductible

   period, she really paid 166% of the net price ($382.50 divided by $229.50). And when she paid

   $114.75 for her 30% coinsurance, she really paid 50% coinsurance ($114.75 divided by

   $229.50).




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    F.     Drug Manufacturer Manipulation of PBM Incentives

          284.      PBMs turn a profit in two primary ways relevant here: First, their health insurer

   clients pay them service fees for processing prescriptions and operating mail-order pharmacies.

   Second, PBMs take a cut of the drug price discounts they negotiate with drug companies (with

   the rest passed on to their health insurer clients). The manufacturers’ “rebate” arrangements are

   meant to create an incentive for PBMs to negotiate lower real drug prices. But the manufacturers

   know that this business model can be manipulated such that PBMs no longer have an incentive to

   control costs.

          285.      PBMs have the greatest leverage to negotiate lower prices when drugs are FDA-

   approved as bioequivalent or biosimilar, i.e., when a drug “goes generic.” But PBMs also have

   leverage when two or more drug companies manufacture drugs that, while not bioequivalent or

   biosimilar, are nevertheless in the same therapeutic class and are perceived to have similar

   efficacy and risk profiles. That is the case with the analog insulins. In such a scenario, the drug

   companies should compete for formulary access by lowering their real prices.

          286.      But the defendants have found a way to game this system. As the defendants have

   realized, the spread between real and benchmark price can be enlarged by raising benchmark

   prices while holding net prices constant. In exchange for this spread enlargement, the PBMs

   agree with the manufacturer, either explicitly or implicitly, to favor, or at least not disfavor, the

   drug with the most elevated benchmark price. The defendants know that when they increase the

   benchmark prices of their insulins, the PBMs can earn substantially greater revenues so long as

   net prices remain constant.

          287.      The perverse, reverse incentives for larger benchmark prices (and consequent

   consumer overpayments) was described in a recent report on the drug industry:




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           At the whole-market level, we sense that the price protection rebate arbitrage
           game is driving manufacturers to higher benchmark price increases than would
           otherwise occur, particularly on the eve of a general election. Price protection
           rebates between brand manufacturers and PBMs are common, as are fixed rebate
           agreements between PBMs and a significant portion of their plan sponsors. When
           brand manufacturers’ [benchmark price] increases exceed the price protection
           threshold, the manufacturers rebate the difference to PBMs, who pocket the
           difference when these price protection rebates grow faster than the PBMs’ fixed
           rebate commitments to plan sponsors. Thus all else equal in a given category, the
           product with the more rapid benchmark price increases is more profitable to the
           PBM. Manufacturers, realizing this, don’t want their products disadvantaged, and
           accordingly are driven to keep their rates of benchmark price inflation at least as
           high, and ideally just a bit higher, than peers’. Durable benchmark price inflation
           is the natural result. Net price inflation is unaffected, but unit volumes suffer as
           higher benchmark prices directly impact consumers who have not yet met their
           deductibles. 12

           288.   This is not the first time manipulation of the spread between benchmark and real

   prices has been the subject of large-scale litigation. In New England Carpenters Health Benefits

   Fund v. First DataBank, Inc., 244 F.R.P. 79 (D. Mass. 2007), the District Court for the District

   of Massachusetts certified a class alleging that McKesson, a wholesaler, and First Data, a drug

   price publisher, engaged in a scheme to inflate the benchmark prices of brand name drugs.

   McKesson asserted that a class could not be certified because the PBMs had become aware of

   the phony increase in the spread, and promptly acted to offset the spread by vigorously seeking

   rebates for its health insurer clients. However, part of the evidence the district court relied upon

   in rejecting this argument was evidence showing that the PBMs pocketed a portion of the

   increase in the spread at the expense of consumers and health insurers:

           Because these PBMs benefited from the increased [benchmark price] spreads
           perpetuated by the Scheme, Plaintiffs argue that they had no incentive to inform
           [third party payers] of the inflated AWP, let alone fiercely compete to mitigate
           any damage. As proof, Plaintiffs quote an April 26, 2002 internal ESI e-mail, sent
           around the same time as the ESI letter, that states that “the AWP increases being

      12
        Richard Evans, Scott Hinds, & Ryan Baum, US Rx Net Pricing Trends Thru 2Q16, SSR
   LLC, 36 (Oct. 5, 2016).



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            pushed through by First Data Bank [are] having a very favorable impact on our
            mail margins.” The e-mail goes on to state, “Our clients will not be sympathetic to
            our financial situation since we [will have benefited] from the AWP increase in
            the mail and they hired us to control drug trend.” The e-mail includes a
            handwritten note, in response, “Let’s put a lid on it and not make it a big deal.” 13

            289.   Just so, the defendants here have used the phony benchmark prices to their

   advantage. They use the spread between prices to provide kickbacks to PBMs in exchange for

   formulary status. Indeed, as the District Court for the District of Massachusetts explained,

   rebates are really “direct kickbacks,” disguised as market-share discounts and rebates.” 14 This

   “rebate” scheme enables the defendants to maintain preferred formulary positions without

   reducing their net prices.

            290.   And the PBMs benefit from the larger spreads. The PBMs boast of the “increased

   rebates” they have achieved, when, in reality, the “discounts” they have obtained are simply

   reductions off artificially-inflated benchmark prices. In other words, these “discounts” are not

   discounts at all.

            291.   The losers in this scheme are analog insulin consumers. When the defendants

   publish fraudulent benchmark prices so that they can offer PBMs larger spreads, they harm:

   uninsured patients, insured consumers in high deductible plans, insured consumers paying

   coinsurance, and insured consumers in Medicare Part D plans, especially those who reach the

   Donut Hole, all whom pay for analog insulin based on the defendants’ benchmark prices.




       13
        New England Carpenters Health Benefits Fund v. First Data Bank, Inc., 248 F.R.D. 363,
   367 (D. Mass 2008) (internal citations omitted).
       14
        United States ex rel. Banigan v. Organon USA Inc., No. CV 07-12153-RWZ, 2016 WL
   6571269, at *1 (D. Mass. Jan. 20, 2016).


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                                        V.      ANALOG INSULIN

    A.        Diabetes: The Disease and Demographics

              292.   Diabetes is an epidemic in the United States. One in five health care dollars is

   spent caring for people with diagnosed diabetes. Over 30 million people, 9.4% of the country,

   live with diabetes. A life-threatening disease, many of those living with diabetes rely on daily

   insulin treatments to survive. Interruptions to these regimes can have severe consequences,

   including sustained damage to the kidneys, heart, nerves, eyes, feet, and skin. Indeed, diabetes is

   the leading cause of kidney failure, adult-onset blindness, and lower-limb amputations in the

   United States. Missed or inadequate insulin therapy can leave diabetics with too little insulin in

   their system, triggering hyperglycemia and then diabetic ketoacidosis. Left untreated, diabetic

   ketoacidosis can lead to loss of consciousness and death within days. Diabetic ketoacidosis is

   responsible for more than 500,000 hospital days per year at an estimated annual direct medical

   expense and indirect cost of $2.4 billion. 15

              293.   The number of Americans who live with diabetes has exploded in the last half

   century. In 1958, only 1.6 million people in the United States had diabetes. By the turn of the

   century, that number had grown to over 10 million. Just 14 years later, the head count tripled

   again. Now over 30 million people—9.4% of the country—live with the disease. And this trend

   does not appear to be slowing: 86 million Americans have prediabetes, a health condition that

   significantly increases a person’s risk of type 2 diabetes.

              294.   Diabetes occurs when a person has too much glucose—sugar—in their blood

   stream. Normally, the human body breaks down ingested food into glucose, which in turn feeds




         15
        Abbas E. Kitabchi, et al., Hyperglycemic Crises in Adult Patients with Diabetes, 32
   Diabetes Care 1335, 1335 (2009).


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   cells and enables them to function. In this process, insulin functions as a key, opening the cells

   and permitting glucose to enter. A lack of insulin or responsiveness to insulin causes the process

   to break down. Glucose is unable to enter the cells, which leads to high blood sugar levels.

   Unchecked, high blood sugar levels in a non-diabetic can lead to type 2 diabetes.

          295.    There are two basic types of diabetes. Roughly 90-95% of Americans living with

   diabetes developed the disease because they do not produce enough insulin or have become

   resistant to the insulin their bodies do produce. Known as type 2, this more common form of

   diabetes is typically associated with increased body weight and is often developed later in life.

   When first diagnosed, many type 2 patients can initially be treated with tablets that help their

   bodies either secrete more insulin or better respond to the insulin they already produce.

   Nonetheless, these tablets are often insufficient for patients in the long term. To adequately

   control their blood sugar levels, many type 2 patients must inject insulin to supplement that

   which their bodies produce. About a quarter of type 2 patients rely on insulin treatment.

          296.     Type 1 diabetes occurs when a patient completely ceases insulin production. This

   form of diabetes is usually diagnosed in children and young adults, but can occur at any age. In

   contrast to type 2 patients, people with type 1 diabetes do not produce any insulin and, without

   regular injections of insulin, they will die. Individuals living with type 1 must rely on insulin

   treatments from the point of diagnosis until death.

          297.    If left untreated or under-treated, diabetes can become a debilitating and deadly

   disease. Indeed, it remains the seventh leading cause of death in the United States despite the

   availability of effective treatment. People with diabetes are almost twice as likely to have heart

   disease or a heart attack and one and one-half times more likely to have a stroke as those without

   the disease. Chronic kidney disease and failure is also much more common among those with




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   diabetes. Furthermore, diabetes damages blood vessels and nerves, leading to serious, hard-to-

   treat infections and even amputations. Finally, the disease is the leading cause of blindness.

              298.   The explosion in diabetes prevalence has hit minorities and the poor the hardest.

   Type 2 diabetes disproportionately impacts African-Americans, American Indians, Asian

   Americans, Hispanics/Latinos and Pacific Islanders. For example, Native Americans are 420%

   more likely to die from diabetes-related causes of death than other Americans. With decreased

   access to nutritious food sources and fitness options, low-income individuals are at a greater risk

   of obesity and, correspondingly, diabetes. These same demographic groups also account for a

   disproportionate share of the uninsured.

    B.        The Origins of Insulin Treatment

              299.   Despite its potentially deadly impact, diabetes is a highly treatable illness. For

   patients who are able to follow a prescribed treatment plan consistently, the harmful symptoms

   and health complications associated with the disease are entirely avoidable. And what’s more,

   unlike many high-burden diseases, treatment for diabetes has been available for almost a century.

              300.   In 1922, two men pioneered a technique for removing active insulin from an

   animal pancreas that could then be used to treat human patients with diabetes.

              301.   A “widely celebrated tale of biomedical serendipity,” 16 this breakthrough is

   revered for two reasons. First, the duo that discovered how to extract insulin for patient treatment

   was an unlikely pair: a young orthopedic surgeon without laboratory training, Frederick Banting,

   and his medical-student assistant, Charles Best. Second, neither Banting nor Best applied for a

   patent on their game-changing innovation because they wanted to ensure their discovery



         16
         Jeremy A. Greene & Kevin R. Riggs, Why Is There No Generic Insulin? Historical Origins
   of a Modern Problem, 372 N. Eng. J. Med. 1171, 1171 (2015).


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   remained open to the public, available to all. This decision offers a sad commentary on the state

   of the current pharmaceutical industry.

            302.    Ironically, Banting and Best eventually ended up applying for a patent to

   guarantee access: Banting and Best realized that if they did not patent their drug, someone else

   would. To prevent others from obtaining exclusive rights and restricting supply, Banting and

   Best obtained a patent and then sold it to the University of Toronto for $1 each. As they wrote to

   the University’s president, the patent was a form of publication: “When the details of the method

   of preparation are published anyone would be free to prepare the extract, but no one could secure

   a profitable monopoly.” 17

            303.   After selling their patent to the University of Toronto, university researchers

   attempted to manufacture insulin on campus. However, they quickly realized they lacked the

   facilities necessary to meet the demand. Therefore, to scale production, the University of Toronto

   teamed up with Eli Lilly, “an established pharmaceutical company with experience producing

   glandular extracts.” 18 Under this arrangement, Eli Lilly was allowed to apply for U.S. patents on

   any improvements to the manufacturing process. In addition to their contract with Eli Lilly, the

   Toronto team licensed the rights to produce insulin to a few other companies, including

   Denmark’s Nordisk Insulin Laboratorium and Novo Terapeutisk Laboratorium. 19 Those initial

   licenses laid the groundwork for Eli Lilly and Nordisk’s future domination over the sale of

   insulin products.



      17
           M. Bliss, The Discovery of Insulin (2013).
      18
         Jeremy A. Greene & Kevin R. Riggs, Why Is There No Generic Insulin? Historical Origins
   of a Modern Problem, 372 N. Eng. J. Med. 1171, 1171 (2015).
      19
           Nordisk and Novo merged in 1989 to form Novo Nordisk.



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            304.   Although the Toronto team’s early iteration of insulin was immediately perceived

   as “a lifesaving drug of vast clinical public health significance,” 20 subsequent research led to

   further improvements in the drug’s efficacy. The original animal insulin isolated by the Toronto

   team was short acting—it only had an effect on patient blood sugar levels for three to six hours.

   In the early 1930s, scientists at Nordisk discovered that the addition of a certain protein to insulin

   altered its absorption into the blood stream, prolonging its effect. This form of insulin became

   known as long-acting. A subsequent innovation in 1946—the addition of zinc to form the

   crystalline protamine-isophane insulin, now known as neutral protamine Hagedorn (NPH)—

   made it possible to combine long-acting and rapid-acting insulin. This advance allowed many

   diabetes patients to take a single daily injection. Soon afterward, a method for prolonging the

   action of insulin without adding protamine was discovered. These developments offered new

   options for the dosing of insulin. But they also extended the reach of insulin patents into the

   1970s.

            305.   When the animal-based insulin patents finally began to expire, researchers took

   another step forward in the development of insulin technology. In the late 1970s, scientists began

   to produce human insulin through recombinant technology. By 1982, Eli Lilly brought the first

   recombinant human insulins—Humulin R (regular) and N (NPH)—to the U.S. marketplace.

   Around the same time, Novo and Nordisk developed methods for chemically converting bovine

   insulin into human insulin. In 1988, a year prior to merging, Novo and Nordisk obtained

   approval for their own recombinant insulin. This innovation allowed them to continue shared




      20
         Jeremy A. Greene & Kevin R. Riggs, Why Is There No Generic Insulin? Historical Origins
   of a Modern Problem, 372 N. Eng. J. Med. 1171, 1172 (2015).


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   domination over insulin sales with Eli Lilly. It also enabled Eli Lilly and Novo Nordisk to spin a

   fresh web of insulin patents, promising to stretch into the 21st century.

          306.    After the introduction of human insulin, an improved understanding of the human

   genetic code and recombinant technology put a third insulin development within reach. In the

   mid-1980s, scientists began to modify the molecular structure of insulin, attempting to improve

   its physiological effects. By 1996, Eli Lilly had obtained approval for Humalog (generic name,

   insulin lispro), the first rapid-acting, man-made insulin. This new type of insulin—known as an

   analog—allowed for faster absorption times. Never far behind, Novo Nordisk released its own

   rapid-acting analog, Novolog (generic name, insulin aspart), in 2000. Four years after that, a

   third pharmaceutical company, Sanofi, released another rapid-acting analog, Apidra (generic

   name, insulin glulisine).

          307.    The same technological advances that brought about rapid-acting analogs gave

   rise to long-acting analogs. In 2000, Sanofi released the first long-acting analog. This drug was

   branded as Lantus (generic name, insulin glargine). Five years later, Novo Nordisk gained

   approval for its own long-acting analog, Levemir (generic name, insulin detemir). The first

   patents on these long-acting analogs expired in June 2014, nearly a century after Banting and

   Best’s first patent application in 1923.

          308.    In February 2015, Sanofi launched a higher dosage of insulin glargine, branded as

   Toujeo (generic name, insulin glargine). In September 2015, Novo Nordisk released a fourth

   type of long-acting insulin called Tresiba (generic name, insulin degludec). In December 2016,




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   Eli Lilly released its own version of insulin glargine, branded as Basaglar (generic name, insulin

   glargine). Basaglar is a follow-on product to Lantus. 21

           309.   In September 2017, the Novo Nordisk released a fourth rapid-acting insulin called

   Fiasp (generic name, insulin aspart). Fiasp is a slightly modified version of Novolog. Table 2

   summarizes the current insulin treatment landscape.




      21
         It is not considered a generic drug because it did not rely on the Food, Drug, and Cosmetic
   Act’s (FDCA) Abbreviated New Drug Application pathway—the normal pathway to generic
   entry—for approval. Instead, Basaglar was approved through a different FDCA pathway as a
   follow-on medication.


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                        Table 2: Insulin Available in the United States
Insulin                  Brand                                            FDA      Benchmark
Type      Action         Name           Generic Name       Company        Approval Price (AWP)
Human     Rapid-         Humulin R      Insulin Regular    Eli Lilly      1982     $185.88 (vial i)
          acting
                         Novolin R      Insulin Regular    Novo           1991     $172.13 (vial ii)
                                                           Nordisk
          Intermediate Humulin N        Insulin            Eli Lilly      1982     $185.88 (vial iii)
                                        Suspension
                                        Isophane (NPH)
                         Novolin N      Insulin            Novo           1991     $172.13 (vial iv)
                                        Suspension         Nordisk
                                        Isophane (NPH)
Analogs   Rapid-         Humalog        Lispro             Eli Lilly      1996     $663.00 (pen v)
          Acting                                                                   $343.38 (vial vi)
                         Novolog        Aspart             Novo           2000     $698.54 (pen vii)
                                                           Nordisk                 $361.70 (vial viii)
                         Apidra         Glulisine          Sanofi         2004     $651.76 (pen ix)
                                                                                   $337.39 (vial x)
                         Fiasp          Aspart             Novo           2017     $698.54 (pen xi)
                                                           Nordisk                 $361.70 (vial xii)
          Long-Acting    Lantus         Glargine           Sanofi         2000     $505.36 (pen xiii)
                                                                                   $336.93 (vial xiv)
                         Levemir        Detemir            Novo           2005     $504.38
                                                           Nordisk                 (FlexTouch xv)
                                                                                   $367.19 (vial xvi)
                         Basaglar       Glargine           Eli Lilly      2016     $407.95
                                                                                   (pen xvii)
                         Toujeo         Glargine           Sanofi         2015     $775.71(pen xviii)
                         Tresiba        Insulin Degludec   Novo           2016     $745.53 (pen xix)
                                                           Nordisk




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          Novolin R 100units/ml Solution for Injection (vial, 10 ml Insulin Regular (Recomb)
          i

   100U/1mL, Solution for injection).
          Novolin R 100units/ml Solution for Injection (vial, 10 ml Insulin Regular (Recomb)
          ii

   100U/1mL, Solution for injection).
           Humulin N 100unit/ml Suspension for Injection (vial, 10 ml Insulin Susp Isophane
          iii

   (NPH) (Recomb) 100U/1mL, Suspension for injection).
           Novolin N 100units/ml Suspension for Injection (vial, 10 ml Insulin Susp Isophane
          iv

   (NPH) (Recomb) 100U/1mL, Suspension for injection).
          v
            Humalog KwikPen 100unit/ml Pre-Filled Pen Solution for Injection (box, 5 pens, 3 ml
   Insulin Lispro 100U/1mL, Solution for injection) (2017).
          vi
            Humalog 100unit/ml Cartridge Solution for Injection (box, 5 cartridges, 3 ml Insulin
   Lispro 100U/1mL, Solution for injection) (2017).
          vii
             Novolog FlexPen Prefilled Syringe 100unit/ml Solution for Injection (box, 5 pre-filled
   syringes, 3 ml Insulin Aspart (Recomb) 100U/1mL, Solution for injection) (2018).
          Novolog 100unit/ml Solution for Injection (vial, 10 ml Insulin Aspart (Recomb)
          viii

   100U/1mL, Solution for injection) (2018).
          ix
            Apidra SoloStar 100units/ml Pre-Filled Pen Solution for Injection (box, 5 pens, 3 ml
   Insulin Glulisine 100U/1mL, Solution for injection) (2018).
          x
           Apidra 100unit/ml Solution for Injection (vial, 10 ml Insulin Glulisine 100U/1mL,
   Solution for injection) (2018).
          xi
            Fiasp FlexPen Prefilled Syringe 100unit/ml Solution for Injection (box, 5 pre-filled
   syringes, 3 ml Insulin Aspart (Recomb) 100U/1mL, Solution for injection) (2018).
          Fiasp 100unit/ml Solution for Injection (vial, 10 ml Insulin Aspart (Recomb)
          xii

   100U/1mL, Solution for injection) (2018).
             Lantus SoloStar 100units/ml Pre-Filled Pen Solution for Injection (box, 5 pens, 3 ml
          xiii

   Insulin Glargine 100U/1mL, Solution for injection) (2018).
          xiv
             Lantus 100units/mL Solution for Injection (vial, 10 ml Insulin Glargine 100U/1mL,
   Solution for injection) (2018).
          xv
            Levemir FlexTouch 100units/ml Solution for Injection (box, 5 pre-filled syringes, 3 ml
   Insulin Detemir (Recombinant) 100U/1mL, Solution for injection) (2016).
          Levemir 100units/ml Solution for Injection (vial, 10 ml Insulin Detemir (Recombinant)
          xvi

   100U/1mL, Solution for injection) (2018).
             Basaglar KwikPen 100units/mL Pre-Filled Pen Solution for Injection (box, 5 pens, 3
          xvii

   ml Insulin Glargine 100U/1mL, Solution for injection) (2017).
              Toujeo SoloStar 300units/mL Pre-Filled Pen Solution for Injection (box, 5 pens, 1.5
          xviii

   ml Insulin Glargine 300U/1mL, Solution for injection) (2018).
            Tresiba Insulin Degludec 200units/mL Pre-Filled Pen Solution for Injection (box, 3
          xix

   pens, 3 ml Insulin Glargine 200U/1mL, Solution for injection) (2018).


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    C.        Current Insulin Treatment Landscape

              310.   Today, analogs dominate insulin sales. Doctors and patients prefer analogs

   because they more closely mimic the way the human body naturally absorbs insulin released by

   the pancreas. As a result, it can be used in more flexible ways.

              311.   The American Diabetes Association—the organization responsible for setting

   guidelines for diabetes care in the United States—recommends analogs for treatment of

   individuals with both type 1 and type 2 diabetes.

              312.   For type 1 patients, insulin analogs are unquestionably the best course of

   treatment. Doctors uniformly prescribe analogs for type 1 patients.

              313.   For patients with type 2 diabetes, the American Diabetes Association describes

   long-acting analog insulin as the “most convenient initial insulin regimen.” 22 Nonetheless, the

   organization notes that type 2 patients without a history of hypoglycemia (a condition caused by

   a drop in blood sugar level) can safely use cheaper, human insulins.

              314.   But doctors still prefer to prescribe analog insulins to type 2 patients. A recent

   study found that as of 2010, among adults who filled prescriptions for more than one brand of

   insulin, 91.5% filled prescriptions for insulin analogs. The study found that percentage has

   grown considerably since 2000, when only 14.8% of patients (who filled more than one

   prescription for insulin) filled prescriptions for analog insulin. Now, type 2 patients use human

   insulin less frequently: the study found that only 14.8% of type 2 adults taking insulin filled a

   prescription for human insulin in 2010, down from 96.4% in 2000.




         22
        American Diabetes Association, Approaches to Glycemic Care, 38 Diabetes Care S52, S57
   (2016), http://care.diabetesjournals.org/content/39/Supplement_1/S52?ijkey=07291605370b
   0a3e07418e06fb5e894fb4314f05&keytype2=tf_ipsecsha.


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                 Figure 8: Type of insulin used among U.S. adults with type 2 diabetes
                              (who filled more than one prescription). 23




              315.   In 2016, the top three selling insulins were all analogs: Sanofi’s long-acting

   Lantus garnered $6.98 billion in sales; Novo Nordisk’s long-acting Novolog: $3.03 billion; and

   Eli Lilly’s rapid-acting Humalog: $2.84 billion.

    D.        Climbing Insulin Benchmark Prices

              316.   Despite the availability of many highly effective insulins, too many people living

   with diabetes go without proper treatment for a familiar reason: cost.

              317.   Eli Lilly raised the benchmark prices (AWP) of Humalog to $663.00 for a

   package of pens and $343.38 for a box of cartridges by the end of 2017. Eli Lilly also raised the


         23
         Kasia Lipska, et al., Use and Out-of-Pocket Costs of Insulin for Type 2 Diabetes Mellitus
   from 2000 to 2010, 311 J. Am. Med. Ass’n 2331, 2332 (2014).


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   benchmark prices of Basaglar to $407.95 for a package of pens by the end of 2017. Figure 9

   demonstrates Eli Lilly’s price increases from 2006 to 2019 for Humalog, and Figure 10

   illustrates Eli Lilly’s price increases for Basaglar.




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        Figure 9: Rising benchmark prices of Humalog vials and pens from 2006-2019.




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            Figure 10: Rising benchmark prices of Basaglar pens from 2016-2019.




                                           - 82 -
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          318.    Novo Nordisk’s benchmark prices (AWP) for Levemir were $504.38 for a

   package of pens at the end of 2017 and $367.19 for a vial at the end of 2018. Novo Nordisk’s

   benchmark prices for Novolog sat at $698.54 for a package of pens and $361.70 for a vial at the

   end of 2018. Novo Nordisk’s benchmark prices for Fiasp also sat at $698.54 for a package of

   pens and $361.70 for a vial at the end of 2018. Novo Nordisk’s benchmark price for Tresiba was

   $745.53 for a package of pens at the end of 2018. Most diabetes patients need at least one

   package of insulin per month. Figures 11 and 12 demonstrate Novo Nordisk’s price increases

   from 2006 to 2019 for Levemir and Novolog. And Figures 13 and 14 show Novo Nordisk’s

   benchmark price increases for Tresiba and Fiasp.




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        Figure 11: Rising benchmark prices of Levemir vials and pens from 2006-2019.




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        Figure 12: Rising benchmark prices of Novolog vials and pens from 2006-2019.




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            Figure 13: Rising benchmark prices of Tresiba pens from 2015-2019.




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              Figure 14: Rising benchmark prices of Fiasp pens from 2017-2019.




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          319.   Sanofi’s benchmark prices for Lantus, the top-selling analog insulin, sat at

   $505.36 for a package of pens and $336.93 for a vial at the end of 2018. Sanofi’s benchmark

   prices for Apidra were $651.76 for a package of pens and $337.39 for a vial at the end of 2018.

   Sanofi’s benchmark price for Toujeo was $775.71 for a package of Toujeo pens at the end of

   2018. Figures 15 and 16 demonstrate Sanofi’s price increases from 2006 to 2019 for Lantus and

   Apidra vial and pen packages. Figure 17 demonstrates Sanofi’s benchmark prices increases for

   Toujeo.




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         Figure 15: Rising benchmark prices of Lantus vials and pens from 2006-2019.




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         Figure 16: Rising benchmark prices of Apidra vials and pens from 2006-2019.




                                            - 90 -
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             Figure 17: Rising benchmark prices of Toujeo pens from 2015-2019.




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           320.   The benchmark prices of insulin analogs have not always been so high. In just the

   last five years, Sanofi and Novo Nordisk have raised Lantus’s and Levemir’s reported prices an

   astounding 168% and 169%, respectively. In fact, in 2016, Novo Nordisk and Sanofi were

   responsible for the highest drug benchmark price increases in the entire pharmaceutical industry.

   This distinction largely reflected their price hikes for Lantus and Levemir. Figure 18 shows Eli

   Lilly, Novo Nordisk, and Sanofi’s exponential benchmark price hikes from 2000 to 2015.

                   Figure 18: Rising insulin benchmark prices from 2000-2015. 24




           321.   Eli Lilly, Novo Nordisk, and Sanofi have not only dramatically increased their

   insulins’ benchmark prices in the last 10 years, they have done so in perfect lock-step. In thirteen

   instances since 2009, Sanofi and Novo Nordisk raised the benchmark prices of their long-acting

   analog insulins, Lantus and Levemir, in tandem, “taking the same price increase down to the




      24
         Rebecca Robbins, The Insulin Market is Heading for a Shakeup. But Patients May Not
   Benefit, STAT (Oct. 14, 2016), https://www.statnews.com/2016/10/14/insulin-prices-generics/.



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   decimal point within a few days of each other.” 25 As one healthcare analyst put it: “That is pretty

   much a clear signal that your competitor doesn’t intend to price-compete with you.” 26 Eli Lilly,

   Novo Nordisk, and Sanofi have engaged in the same lock-step behavior with respect to their

   rapid-acting analog insulins, Humalog, Novolog, and Apidra, respectively. Figures 19 and 20

   demonstrate this seemingly collusive behavior with respect to Lantus and Levemir, with the

   entry of Eli Lilly’s Basaglar, Novo Nordisk’s Tresiba, and Sanofi’s Toujeo noted as well.

   Figures 21 and 22 demonstrate this behavior with respect to Novolog, Fiasp, Humalog, and

   Apidra.




      25
         Robert Langreth, Hot Drugs Show Sharp Price Hikes in Shadow Market, Bloomberg (May
   6, 2015).
      26
           Id.


                                                  - 93 -
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          Figure 19: Rising benchmark prices of long-acting insulins from 2006-2019.




                                            - 94 -
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           Figure 20: Rising Lantus and Levemir benchmark prices from 2001-2015.




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          Figure 21: Rising benchmark prices of rapid-acting insulin from 2006-2019.




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              Figure 22: Rising Humalog and Novolog benchmark prices from 1996-2016.




    E.        Eli Lilly, Novo Nordisk, and Sanofi have sold increased spreads to PBMs in
              exchange for (or as a kickback for) preferred formulary status.

              322.   In the past, Novo Nordisk maintained that its price increases reflected the

   “clinical benefit” of its drugs. 27 But Levemir and Novolog are the exact same drugs they were 10

   years ago—the clinical benefits of these medications have not changed. Where clinical benefit

   has not changed, it cannot be used to justify a 169% price increase. Therefore, another factor

   motivates these benchmark price increases.


         27
          Allison Tsai, The Rising Cost of Insulin, Diabetes Forecast (Mar. 2016),
   http://www.diabetesforecast.org/2016/mar-apr/rising-costs-insulin.html.


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           323.   The real reason Eli Lilly, Novo Nordisk, and Sanofi have increased their

   benchmark prices is because these firms choose to compete based on hidden rebates to PBMs

   rather than transparent prices for all. PBMs control the formularies that determine whether

   people living with diabetes will purchase Eli Lilly, Novo Nordisk, and Sanofi’s analog insulins.

   The defendants have realized that they can manipulate the PBMs’ formulary choices by

   artificially inflating their benchmark prices, rather than lowering net prices.

           324.   Under pressure to explain its rising benchmark prices, Novo Nordisk admitted to

   this behavior in a press release. On November 30, 2016, Novo Nordisk stated:

           We hear from more and more people living with diabetes about the challenges
           they face affording healthcare, including the medicines we make. . . . News
           reports on drug prices have left the public with an impression that companies like
           ours realize all the profits from the “[benchmark] price” increases we’ve made
           over the last decade. In other words, a [benchmark] price increase by XX percent
           leads to an automatic XX percent profit for the drug maker. We believe that is
           misleading and here’s why: As the manufacturer, we do set the “[benchmark]
           price” and have full accountability for those increases. However, after we set the
           [benchmark] price, we negotiate with the companies that actually pay for the
           medicines, which we call payers. This is necessary in order for our medicines to
           stay on their preferred drug list or formulary. The price or profit we receive after
           rebates, fees and other price concessions we provide to the payer is the “net
           price.” The net price more closely reflects our actual profits. 28

   Explaining the company’s benchmark price increases, Novo Nordisk directly admitted that it

   “set[s] [benchmark] price” with an eye to achieving “preferred” formulary status.

           325.   For over a decade, Novo Nordisk has steeply raised the benchmark prices of

   Levemir and Novolog while keeping the net prices of these medicines constant. Figures 23 and

   24 (included in Novo Nordisk’s press release) illustrate this conduct.




      28
         Novo Nordisk Press Release (Nov. 30, 2016), http://press.novonordisk-us.com/leadership-
   perspectives?item=1.


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                   Figure 23: Real versus Benchmark Prices of Novolog Vials 29




                 Figure 24: Real versus Benchmark Prices of Novolog FlexPens 30




      29
           Id.
      30
         Id. The FlexPen is a type of insulin injection. Patients who use this pen stick themselves
   with a pen-like insulin distributor instead of injecting insulin through a pump or syringe.


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            326.   Lilly, too, has admitted that it raises benchmark prices as a quid pro quo for

   formulary positions: “The reason drugmakers sharply raise benchmark prices without a

   corresponding increase in net price is that PBMs demand higher rebates in exchange for

   including the drug on their preferred-drug lists.” 31

            327.   Sanofi has also conceded its participation in this benchmark price inflation

   scheme:

                   [S]ince 2014, we have increased the level of rebates granted for
                   Lantus® in order to maintain favorable formulary positions with
                   key payers in the US. 32

            328.   Sanofi’s manipulation of its spreads is visible in Figure 25.

                         Figure 25: Real versus Benchmark Price of Lantus




      31
         Denise Roland & Peter Loftus, Middlemen Fuel Insulin Price Rise, Wall St. J., Oct. 10,
   2016, at B1.
      32
           Sanofi, Annual Report (Form 20-F) (Dec. 31, 2016).


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          329.   Eli Lilly’s, Novo Nordisk’s, and Sanofi’s spread-increasing behavior is also

   visible from data on these companies’ “rebates” to PBMs and insurers.

          330.   The two figures below illustrate Eli Lilly’s “rebates” from 2007 to 2014. Figures

   26 and 27 show the amount Eli Lilly has increased its rebates (spreads) from 2007 to 2014.

                                             Figure 26:
        Eli Lilly’s reported “rebates” as a percentage of U.S. gross sales from 2007-2014.




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                                              Figure 27:
     Eli Lilly’s selling, general, and administrative costs and rebates as a percentage of gross
                                      U.S. sales from 2007-2014.




          331.   Novo Nordisk has also greatly increased its spreads. Figures 28 and 29 show the

   amount Novo Nordisk has increased its rebates (spreads) from 2007 to 2014.




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      Figure 28: Novo Nordisk’s reported “rebates” as a percentage of U.S. gross sales from
                                          2007-2014.




      Figure 29: Novo Nordisk’s selling, general, and administrative costs and rebates as a
                        percentage of gross U.S. sales from 2007-2014.




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          332.    Finally, Sanofi has greatly increased its spreads. Figures 30 and 31 show the

   amount Sanofi has increased its rebates (spreads) from 2007 to 2014.

    Figure 30: Sanofi’s reported “rebates” as a percentage of U.S. gross sales from 2007-2014.




    Figure 31: Sanofi’s selling, general, and administrative costs and rebates as a percentage of
                                   gross U.S. sales from 2007-2014.




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          333.    Sanofi and Novo Nordisk have stretched the spreads on their analog insulin

   medications to the point where they have become the second and third largest rebators in the

   entire pharmaceutical industry.

          334.    Although the Defendants Drug Manufacturers claim they “need” to inflate their

   benchmark prices to obtain formulary status, this explanation omits a crucial detail. Drug

   companies could compete for formulary status in a manner that would help consumers: they

   could significantly lower their real prices, instead of inflating their benchmark prices. Yet, the

   insulin manufacturers refuse to significantly lower their net prices. And the PBMs continue to

   accept the manufacturers’ benchmark-raising behavior so long as net prices stay constant.

    F.     The Defendant Drug Manufacturers’ benchmark price inflation deceived and
           harmed the plaintiffs and class members.

          335.    The defendants’ false benchmark prices have deceived the plaintiffs and class

   members. During the class period, the vast majority of plaintiffs and class members had no idea

   that the benchmark prices they struggled to afford were not only different from the prices PBMs

   and insurers receive, but actually trend in an entirely different direction.

          336.    As the defendants’ benchmark prices soared further and further away from their

   net prices, these benchmark prices became so misrepresentative, so untethered from their true

   average prices as to be fraudulent.

          337.    During the class period, Eli Lilly, Novo Nordisk, and Sanofi deliberately and

   intentionally published benchmark prices for the analog insulins that did not reflect the actual,

   market prices of the drugs. Instead, these benchmark prices were fabricated overstatements;

   inflations designed to create net-to-benchmark price spreads that the defendants could market to

   PBMs in exchange for formulary status.




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             338.   The Defendant Drug Manufacturers concealed their analog insulins’ net prices

   and prevented the plaintiffs and class members from knowing what these prices were to ensure

   the PBMs could and would benefit from the spreads between the net and benchmark prices. Put

   another way, the defendants’ publication of their benchmark prices, while concealing their net

   prices, is the basis for the quid pro quo with the PBMs. If consumers did not understand

   benchmark prices as reasonable approximations of the cost of their analog insulins—as

   reasonable bases for their cost-sharing obligations—PBMs and health insurers would not be able

   to use the defendants’ benchmark prices as a basis for consumer cost-sharing. If the PBMs could

   not use these benchmark prices as a basis for reimbursement, the spreads between benchmark

   and net prices would evaporate. Without spreads to sell, the Defendant Drug Manufacturers

   would have nothing to offer PBMs in exchange for preferred formulary status except lower real

   prices.

             339.   Instead, the defendants’ spread schemes enabled them to offer something of value

   to the PBMs (large spreads on which to make profits) in exchange for preferred formulary status.

   If the defendants did not have these spreads to offer, they would have been forced to compete for

   preferred formulary status through lower prices. Put simply, without the fraudulent spread

   schemes, the defendants would have competed for PBM business the way competitors do in

   healthy markets: by lower real prices. Such competition would have benefited the plaintiffs and

   class members greatly. But instead of competing on real price, each defendant competed on

   spread.

             340.   To do so, the defendants closely guarded their pricing structures and sales figures

   for their analog insulins. Each Defendant Drug Manufacturer kept secret the net prices it offered

   to the three largest PBMs.




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          341.    Each defendant also concealed its fraudulent conduct by signing confidentiality

   agreements with those in the supply chain that knew the net prices.

          342.    Each defendant’s efforts to conceal its pricing structures for the analog insulins is

   evidence that it knew that its conduct was fraudulent.

          343.    In sum, each defendant concealed that: (i) its benchmark prices were fraudulently-

   inflated, (ii) it was manipulating the benchmark prices of its analog insulins, and (iii) the

   benchmark prices bore no relationship to the prices paid for, or the pricing structure of, the

   analog insulins as they were sold to PBMs.

          344.    The defendants’ publication of their benchmark prices, combined with their

   concealment of their net prices, deceived the plaintiffs and class members into believing that the

   analog insulins’ benchmark prices were reasonably related or close to the drugs’ true prices.

          345.    The plaintiffs relied on the defendants’ representations regarding their benchmark

   prices and paid for their analog insulins based on these fraudulent benchmark prices to their

   detriment. The plaintiffs, unaware of the true facts about the pricing of the analog insulins,

   continue to pay for the analog insulins based on their benchmark prices, the only price truly

   available to them.

          346.    As a result of the Defendant Drug Manufacturers’ deceptive, unfair, and

   unconscionable conduct, the plaintiffs and members of the class have overpaid for their analog

   insulins when they pay for these medications based on their benchmark prices. As previously

   explained, the defendants’ benchmark price inflation harms the plaintiffs and class members.

   People living with diabetes who are uninsured, who are in high deductible plans, who have high

   coinsurance rates, and/or who are in Medicare Part D plans must pay for their analog insulins

   based on the defendants’ fictitious benchmark prices. No other entity in the drug supply chain




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   sets these benchmark prices and no other entity in the supply chain has the ability to change

   these benchmark prices, on which consumer payments are directly based. The amount the

   plaintiffs and class members have overpaid is the difference between the drugs’ point-of-sale

   prices and a reasonable approximation of the drugs’ net prices.

          347.    Currently, 150 million Americans get healthcare insurance through their

   employers. Increasingly, individuals within this group are unable to afford their prescribed

   insulins due to the cost-sharing obligations their health plans impose. A 2014 study found that

   among patients with commercial insurance, out-of-pocket costs for people with type 2 diabetes

   rose a staggering 89% from 2000 to 2010.

          348.    In fact, patients with endocrine disorders, such as diabetes, are more likely to

   shoulder out-of-pocket costs in excess of $1,000 than patients in any other disease class. As

   Figure 32 illustrates, 70% of people with endocrine disorders have out-of-pocket drug spending

   at or above $1,000.




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         Figure 32: Conditions that are more likely to lead to high out-of-pocket spending.




            349.   The increasing number of patients with high deductible plans and coinsurance

   obligations, together with the rise in coinsurance rates, has made the pain associated with the

   analog insulin price hikes particularly acute. Although insulin has been available for over 100

   years, Eli Lilly, Novo Nordisk, and Sanofi’s price hikes are now making it harder than ever to

   obtain. 33



       33
        The Affordable Care Act sets a limit for patient out-of-pocket spending. For 2017, the
   Affordable Care Act has capped out-of-pocket costs at $7,150 for an individual plan and $14,300



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           350.    The Defendant Drug Manufacturers’ pattern of fraudulent conduct in artificially

   inflating the benchmark prices of the analog insulins directly and proximately caused plaintiffs

   and the members of the class to substantially overpay for those drugs.

           351.    The plaintiffs were diligent in pursuing an investigation of the claims asserted in

   this Second Amended Complaint. Through no fault of their own, they did not receive inquiry

   notice nor learn of the factual basis for their claims in this complaint and the injuries suffered

   therefrom until recently.

    G.      The Health Impact of Artificial Pricing

           352.    For many plaintiffs and class members, the defendants’ artificial price inflation

   has cost them their health, financial stability, and emotional wellbeing. Unable to afford the

   defendants’ price increases, many plaintiffs have begun to engage in highly risky behaviors with

   respect to their disease. Plaintiffs report under-dosing their insulin, skipping their refills,

   injecting expired insulin, re-using needles, and avoiding doctors’ visits. To compensate for their

   lack of insulin, some patients starve themselves, foregoing one or even two meals a day. These

   practices—which ineffectively control blood sugar levels—can lead to serious complications

   such as kidney disease and failure, heart disease and heart attacks, infection, amputation, and

   blindness. Multiple plaintiffs have lost their vision as a result of their inability to consistently

   afford insulin. Others have experienced loss of kidney function, and have had to have kidney

   transplants. Ineffective control of blood sugar can also cause sustained hyperglycemia and, in

   severe cases, diabetic ketoacidosis—a life-threatening condition. Many plaintiffs describe

   multiple trips to emergency rooms for diabetic ketoacidosis. Other plaintiffs explain that their




   for family plans. Nevertheless, for many low income and middle-income individuals and
   families, these ceilings provide little relief—many cannot afford to hit them.


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   insulin costs have left them unable to afford the healthy diets they should be maintaining. Too

   many plaintiffs re-use needles and pen tips to cut back on their diabetes costs. This practice is

   dangerous as it can cause infection. Others attempt to lower their costs by skipping the glucose

   testing they should be doing prior to injecting insulin. Foregoing glucose testing can lead to

   under- or over-dosing insulin. While analog insulin should be improving the health of plaintiffs,

   the defendants’ price hikes have had the opposite effect.

           353.    The toll of the defendants’ price hikes is not just physical: the high cost of insulin

   causes serious financial difficulty and emotional stress. Multiple class members spend over 50%

   of their income on their insulin supplies. Plaintiffs describe going into debt, taking out loans,

   moving back in with their parents, and quitting school to pay for their insulin. Multiple plaintiffs

   state that they keep the heat low—even in the dead of winter—so they can afford insulin. Parents

   of children with diabetes describe the anguish of not being able to afford pre-kindergarten and

   other educational services for their children due to their insulin costs. They say that the cost of

   insulin is a huge stress in their children’s lives, as these young patients realize the financial strain

   their disease puts on their families. As one plaintiff, whose son has type 1 diabetes, explained:

           As a mom, of course I would sacrifice anything for my child, so over the years,
           we have had to learn to adjust to living around the cost of insulin. [My son] and
           his sisters live at home and commute to a nearby college instead of being able to
           go off to college, . . . all with keeping in mind that we all need to learn a lifestyle
           of constantly fearing the cost to keep [my son] going, as this is a lifelong disease.
           However, the most immediate financial consequence came that very first month
           of diagnosis when we had not budgeted for a sudden increase in our bills. So
           when [we were] suddenly hit with an extra expense for insulin, the first thing to
           go was the youngest sibling’s pending preschool tuition. This cost was the easiest
           to cut financially, but not mentally/emotionally. We could not cut our other bills
           (mortgage, utilities, etc.) much more, so my youngest child has forgone her early
           childhood education. It makes me feel like a horrible mother to admit, but that
           was our panic response to save ourselves from going into more debt. We are a
           family that . . . works hard for everything we have. We don’t take handouts or
           accumulate debt. We put ourselves through college and earn all that we have. We
           value a strong work ethic; we are middle America. Since [my son’s] diagnosis,



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             every penny I spend and save is with affording insulin in mind. Since type 1 is
             hereditary, an autoimmune disease, any of our other children could be diagnosed
             at any time, and their children, and so on, so in that sense, our entire family is
             100% insulin dependent, and it could span generations. Without it, my son can’t
             survive.

   Most plaintiffs described the anxiety associated with their insulin costs as all-consuming and

   constant.

             354.   Cognizant of the damage increasing benchmark prices have inflicted on patients,

   Novo Nordisk has recently announced that they will take steps, going forward, to rein in this

   harm. In its November 30, 2016 press release, Novo Nordisk made a modest commitment to

   “limit[] any potential future benchmark price increases for our medicines to no more than single-

   digit percentages annually.” 34

             355.   Long overdue, these affordability measures still do not end or even address the

   insidious practice of artificially inflating the spread between benchmark and net price. Nor do

   they make whole the patients who have spent thousands of dollars out-of-pocket on long acting

   insulins for the past few years. Therefore, these measures fail to address the structural issues that

   have given rise to the price hikes that have hurt under-insured and uninsured diabetes patients for

   years.

             356.   Individuals living with diabetes spend, on average, twice as much as those

   without the disease despite the fact that treatment for the disease has existed for more than 100

   years. Diagnosed diabetes now costs the United States over $245 billion per year; an estimated

   $1 of every $5 spent on health care in the United States. The Defendant Drug Manufacturers’

   artificial inflation of analog insulin prices has pushed, and will continue to push, access to life-

   saving drugs out of reach of uninsured and underinsured American diabetes patients, even


      34
            Novo Nordisk Press Release, supra.


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   despite recent efforts to control prices. Without access to proper treatment, diabetes patients

   experience serious and costly health complications. Despite Banting and Best’s efforts to ensure

   insulin was widely accessible, the pharmaceutical companies that have inherited their legacy

   have eschewed this aspiration, sublimating it to the companies’ profit margins. The fraudulent

   practice of creating a large spread between benchmark and real prices has harmed and will

   continue to harm diabetes patients across the country. Millions more will suffer painful

   complications and early death unless Eli Lilly, Novo Nordisk, and Sanofi make analog insulin

   more affordable.

            357.   This case focuses on the overcharges the plaintiffs have incurred as a result of the

   defendants’ fraudulent scheme. Plaintiffs seeks relief from these overcharges.

                      VI.   TOLLING OF THE STATUTE OF LIMITATIONS

    A.      Discovery Rule Tolling

            358.   Plaintiffs and class members had no way of knowing about the defendants’

   scheme and deception with respect to insulin pricing.

            359.   The manufacturers and PBMs refuse to disclose the real, net prices of insulin,

   labeling them trade secrets. Hence, a reasonable plaintiff and consumer could not discover the

   truth.

            360.   Within the period of any applicable statutes of limitation, plaintiffs and members

   of the proposed class could not have discovered, through the exercise of reasonable diligence,

   that the defendants were concealing the conduct complained of herein and misrepresenting the

   true cost of insulin.

            361.   Plaintiffs and the other class members did not discover, and did not know of facts

   that would have caused a reasonable person to suspect, that the defendants were engaged in the




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   scheme and were publishing phony benchmark prices, nor would a reasonable and diligent

   investigation have disclosed the true facts.

          362.     For these reasons, all applicable statutes of limitation have been tolled by

   operation of the discovery rule with respect to claims as to all insulin products identified herein.

    B.        Fraudulent Concealment Tolling

          363.     All applicable statutes of limitation have also been tolled by the defendants’

   knowing and active fraudulent concealment and denial of the facts alleged herein throughout the

   period relevant to this action.

    C.        Estoppel

          364.     The defendants were under a continuous duty to disclose to plaintiffs and class

   members the true character, quality, and nature of the benchmark prices upon which their

   payments for insulin were based.

          365.     Based on the foregoing, the defendants are estopped from relying on any statutes

   of limitations in defense of this action.

                              VII.    CLASS ACTION ALLEGATIONS

          366.     Plaintiffs bring this action on behalf of themselves and all others similarly situated

   under Federal Rule of Civil Procedure 23(a) and (b)(3), as representatives of a class defined as

   follows:

                   All individual persons in the United States and its territories who
                   paid any portion of the purchase price for a prescription of Apidra,
                   Basaglar, Fiasp, Humalog, Lantus, Levemir, Novolog, Tresiba,
                   and/or Toujeo at a price calculated by reference to a benchmark
                   price, AWP (Average Wholesale Price), or WAC (Wholesale
                   Acquisition Price) for purposes other than resale.

          367.     The class period is tolled to the earliest date of the Defendant Drug

   Manufacturers’ initiation of the scheme described herein, wherein the Defendant Drug



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   Manufacturers artificially inflated the benchmark prices of Apidra, Basaglar, Fiasp, Humalog,

   Lantus, Levemir, Novolog, Tresiba, and Toujeo (the analog insulins) to offer PBMs higher

   spreads in exchange for preferred formulation status (the spread scheme).

           368.    Excluded from the class are: (a) Eli Lilly and any entity in which it has a

   controlling interest, and their legal representatives, officers, directors, assignees, and successors;

   (b) Novo Nordisk and any entity in which it has a controlling interest, and their legal

   representatives, officers, directors, assignees, and successors; (c) Sanofi and any entity in which

   it has a controlling interest, and their legal representatives, officers, directors, assignees, and

   successors; and (c) any co-conspirators, and their officers, directors, management, employees,

   subsidiaries, and affiliates.

           369.    There are a number of ways in which an individual person may pay a portion of

   the benchmark price of an analog insulin and thereby gain inclusion in the class. First, a person

   may be uninsured and, therefore, responsible for paying 100% of the cost of her analog insulins

   based on the Defendant Drug Manufacturers’ benchmark prices (the uninsured scenario).

   Second, a person’s insurance plan may require her to satisfy a deductible before insurance

   benefits cover all or a portion of her prescription needs. If so, that person is paying for 100% of

   the cost of her analog insulins based on the Defendant Drug Manufacturers’ benchmark prices

   before she meets her deductible (the deductible scenario). Third, a person may have a

   coinsurance requirement. If so, that person is paying a portion of the cost of her analog insulins

   based on the Defendant Drug Manufacturers’ benchmark prices (the coinsurance scenario).

   Fourth, a person may obtain insurance through a Medicare Part D Plan. If so, that person is

   paying a portion of the cost (or 100% of the cost before she meets her deductible) based on the

   Defendant Drug Manufacturers’ benchmark prices (the Medicare Part D scenario).




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           370.    In each of these scenarios—the uninsured scenario, the deductible scenario, the

   coinsurance scenario, and the Medicare Part D scenario—a person’s out-of-pocket expense for

   the analog insulins is determined based on the benchmark prices Defendant Drug Manufacturers

   unilaterally set for these drugs. Accordingly, each falls within the class definition.

           371.    Members of the class are so numerous and geographically dispersed that joinder

   of all members is impracticable. Hundreds of thousands of prescriptions are written for the

   analog insulins throughout the United States every week, and these prescriptions are filled by

   hundreds of thousands of individuals. The class is readily identifiable from information and

   records in the possession of the Defendant Drug Manufacturers.

           372.    Plaintiffs’ claims are typical of the claims of the members of the class. Plaintiffs

   and all members of the class were damaged by the same wrongful conduct of the defendants—

   i.e., as a result of Defendant Drug Manufacturers’ misconduct, these purchasers paid artificially

   inflated prices for the analog insulins, and they will continue to do so in the future.

           373.    Plaintiffs will fairly and adequately protect and represent the interests of the class.

   The interests of plaintiffs are coincident with, and not antagonistic to, those of the other members

   of the class.

           374.    Lead counsel that represents the plaintiffs are experienced in the prosecution of

   class action litigation and have particular experience with class action litigation involving

   pharmaceutical products and extensive experience in class actions concerning the use of

   benchmark pricing, including two cases in federal district court (AWP and McKesson) that

   resulted in recoveries well in excess of $500 million.

           375.    Questions of law and fact common to the members of the class predominate over

   questions that may affect only individual class members because the defendants have acted on




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   grounds generally applicable to the entire class, thereby making overcharge damages with

   respect to the class as a whole appropriate. Such generally-applicable conduct is inherent in the

   defendants’ wrongful conduct.

          376.    Questions of law and fact common to the class include, but are not limited to:

                     i.   Whether Eli Lilly, Novo Nordisk, and Sanofi engaged in a fraudulent,
                          unfair, and/or deceptive scheme or course of conduct by improperly
                          publishing inflated benchmark prices for their analog insulins, which the
                          plaintiffs and class members purchased;

                    ii.   Whether Eli Lilly, Novo Nordisk, and Sanofi artificially inflated the
                          benchmark prices of the analog insulins;

                   iii.   What the benchmark prices versus net (true average) prices for the analog
                          insulins are;

                   iv.    Whether it was the policy and practice of Eli Lilly, Novo Nordisk, and
                          Sanofi to prepare marketing and sales materials for PBMs that contained
                          comparisons of their benchmark prices and net prices for their analog
                          insulins and the spreads available;

                    v.    Whether Eli Lilly, Novo Nordisk, and Sanofi engaged in a pattern and
                          practice of paying illegal kickbacks, disguised as “rebates,” to PBMs, such
                          as CVS Health, Express Scripts, and OptumRX, that created substantial
                          spreads between the benchmark and net prices;

                   vi.    Whether the large benchmark-to-net price spreads were intended to induce
                          CVS Health, Express Scripts, and OptumRX to give Eli Lilly’s, Novo
                          Nordisk’s, and Sanofi’s analog insulins favorable placement on the PBMs’
                          formularies;

                  vii.    Whether Eli Lilly, Novo Nordisk, and Sanofi used artificially inflated
                          benchmark prices as a starting point for negotiating these kickbacks or
                          “rebates” for the analog insulins;

                  viii.   Whether each defendant conspired with the PBMs for the purpose of
                          carrying out this spread scheme;

                   ix.    Whether the spread scheme caused plaintiffs and class members to make
                          inflated payments based on the artificial benchmark prices for the analog
                          insulins;

                    x.    Whether Eli Lilly, Novo Nordisk, and Sanofi engaged in a pattern of
                          deceptive and/or fraudulent activity intended to defraud or deceive
                          plaintiffs and class members;


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                   xi.    Whether Eli Lilly, Novo Nordisk, and Sanofi formed one-on-one
                          enterprises with each of the largest PBMs—CVS Health, Express Scripts,
                          and OptumRX—for the purpose of carrying out the spread schemes;

                   xii.   Whether Eli Lilly, Novo Nordisk, and Sanofi engaged in mail or wire
                          fraud in furtherance of the spread schemes;

                  xiii.   Whether Eli Lilly’s, Novo Nordisk’s, and Sanofi’s conduct violated
                          RICO;

                  xiv.    Whether Eli Lilly, Novo Nordisk, and Sanofi are liable to plaintiffs and
                          class members for damages for conduct actionable under the various state
                          consumer protection statutes; and

                   xv.    Whether Eli Lilly, Novo Nordisk, and Sanofi are liable to plaintiffs and
                          the class members for damages flowing from their misconduct.

          377.    Plaintiffs and members of the class have all suffered, and will continue to suffer,

   harm and damages as a result of the defendants’ unlawful and wrongful conduct. A class action

   is superior to other available methods for the fair and efficient adjudication of this controversy

   under Rule 23(b)(3). Such treatment will permit a large number of similarly-situated persons to

   prosecute their common claims in a single forum simultaneously, efficiently, and without the

   unnecessary duplication of evidence, effort, or expense that numerous individual actions would

   engender. The benefits of proceeding through the class mechanism, including providing injured

   persons or entities a method for obtaining redress on claims that could not practicably be pursued

   individually, substantially outweighs potential difficulties in management of this class action.

   Absent a class action, most members of the class likely would find the cost of litigating their

   claims to be prohibitive, and will have no effective remedy at law. The class treatment of

   common questions of law and fact is also superior to multiple individual actions or piecemeal

   litigation in that it conserves the resources of the courts and the litigants and promotes

   consistency and efficiency of adjudication. Additionally, defendants have acted and failed to act

   on grounds generally applicable to plaintiffs and the class and require court imposition of



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   uniform relief to ensure compatible standards of conduct toward the class, thereby making

   appropriate equitable relief to the class as a whole within the meaning of Rules 23(b)(1) and

   (b)(2).

             378.   Plaintiffs know of no special difficulty to be encountered in the maintenance of

   this action that would preclude its maintenance as a class action.

                                     VIII. CLAIMS FOR RELIEF

                                               COUNT ONE

                          VIOLATIONS OF RICO, 18 U.S.C. § 1962(C)
                     (AGAINST ELI LILLY, NOVO NORDISK, AND SANOFI)

             379.   Plaintiffs, on behalf of themselves and all others similarly situated, re-allege and

   incorporate herein by reference each of the allegations contained in the preceding paragraphs of

   this amended complaint.

             380.   Under 18 U.S.C. § 1961(4), a RICO “enterprise” may be an association-in-fact

   that, although it has no formal legal structure, has (i) a common purpose, (ii) relationships among

   those associated with the enterprise, and (iii) longevity sufficient to pursue the enterprise’s

   purpose.

    A.       Eli Lilly, Novo Nordisk, and Sanofi are culpable “persons” under RICO.

             381.   This count, which alleges violations of Section 1962(c) of RICO, 18 U.S.C.

   § 1962(c), is asserted against Eli Lilly, Novo Nordisk, and Sanofi, as identified below, on behalf

   of the plaintiffs and class members as represented by the named plaintiffs.

             382.   Plaintiffs, the members of class, and Eli Lilly, Novo Nordisk, and Sanofi are each

   “persons,” as that term is defined in 18 U.S.C. § 1961(3).

             383.   The following pharmacy benefit managers are each “persons,” as that term is

   defined in 18 U.S.C. § 1961(3): (a) CVS Health Corporation (CVS), a Delaware corporation with



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   its principal place of business located at One CVS Drive, Woonsocket, Rhode Island, 02895, is

   one of the largest PBMs in the United States and provides comprehensive prescription benefit

   management services to over 2,000 health plans, covering 65 million lives; (b) Express Scripts,

   Inc. (Express Scripts), a Delaware corporation with its principal place of business located at 1

   Express Way, St. Louis, Missouri, 63121, is one of the largest PBMs in the United States and

   covers 79 million lives; and (c) OptumRx, Inc. (OptumRx), a California Corporation with its

   principal place of business located at 2300 Main St., Irvine, California, 92614 , is one of the

   largest PBMs in the United States and covers 65 million lives.

    B.     The Manufacturer-PBM Insulin Pricing RICO Enterprises

          384.    For purposes of this claim, the RICO “enterprises” are associations-in-fact

   consisting of (a) one of the three largest PBMs—CVS, Express Scripts, or OptumRx—that

   administers purchases of the Defendant Drug Manufacturers’ analog insulins (Eli Lilly’s

   Humalog and Basaglar, Novo Nordisk’s Fiasp, Levemir, Novolog, and Tresiba, and Sanofi’s

   Apidra, Lantus, and Toujeo), and (b) one of the Defendant Drug Manufacturers, including its

   directors, employees, and agents. These associations-in-fact enterprises are collectively referred

   to herein as the “Manufacturer-PBM Insulin Pricing Enterprises.”

          385.    Each of the Manufacturer-PBM Insulin Pricing Enterprises is an ongoing and

   continuing business organization consisting of both corporations and individuals that are and

   have been associated for the common and/or shared purposes of selling, purchasing, and

   administering the analog insulins to individual plaintiffs and class members and deriving secret

   profits from these activities (the spread scheme). These profits are greater than either the

   Defendant Drug Manufacturers or the PBMs could obtain absent their fraudulent concealment of

   the substantial rebates from Defendant Drug Manufacturers to PBMs.




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          386.    To accomplish this common purpose, the Defendant Drug Manufacturers

   periodically and systematically inflate the benchmark prices of the analog insulins. They did so

   willfully, and with knowledge that class members make payments directly based on the

   manufacturers’ benchmark price. The Manufacturer-PBM Insulin Pricing Enterprises then

   represented—either affirmatively or through half-truths and omissions—to the general public

   and consumers, including plaintiffs and the class, that the analog insulin benchmark prices are a

   reasonable approximation of the actual cost of these medicines. The Manufacturer-PBM Insulin

   Pricing Enterprises conceal from the general public and consumers, like the plaintiffs and class

   members, the reality that the net prices offered to PBMs in exchange for preferred formulary

   positions are exponentially lower.

          387.    It is this scheme that is fraudulent. The Defendant Drug Manufacturers’

   benchmark prices are no longer a reasonable approximation of the actual price of insulin, and the

   Manufacturer-PBM Insulin Pricing Enterprises concealed the magnitude of the spreads between

   benchmark prices and net prices from the plaintiffs and the class. The Manufacturer-PBM Insulin

   Pricing Enterprises also concealed from the public the purpose of these spreads: the spreads

   ultimately result in higher profits for the drug manufacturers, through ensuring formulary access

   without requiring significant price reductions; and they result in higher profits for the PBMs,

   whose earnings increase as the spread between benchmark and real prices grows.

          388.    Each Manufacturer-PBM Enterprise also shares a common purpose of

   perpetuating use of insulin benchmark prices as the basis for consumer cost-sharing and out-of-

   pocket payments in the pharmaceutical industry. With respect to the Defendant Drug

   Manufacturers, these corporations would not be able to market large spreads to PBMs in

   exchange for favorable formulary positions without the use of the inflated benchmark prices as




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   the basis for consumer cost-sharing and out-of-pocket payments in the pharmaceutical industry.

   The PBMs share this common purpose because, without the use of the inflated benchmark prices,

   their profits on the spread between benchmark and net prices would collapse. As a result, PBMs

   have, with the knowing and willful participation and assistance of the drug manufacturers,

   engaged in hidden profit-making schemes falling into three general categories: (i) garnering

   rebates and other “soft dollars” from drug manufacturers that the PBMs, to a large extent, keep;

   (ii) pocketing secret spreads between net and benchmark analog insulin prices; and (iii) keeping

   secret discounts the drug manufacturers provide in association with the PBMs’ mail order

   operations.

          389.    Each of the Manufacturer-PBM Insulin Pricing Enterprises has a systemic linkage

   because there are contractual relationships, financial ties, and continuing coordination of

   activities between each Defendant Drug Manufacturer and each PBM that is an associate. As to

   each of the Manufacturer-PBM Insulin Pricing Enterprises, there is a common communication

   network by which each Defendant Drug Manufacturer and each PBM share information on a

   regular basis, including information regarding the analog insulin benchmark prices and net

   prices. As to each of the Manufacturer-PBM Insulin Pricing Enterprises, each Defendant Drug

   Manufacturer and each PBM functioned as a continuing unit. At all relevant times, each of the

   Manufacturer-PBM Insulin Pricing Enterprises was operated by the specific Defendant Drug

   Manufacturer for criminal purposes, namely, carrying out the spread scheme.

          390.    At all relevant times, the PBMs have been aware of the Manufacturer-PBM

   Insulin Pricing Enterprises’ conduct, have been knowing and willing participants in that conduct,

   and have reaped profits from that conduct. The PBMs strike rebate deals with the Defendant

   Drug Manufacturers to conceal the true net prices of the analog insulins and profit from the




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   inflated benchmark prices. The PBMs have represented to the public that the rebates they

   negotiate save health care payers and their plan members (including plaintiffs and members of

   the class) money on their prescription needs. But they have known that the increasing spreads did

   not and do not actually decrease the net prices of the analog insulins: the benchmark prices were

   and are falsely inflated while the net prices have remained, more or less, constant. But for the

   Manufacturer-PBM Insulin Pricing Enterprises’ common purpose of enlarging the hidden

   spreads between net and benchmark price, the PBMs would have had the incentive to disclose

   the fraudulence of the Defendant Manufacturers’ benchmark prices. By failing to disclose this

   information, the PBMs and Defendant Drug Manufacturers perpetuated the conduct of the

   Manufacturer-PBM Insulin Pricing Enterprises.

          391.    Further, the PBMs took instructions and commands from the Defendant Drug

   Manufacturers regarding use of the analog insulin benchmark prices, not only so that they could

   keep part of the spread, but also so as to continue to earn from the manufacturers: (i) access

   rebates for placement of products on their formulary; (ii) market share rebates for garnering

   higher market share than established targets; (iii) administrative fees for assembling data to

   verify market share results; and (iv) other fees and grants in an effort to promote products.

          392.    In order to garner all of these fees from the Defendant Drug Manufacturers, each

   PBM and each Defendant Drug Manufacturer meet on a regular basis to discuss analog insulin

   prices, spreads, marketing opportunities, and coordination of all of the above.

          393.    There is a common communication network between each PBM and each

   manufacturer for the purpose of implementing the rebate scheme and for the exchange of

   financial rewards for the PBM activities that benefit the Defendant Drug Manufacturers.




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          394.    At all relevant times, each one of the PBMs was aware of the Defendants Drug

   Manufacturers’ spread scheme, was a knowing and willing participant in that scheme, and reaped

   profits from that scheme.

          395.    For purposes of this count, the Manufacturer-PBM Insulin Pricing Enterprises are

   further identified as follows:

          1.      The Eli Lilly-PBM Enterprises

          396.    The Eli Lilly-PBM Enterprises are three separate associations-in-fact consisting

   of each of the PBMs that administers purchases of Eli Lilly’s Humalog and Basaglar, including

   its directors, employees, and agents, and Eli Lilly, including its directors, employees and agents:

   (1) the Eli Lilly-CVS association-in-fact enterprise; (2) the Eli Lilly-Express Scripts association-

   in-fact enterprise; and (3) the Eli Lilly-OptumRx association-in-fact enterprise. Each of the Eli

   Lilly-PBM Enterprises is an ongoing and continuing business organization consisting of both

   corporations and individuals that are and have been associated for the common or shared

   purposes of exchanges kickbacks or “rebates” for preferred formulary positions for Eli Lilly’s

   rapid-acting analog insulin product, Humalog, and it’s long-acting analog insulin product,

   Basaglar, as treatments for type 1 and 2 diabetes to the exclusion of competitor products. Each of

   the Eli Lilly-PBM Enterprises has a systemic linkage because there are contractual relationships,

   financial ties, and continuing coordination of activities between Eli Lilly and CVS, Eli Lilly and

   Express Scripts, and Eli Lilly and OptumRx. As to each of these Eli Lilly-PBM Enterprises,

   there is a common communication network by which Eli Lilly and CVS, Eli Lilly and Express

   Scripts, and Eli Lilly and OptumRx share information on a regular basis. As to each of these Eli

   Lilly-PBM Enterprises, Eli Lilly and CVS, Eli Lilly and Express Scripts, and Eli Lilly and

   OptumRx function as continuing but separate units. At all relevant times, each of the Eli Lilly-




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   PBM Enterprises was operated and conducted by Eli Lilly for criminal purposes, namely,

   carrying out the spread scheme.

          2.      The Novo Nordisk-PBM Insulin Pricing Enterprises

          397.    The Novo Nordisk-PBM Insulin Pricing Enterprises are three separate

   associations-in-fact consisting of each of the PBMs that administered purchases of Novo

   Nordisk’s Fiasp, Novolog, Levemir, and Tresiba including its directors, employees, and agents,

   and Novo Nordisk, including its directors, employees and agents: (1) the Novo Nordisk-CVS

   association-in-fact enterprise; (2) the Novo Nordisk-Express Scripts association-in-fact

   enterprise; and (3) the Novo Nordisk-OptumRx association-in-fact enterprise. Each of the Novo

   Nordisk-PBM Insulin Pricing Enterprises is an ongoing and continuing business organization

   consisting of both corporations and individuals that are and have been associated for the common

   or shared purposes of exchanges kickbacks or “rebates” for preferred formulary positions for

   Novo Nordisk’s long-acting analog insulin products, Levemir and Tresiba, and its rapid-acting

   analog insulin products, Fiasp and Novolog, as treatments for type 1 and 2 diabetes to the

   exclusion of competitor products. Each of the Novo Nordisk-PBM Insulin Pricing Enterprises

   has a systemic linkage because there are contractual relationships, financial ties, and continuing

   coordination of activities between Novo Nordisk and CVS, Novo Nordisk and Express Scripts,

   and Novo Nordisk and OptumRx. As to each of these Novo Nordisk-PBM Insulin Pricing

   Enterprises, there is a common communication network by which Novo Nordisk and CVS, Novo

   Nordisk and Express Scripts, and Novo Nordisk and OptumRx share information on a regular

   basis. As to each of these Novo Nordisk-PBM Insulin Pricing Enterprises, Novo Nordisk and

   CVS, Novo Nordisk and Express Scripts, and Novo Nordisk and OptumRx function as

   continuing but separate units. At all relevant times, each of the Novo Nordisk-PBM Insulin




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   Pricing Enterprises was operated and conducted by Novo Nordisk for criminal purposes, namely,

   carrying out the spread scheme.

          3.      The Sanofi-PBM Insulin Pricing Enterprises

          398.    The Sanofi-PBM Insulin Pricing Enterprises are three separate associations-in-

   fact consisting of each of the PBMs that administered purchases of Sanofi’s Apidra, Lantus, and

   Toujeo, including its directors, employees, and agents, and Sanofi, including its directors,

   employees and agents: (1) the Sanofi-CVS association-in-fact enterprise; (2) the Sanofi-Express

   Scripts association-in-fact enterprise; and (3) the Sanofi-OptumRx association-in-fact enterprise.

   Each of the Sanofi-PBM Insulin Pricing Enterprises is an ongoing and continuing business

   organization consisting of both corporations and individuals that are and have been associated

   for the common or shared purposes of exchanges kickbacks or “rebates” for preferred formulary

   positions for Sanofi’s long-acting analog insulin products, Lantus and Toujeo, and its rapid-

   acting analog insulin product, Apidra, as treatments for type 1 and 2 diabetes to the exclusion of

   competitor products. Each of the Sanofi-PBM Insulin Pricing Enterprises has a systemic linkage

   because there are contractual relationships, financial ties, and continuing coordination of

   activities between Sanofi and CVS, Sanofi and Express Scripts, and Sanofi and OptumRx. As to

   each of these Sanofi-PBM Insulin Pricing Enterprises, there is a common communication

   network by which Sanofi and CVS, Sanofi and Express Scripts, and Sanofi and OptumRx share

   information on a regular basis. As to each of these Sanofi-PBM Insulin Pricing Enterprises,

   Sanofi and CVS, Sanofi and Express Scripts, and Sanofi and OptumRx function as continuing

   but separate units. At all relevant times, each of the Sanofi-PBM Insulin Pricing Enterprises was

   operated and conducted by Sanofi for criminal purposes, namely, carrying out the spread

   scheme.




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           399.   The Manufacturer-PBM Insulin Pricing Enterprises (Eli Lilly-CVS, Eli Lilly-

   Express Scripts, Eli Lilly-OptumRx, Novo Nordisk-CVS, Novo Nordisk-Express Scripts, Novo-

   Nordisk-OptumRx, Sanofi-CVS, Sanofi-Express Scripts, and Sanofi-OptumRx) knowingly made

   material misrepresentations to class members in furtherance of the fraudulent scheme regarding:

                  a.         The net prices of the analog insulins; 35

                  b.         The extent to which the net prices of the analog insulins departed from

           their artificially-inflated benchmark prices;

                  c.         That the analog insulins’ benchmark prices served as a reasonable cost-

           sharing benchmark and that this benchmark price was a fair basis on which to base

           consumer out-of-pocket payments;

                  d.         The extent to which the Defendant Drug Manufacturers and the PBMs

           negotiated the rebates discounting the benchmark prices of the analog insulins in good

           faith and for a proper purpose;

                  e.         Whether the rebates were intended to benefit plan members and/or the

           general public;

                  f.         Whether the rebates saved plan members and the general public money;

                  g.         Whether the “preferred” formulary status of the analog insulins reflects the

           drugs’ safety, efficacy, or cost-effectiveness, as determined by the PBMs’ formulary

           committees;




      35
         The Eli Lilly-PBM Enterprises made these misrepresentations with respect to Humalog
   and Basaglar. The Novo Nordisk-PBM Insulin Pricing Enterprises made these representations
   with respect to Fiasp, Novolog, Levemir, and Tresiba. The Sanofi-PBM Enterprises made these
   misrepresentations with respect to Apidra, Lantus, and Toujeo. All references to “analog
   insulins” refer to the specific insulins relevant to each manufacturer PBM enterprise.


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                  h.      Whether the analog insulins would have been placed in “preferred”

          formulary positions absent the spreads; and

                  f.      The extent to which the spread schemes forced plaintiffs and the class

          members to incur additional expenses for their analog insulin prescriptions.

          400.    The Defendant Drug Manufacturers alone could not have accomplished the

   purposes of the Manufacturer-PBM Insulin Pricing Enterprises without the assistance of the

   PBMs. For the Defendant Drug Manufacturers to profit from the scheme, the PBMs needed to

   convince health care payers and plan sponsors to select their formularies, on which varying

   analog insulins were given favorable treatment. And the PBMs did so through

   misrepresentations: they told clients, potential clients, and investors that they secured lower

   prices. The lower prices were fictitious, the result of a deliberate scheme to create large spreads

   without lowering net prices. Without these misrepresentations, the Manufacturer-PBM

   Enterprise could not have achieved its common purpose.

          401.    The impacts of the Manufacturer-PBM Insulin Pricing Enterprises are still in

   place, i.e., the increased spreads between the benchmark and net prices of the analog insulins are

   still being maintained and increased.

          402.    The foregoing evidences that the Defendant Drug Manufacturers and PBMs were

   each willing participants in the Manufacturer-PBM Insulin Pricing Enterprises, had a common

   fraudulent purpose and interest in the objective of the scheme, and functioned within a structure

   designed to effectuate the Enterprises’ purposes, i.e., to increase profits for both the Defendant

   Drug Manufacturers and the PBMs through kickbacks to the PBMs and continued formulary

   status without net price reductions for the Defendant Drug Manufacturers.




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    C.     The Defendant Drug Manufacturers’ use of the U.S. mails and interstate wire
           facilities

          403.    Each of the Manufacturer-PBM Insulin Pricing Enterprises engaged in and

   affected interstate commerce because they engage in the following activities across state

   boundaries: the sale, purchase and/or administration of the analog insulins; the setting of the

   prices of the analog insulins; and/or the transmission and/or receipt of sales and marketing

   literature; and/or the transmission to patients of individual prescriptions for the analog insulins

   by mail-order pharmacies; and/or the transmission and/or receipt of invoices, statements, and

   payments related to the use or administration of the analog insulins. During the class period, the

   Manufacturer-PBM Insulin Pricing Enterprises participated in the administration of the analog

   insulins to millions of individuals located throughout the United States.

          404.    During the class period, Eli Lilly, Novo Nordisk, and Sanofi’s illegal conduct and

   wrongful practices were carried out by an array of employees, working across state boundaries,

   who necessarily relied upon frequent transfers of documents and information and products and

   funds through the U.S. mails and interstate wire facilities.

          405.    The nature and pervasiveness of the Defendant Drug Manufacturers’ spread

   scheme, which was orchestrated out of the corporate headquarters of the Defendant Drug

   Manufacturers, necessarily required those headquarters to communicate directly and frequently

   by the U.S. mails and by interstate wire facilities with the PBMs.

          406.    Most of the precise dates of Defendant Drug Manufacturers’ uses of the U.S.

   mails and interstate wire facilities (and corresponding RICO predicate acts of mail and wire

   fraud) have been hidden and cannot be alleged without access to these defendants’ books and

   records. Indeed, an essential part of the successful operation of the spread scheme alleged herein

   depended upon secrecy, and as alleged above. And the Defendant Drug Manufacturers took



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   deliberate steps to conceal their wrongdoing. However, the plaintiffs can generally describe the

   occasions on which the RICO predicate acts of mail fraud and wire fraud occurred, and how

   those acts were in furtherance of the spread scheme.

          407.    The Defendant Drug Manufacturers’ use of the U.S. mails and interstate wire

   facilities to perpetrate the spread scheme involved thousands of communications throughout the

   class period including, inter alia:

                  a.      Marketing materials about the benchmark prices for the analog insulins

          and the available spreads, which Defendant Drug Manufacturers sent to PBMs located

          across the country;

                  b.      Written and oral representations of the analog insulin benchmark prices

          that the Defendant Drug Manufacturers made at least annually and, in many cases,

          several times during a single year;

                  c.      Thousands of written and oral communications discussing, negotiating,

          and confirming the placement of a Defendant Drug Manufacturer’s analog insulin or

          insulins on a particular PBM’s formulary;

                  d.      Written and oral representations regarding information or incentives

          designed to lessen the prices that each of the PBMs paid for the analog insulins, and/or to

          conceal those prices or the spread scheme;

                  e.      Written communications, including checks, relating to rebates, kickbacks,

          or other financial inducements paid to each of the PBMs to persuade them to advocate

          one Defendant Drug Manufacturers’ analog insulin over a competitor’s product;

                  f.      Written and oral communications with U.S. government agencies and

          private insurers that fraudulently misrepresented what the benchmark prices were, or that




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          were intended to deter investigations into the true nature of the benchmark prices or to

          forestall changes to reimbursement based on something other than benchmark prices;

                  g.      Written and oral communications with health insurers and patients;

                  h.      Transmission of benchmark prices from manufacturers to third parties.

                  i.      Receipts of money on tens of thousands of occasions through the U.S.

          mails and interstate wire facilities—the wrongful proceeds of the Defendant Drug

          Manufacturers’ spread scheme; and

                  j.      In addition to the above-referenced RICO predicate acts, Defendants’

          corporate headquarters have communicated through use of the U.S. mails and by

          interstate wire facilities with their various local headquarters or divisions, in furtherance

          of the spread scheme. These mails include some of the documents referenced in this

          Second Amended Complaint.

    D.     Conduct of the RICO Enterprises’ affairs

          408.    During the class period, each of the Defendant Drug Manufacturers has exerted

   control over the Manufacturer-PBM Insulin Pricing Enterprises with which they were associated

   and, in violation of Section 1962(c) of RICO, each of the Defendant Drug Manufacturers have

   conducted or participated in the conduct of the affairs of those association-in-fact RICO

   enterprises, directly or indirectly. Such participation was carried out in the following ways:

                  a.      Each of the Defendant Drug Manufacturers has directly controlled the

          benchmark and net prices for its analog insulins, which determines the amount of each of

          the PBMs’ compensation;

                  b.      Each of the Defendant Drug Manufacturers has directly controlled the

          benchmarks prices that it publicly reports;




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                c.      Each of the Defendant Drug Manufacturers has directly controlled the

         creation and distribution of marketing, sales, and other materials used to inform each of

         the PBMs of the profit potential of its analog insulins;

                d.      Each of the Defendant Drug Manufacturers has relied upon its employees

         and agents to promote the spread scheme through the U.S. mails, through interstate wire

         facilities, and through direct contacts with providers and the PBMs; and

                e.      Each of the Defendant Drug Manufacturers has controlled and participated

         in the affairs of the Manufacturer-PBM Insulin Pricing Enterprises with which it is

         associated by providing rebates (as detailed above) or other inducements to place that

         Defendant Drug Manufacturer’s analog insulin or insulins on a PBM’s formulary or

         advocate the use of a certain analog insulins. These inducements include the Defendant

         Drug Manufacturers’ payment to PBMs of: (i) access rebates for placement of products

         on the PBMs’ formulary; (ii) market share rebates for garnering higher market share than

         established targets; (iii) administrative fees for assembling data to verify market share

         results; and (iv) other fees and grants. Although PBMs typically agree to share rebates in

         some form with clients, they link the rebates to formulary savings in such a manner that

         the PBM often is able to retain a significant portion of the rebates. Furthermore, PBMs

         usually refuse to disclose specific rebate amounts to clients in any fashion other than in

         the aggregate compared to performance standards, thereby preventing the client from

         learning the true number of rebates that the PBM has received in connection with the

         health plan client.

                f.      The Defendant Drug Manufacturers intended that the PBMs would (and

         did) distribute, through the U.S. mail and interstate wire facilities, promotional and other




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          materials which claimed that rebates saved health care payers and consumers like the

          plaintiffs and class members money on their prescription needs; and

                  g.      The Defendant Drug Manufacturers represented to the general public, by

          stating the analog insulins’ benchmark prices without stating that these benchmark prices

          differed substantially from those net prices offered to the PBMs, that the analog insulins’

          benchmark prices reflected or approximated analog insulins’ true price.

          409.    Each of the Manufacturer-PBM Insulin Pricing Enterprises identified above had a

   hierarchical decision-making structure headed by the respective Defendant Drug Manufacturer.

          410.    In violation of Section 1962(c) of RICO, each of the Defendant Drug

   Manufacturers has conducted the affairs of each of the Manufacturer-PBM Insulin Pricing

   Enterprises with which they associated by reporting fraudulently inflated benchmark prices for

   the analog insulins and by misrepresenting to plaintiffs and class members through the

   publication of their benchmark prices that these benchmark prices were reasonable bases for

   plaintiff and class member out-of-pocket payments, thereby inducing plaintiffs and class

   members to pay inflated amounts for the analog insulins.

    E.     The Defendant Drug Manufacturers’ pattern of racketeering activity

          411.    Each of the Defendant Drug Manufacturers has conducted and participated in the

   affairs of their respective Manufacturer-PBM Insulin Pricing Enterprises through a pattern of

   racketeering activity, including acts that are indictable under 18 U.S.C. § 1341, relating to mail

   fraud, and 18 U.S.C. § 1343, relating to wire fraud. The Defendant Drug Manufacturers’ pattern

   of racketeering likely involved thousands, if not hundreds of thousands, of separate instances of

   use of the U.S. mails or interstate wire facilities in furtherance of their spread schemes. Each of

   these fraudulent mailings and interstate wire transmissions constitutes a “racketeering activity”

   within the meaning of 18 U.S.C. § 1961(1)(B). Collectively, these violations constitute a “pattern


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   of racketeering activity,” within the meaning of 18 U.S.C. § 1961(5), in which the Defendant

   Drug Manufacturers intended to defraud plaintiffs, members of the class, and other intended

   victims of the spread scheme.

          412.    Each Defendant Drug Manufacturer’s fraudulent and unlawful spread scheme

   consisted, in part, of deliberately overstating the benchmark prices for its analog insulins, thereby

   creating a spread between net and benchmark prices. Each Defendant Drug Manufacturers then

   used those spreads to induce each of the PBMs to advocate and favor that particular Defendant

   Drug Manufacturer’s drugs.

          413.    The spread scheme was calculated and crafted such that plaintiffs and members of

   the class would pay for the analog insulins based on the artificially inflated, benchmark prices. In

   designing and implementing the spread scheme, the Defendant Drug Manufacturers were

   cognizant, at all times, of the fact those plaintiffs and class members were not part of the

   enterprise and relied upon the integrity of the Defendant Drug Manufacturers in setting the

   benchmark prices.

          414.    By intentionally and artificially inflating the benchmark prices, and by

   subsequently failing to disclose such practices to the plaintiffs and class members, each of the

   Defendant Drug Manufacturers engaged in a fraudulent and unlawful course of conduct

   constituting a pattern of racketeering activity.

          415.    The Defendant Drug Manufacturers’ racketeering activities amounted to a

   common course of conduct, with similar patterns and purposes, intended to deceive plaintiffs and

   members of the class. Each separate use of the U.S. mails and/or interstate wire facilities

   employed by each of the Defendant Drug Manufacturers was related, had similar intended

   purposes, involved similar participants and methods of execution, and had the same results




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   affecting the same victims, including plaintiffs and members of the class. Each of the Defendant

   Drug Manufacturers has engaged in the pattern of racketeering activity for the purpose of

   conducting the ongoing business affairs of the respective Manufacturer-PBM Insulin Pricing

   Enterprises with which each of them is and was associated in fact.

          416.    The Defendant Drug Manufacturers’ conduct is also unfair, deceptive, and

   unlawful because it violates the Federal Anti-Kickback statutes.

          417.    The Anti-Kickback Statute prohibits knowing and willful solicitation, receipt,

   offer, or payment of remuneration to induce the purchase of any item or service for which

   payment may be made in whole or in part under a Federal health care program. 42 U.S.C.

   § 1320a-7b(b). Pharmaceutical manufacturers may be liable under the anti-kickback statute if

   they offer to induce the purchase of drugs paid for by Medicare Part D or any other Federal

   health care program. “Federal health care program” is defined in the anti-kickback statute as “(1)

   any plan or program that provides health benefits, whether directly, through insurance, or

   otherwise, which is funded directly, in whole or in part, by the United States Government (other

   than the health insurance program under Chapter 89 of Title 5); or (2) any State health care

   program, as defined in section § 1320a-7(h) of this title.” 42 U.S.C. § 1320a-7b(f).

          418.    The purported “discounts” or “rebates” afforded by the PBMs to the

   manufacturers do not fall within the (h) safe harbor. First, they are neither “discounts” or

   “rebates” alone, as they are accompanied by the quid pro quo of getting preferred formulary

   treatment. Second, the “discounts” or “rebates” do not reduce the manufacturer’s net selling

   price—to the extent that the manufacturer has increased the benchmark price to make up for an

   increased “rebate,” all that it has done is created a widened spread from which the PBM can

   make more money. This is a classic kickback.




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    F.     The Defendant Drug Manufacturers’ motive

          419.    The Defendant Drug Manufacturers’ motive in creating and operating the spread

   scheme and conducting the affairs of the Manufacturer-PBM Insulin Pricing Enterprises

   described herein was to fraudulently obtain sales of and profits from their analog insulins.

          420.    The spread scheme was designed to, and did, encourage others, including health

   care providers, to advocate the use of the Defendant Drug Manufacturers’ analog insulins. Thus,

   each of the Defendant Drug Manufacturers used the spread scheme to sell more of its drugs,

   thereby fraudulently gaining sales, marketplace share, and profits.

    G.     Damages caused by the Defendant Drug Manufacturers’ rebate scheme

          421.    The Defendant Drug Manufacturers’ violations of federal law and their pattern of

   racketeering activity have directly and proximately caused the plaintiffs and members of the

   class to be injured in their business or property. The plaintiffs and class members have overpaid

   many hundreds of millions of dollars based on the defendants’ fictitious benchmark prices for

   their analog insulins. Each defendant intended and foresaw that the plaintiffs and class members

   would make such payments tied directly to the defendants’ benchmark prices.

          422.    The Defendant Drug Manufacturers sent billing statements through the U.S. mails

   or by interstate wire facilities and reported the benchmark prices and other information by the

   same methods in furtherance of their spread scheme. The plaintiffs and members of the class

   have made inflated payments for the analog insulins based on and/or in reliance on reported and

   false benchmark prices.

          423.    As previously explained, when a plaintiff or class member fills a prescription for

   one of the analog insulins, she is responsible for paying all or a portion of the medication’s cost.

   If the plaintiff or class member is uninsured, she must pay 100% of the drugs’ point-of-sale

   prices, which are directly tied to the Defendant Drug Manufacturers’ benchmark prices. If the


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   plaintiff or class member has a high deductible health plan, she must pay 100% of the drugs’

   point-of-sale prices, which are directly tied the Defendant Drug Manufacturers’ benchmark

   prices, until she satisfies her deductible. If the plaintiff’s or class member’s health plan contains

   a coinsurance requirement, she is responsible for paying a percentage of her drugs’ point-of-sale

   prices, which are directly tied the Defendant Drug Manufacturers’ benchmark prices. And if the

   plaintiff or class member is a member of a Medicare Part D plan, she is responsible for paying all

   or a portion of her drugs’ point-of-sale prices based directly on the Defendant Drug

   Manufacturers’ benchmark prices, until she reaches her maximum contribution.

           424.    The amount of each of these cash payments is tied directly to the Defendant Drug

   Manufacturers’ benchmark prices. No other intermediary in the supply chain has control over or

   is responsible for the benchmark prices on which consumer payments are based. By setting the

   benchmark prices of the analog insulins, the defendants are setting the prices plaintiffs and class

   members must pay. Therefore, when each Defendant Drug Manufacturer artificially inflates each

   analog insulin’s benchmark price and then uses each Manufacturer-PBM Insulin Pricing

   Enterprises to sell those analog insulins, they also artificially inflate plaintiffs’ and class

   members’ out-of-pocket expenses.

           425.    The plaintiffs’ and class members’ damages are therefore the difference between

   the defendants’ reported benchmark prices and the net prices at which they sell their analog

   insulins for all plaintiff and class member out-of-pocket payments.

           426.    Plaintiffs’ injuries, and those of the class members, were proximately caused by

   the Defendant Drug Manufacturers’ racketeering activity. But for the misrepresentations that the

   Defendant Drug Manufacturers made regarding the benchmark prices of their analog insulins and




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   the scheme that the Manufacturer-PBM Insulin Pricing Enterprises employed, plaintiffs and

   others similarly situated would have paid less, out-of-pocket, for their analog insulins.

           427.    The Defendant Drug Manufacturers racketeering activity directly and proximately

   caused the plaintiffs’ injuries.

           428.    The plaintiffs and class members were both: (i) the participants in the marketplace

   that most directly relied on the falsity of the defendants’ inflated benchmark prices, and (ii) the

   participants that were most directly harmed by the fraud. There is no other plaintiff or class of

   plaintiffs better situated to seek a remedy for the economic harms resulting from the Defendant

   Drug Manufacturers’ fraudulent scheme.

                   a.      Wholesalers are not eligible to be plaintiffs for this fraud. Although

           wholesalers purchase the physical vials and pens of analog insulin directly from the

           defendants, wholesaler prices are determined on the basis of wholesale acquisition price

           (i.e., WAC) not average wholesale price (i.e., AWP). The defendants’ inflated AWPs

           (used at the point of sale) do not affect wholesaler purchases, and, therefore, the

           wholesalers suffer no damages here. To the extent that the WAC wholesalers paid for the

           analog insulins followed the same unlawful price hikes as AWP, in the circumstances of

           this case, the wholesalers suffered no “injury to business or property” within the meaning

           of the RICO. Wholesalers suffer no damages because the charges they make to their

           customers (other wholesalers or pharmacies) are mathematically and automatically tied to

           the exact same WAC list price. In other words, wholesalers are both charged and

           themselves use to charge others the same unlawfully inflated benchmark price. In

           addition, wholesalers would have bought the exact same insulin products were it not for

           the fraud (i.e., this is not a situation where the wholesaler has been deprived the ability to




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         buy some other product, such as a generic or biosimilar to the brand). As a result, even

         when benchmark prices escalate due to the fraud here, wholesalers buy the same products

         and receive the same (or more) net revenues from the buy-sell transactions than they

         otherwise would. Furthermore, wholesalers typically effectuate “chargebacks” and other

         off-invoice, price reductions that are a part of the secret price concessions that are

         unrevealed to consumers and play a part of the unlawful scheme to widen the gulf

         between benchmark prices and net manufacturer prices. As a result, wholesalers are not

         wholly unaware of secret price concessions the defendant manufacturers provide.

                 b.      Pharmacies are not eligible to be plaintiffs for this fraud. Similar

         observations apply to retail and mail order pharmacies. Like wholesalers, retailers

         purchase the defendants’ products on the basis of WAC, not AWP. Thus, again, the

         inflated benchmark prices used at the point of sale do not affect retailers and they suffer

         no damages here. To the extent that the WAC retailers paid followed the same unlawful

         price hikes as AWP, in the circumstances of this case, the retailers suffered no “injury to

         business or property” within the meaning of the RICO. Retailers suffer no damages

         because the charges they make to their customers (other retailers or plans) are

         mathematically and automatically tied to the exact same WAC list price. In other words,

         retailers are both charged and themselves use to charge others the same unlawfully

         inflated benchmark price. In addition, retailers would have bought the exact same insulin

         products were it not for the fraud (i.e., this is not a situation where the retailer has been

         deprived the ability to buy some other product, such as a generic or biosimilar to the

         brand). As a result, even when benchmark prices escalate due to the fraud here, the

         retailers buy the same products and receive the same (or more) net revenues from the




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         buy-sell transactions than they otherwise would. Furthermore, retailers typically

         effectuate “chargebacks” and other off-invoice, price reductions that are a part of the

         secret price concessions that are unrevealed to consumers and play a part of the unlawful

         scheme to widen the gulf between benchmark prices and net manufacturer prices. As a

         result, retailers are not wholly unaware of secret price concessions the defendant

         manufacturers provide.

                c.      Pharmacy benefit managers are not eligible to be plaintiffs for this fraud.

         PBMs, when undertaking their role as benefit managers, are not in the physical

         distribution chain at all. They are not potential plaintiffs. And to the extent they also run

         mail order operations, they remain ineligible as plaintiffs for all of the reasons stated in

         this and the previous three paragraphs.

                d.      Health benefit providers are not eligible to be plaintiffs for this fraud.

         Similar observations apply to health plans. While health plans do, in fact, initially

         reimburse pharmacies based on the same inflated AWP created by the manufacturers, the

         plans’ payments are entirely distinct from the payments that are made by their insureds

         and by cash-only purchasers. There is no overlap in the impact of the fraud between

         consumer overpayments and the reimbursements made by plans.

                e.      Consumer are the only RICO plaintiffs for this fraud. In contrast to all

         these marketplace participants, consumers are the most effective plaintiffs for this RICO

         fraud. Consumers directly and innocently rely—at the point-of-sale—on the unlawfully

         inflated benchmark prices that the defendants cause to be published. The charges

         consumers pay (coinsurance, cash payments, deductibles payments, etc.) are directly tied

         to the unlawfully inflated benchmarks. The damages incurred by the plaintiffs and class




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           members do not overlap with those of any other marketplace participant. This is not a

           case about how sequential participants in a marketplace pass-on an inflated price from

           one level to another such that, in the end, consumers overpay. Here, whatever

           transactions may or may not happen between manufacturers and wholesalers or

           wholesalers and pharmacies have little to nothing to do with the prices plaintiffs and class

           members pay. It is the defendant manufacturers, through their control over benchmark

           prices, that determine what the plaintiffs and class members pay.

           429.   By virtue of these violations of 18 U.S.C. § 1962(c), under the provisions of

   Section 1964(c) of RICO, the Defendant Drug Manufacturers are jointly and severally liable to

   plaintiffs and members of the class for three times the damages that plaintiffs and class members

   have sustained, plus the costs of bringing this suit, including reasonable attorneys’ fees. 36

           430.   By virtue of these violations of 18 U.S.C. § 1962(c), under the provisions of

   Section 1964(c) of RICO, the plaintiffs and members of the class further seek injunctive relief

   against the defendants for their fraudulent reporting of their AWPs, plus the costs of bringing this

   suit, including reasonable attorneys’ fees. Absent an injunction, the effects of this fraudulent,

   unfair, and unconscionable conduct will continue. With the exception of one plaintiff, all named

   plaintiffs will continue purchasing the defendants’ analog insulin medications for the rest of their

   lives. And the plaintiffs and members of the class will continue to pay based on the defendants’

   fraudulent benchmark prices. In a country where tens of thousands of citizens cannot afford their

   analog insulins, or where the expense of such drugs is a great burden on millions, and there is no



      36
         Plaintiffs assume the Court’s ruling that the indirect purchaser rule bars the plaintiffs’
   claims for damages under RICO will apply equally to the plaintiffs’ Second Amended
   Complaint, as the plaintiffs have not amended their allegations to claim that the plaintiffs
   purchase their analog insulins directly from the Defendant Drug Manufacturers.


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   cure for diabetes, any continuing fraudulent, unfair, and unconscionable conduct is a serious

   matter that calls for injunctive relief as a remedy. Plaintiffs will seek injunctive relief, including

   an injunction against the defendants, to prevent them from reporting benchmark prices that do

   not approximate their true net prices.

                                              COUNT TWO

                         VIOLATIONS OF RICO, 18 U.S.C. § 1962(D)
                      BY CONSPIRING TO VIOLATE 18 U.S.C. § 1962(C)
                    (AGAINST ELI LILLY, NOVO NORDISK, AND SANOFI)

          431.     The plaintiffs incorporate by reference all preceding paragraphs as if fully set

   forth herein.

          432.     This count is against Eli Lilly, Novo Nordisk, and Sanofi.

          433.     Section 1962(d) of RICO provides that it “shall be unlawful for any person to

   conspire to violate any of the provisions of subsection (a), (b) or (c) of this section.”

          434.     The Defendant Drug Manufacturers have violated § 1962(d) by agreeing and

   conspiring to violate 18 U.S.C. § 1962(c). The object of this conspiracy has been and is to

   conduct or participate in, directly or indirectly, the conduct of the affairs of the § 1962(c)

   Manufacturer-PBM Insulin Pricing Enterprises described previously through a pattern of

   racketeering activity.

          435.     As set forth in detail above, the Defendant Drug Manufacturers’ co-conspirators

   have engaged in numerous overt and predicate fraudulent racketeering acts in furtherance of the

   conspiracy. Specifically, the defendants inflated the stated benchmark prices of the analog

   insulins to achieve an unlawful purpose; made false or misleading statements or material

   omissions regarding the net prices of their analog insulins; and made false or misleading

   statements or material omissions regarding the existence and amount of their analog insulins’




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   benchmark-to-net price spread. The truth about the net prices of the analog insulins as

   distinguished from the inflated benchmark prices would be material to a reasonable consumer.

          436.    From the outset, the defendants knew, but did not disclose, that the benchmark

   prices they selected and published for the analog insulins did not reflect the net prices of those

   products. The Defendant Drug Manufacturers knew that the benchmark prices they selected were

   not reasonable approximations of the true market prices of their analog insulins. Yet they held

   out these benchmark prices as reasonable approximations of the true costs of the analog insulins

   and reasonable bases for consumer cost-sharing obligations with respect to these medicines. The

   Defendant Drug Manufacturers substantially inflated the benchmark prices of their analog

   insulins so they could offer larger spreads to the PBMs in exchange for favorable formulary

   positions. The defendants knew, but did not disclose, that the benchmark-to-net price spreads did

   not reduce the prices paid by the plaintiffs and class members who purchased their analog

   insulins based on benchmark price. The Defendant Drug Manufacturers knowingly and

   deliberately misled consumers regarding the pricing of the analog insulins.

          437.    The nature of the above-described Defendant Drug Manufacturers’ co-

   conspirators’ acts, material misrepresentations, and omissions in furtherance of the conspiracy

   gives rise to an inference that they not only agreed to the objective of an 18 U.S.C. § 1962(d)

   violation of RICO by conspiring to violate 18 U.S.C. § 1962(c), but they were aware that their

   ongoing fraudulent and extortionate acts have been and are part of an overall pattern of

   racketeering activity.

          438.    The Defendant Drug Manufacturers have and continue to engage in the

   commission of overt acts, including the following unlawful racketeering predicate acts:

                  a.        Multiple instances of mail fraud in violations of 18 U.S.C. § 1341;




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                   b.      Multiple instances of wire fraud in violations of 18 U.S.C. § 1343;

                   c.      Multiple instances of unlawful activity in violation of 18 U.S.C. § 1952;

            and

                   d.      Multiple instances of bribery in violation of state statutes, including but

            not limited to N.J. Stat. Ann. § 2C:21-10(a).

            439.   The Defendant Drug Manufacturers’ violations of the above federal and state laws

   and the effects thereof detailed above are continuing and will continue. The plaintiffs and

   members of the class have been injured in their property by reason of these violations: the

   plaintiffs and class members have made billions of dollars in payments for the analog insulins

   that they would not have made but for the Defendant Drug Manufacturers’ conspiracy to violate

   18 U.S.C. § 1962(c).

            440.   The Defendant Drug Manufacturers’ racketeering activity directly and

   proximately injured the plaintiffs and members of the class: the plaintiffs and class members

   substantially overpaid for their analog insulins when they paid for these medicines at the point of

   sale based on the defendants’ benchmark prices.

            441.   By virtue of these violations of 18 U.S.C. § 1962(d), the Defendant Drug

   Manufacturers are jointly and severally liable to plaintiffs and the class for three times the

   damages the plaintiffs and class have sustained, plus the cost of this suit, including reasonable

   attorneys’ fees. 37




       37
         Plaintiffs assume the Court’s ruling that the indirect purchaser rule bars the plaintiffs’
   claims for damages under RICO will apply equally to the plaintiffs’ Second Amended
   Complaint, as the plaintiffs have not amended their allegations to claim that the plaintiffs
   purchase their analog insulins directly from the Defendant Drug Manufacturers.


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          442.    By virtue of these violations of 18 U.S.C. § 1962(d), under the provisions of

   Section 1964(d) of RICO, the plaintiffs and members of the class further seek injunctive relief

   against the defendants for their fraudulent reporting of their AWPs, plus the costs of bringing this

   suit, including reasonable attorneys’ fees. Absent an injunction, the effects of this fraudulent,

   unfair, and unconscionable conduct will continue. With the exception of one plaintiff, all named

   plaintiffs will continue purchasing the defendants’ analog insulin medications for the rest of their

   lives. And the plaintiffs and members of the class will continue to pay based on the defendants’

   fraudulent benchmark prices. In a country where tens of thousands of citizens cannot afford their

   analog insulins, or where the expense of such drugs is a great burden on millions, and there is no

   cure for diabetes, any continuing fraudulent, unfair, and unconscionable conduct is a serious

   matter that calls for injunctive relief as a remedy. Plaintiffs will seek injunctive relief, including

   an injunction against the defendant manufacturers to prevent them from reporting list prices that

   do not approximate their true net prices.

                                             COUNT THREE

            VIOLATION OF THE NEW JERSEY CONSUMER FRAUD ACT
                       N.J. STAT. ANN. § 56:8-1, ET SEQ.
       (AGAINST NOVO NORDISK AND SANOFI ON BEHALF OF A NATIONWIDE
                                   CLASS)

          443.    Plaintiffs hereby incorporate by reference the allegations contained in the

   preceding paragraphs.

          444.    This claim is brought by all plaintiffs that have purchased the analog insulins

   made by Novo Nordisk. Novo Nordisk is a corporation with its headquarters in Plainsboro, New

   Jersey. New Jersey “has a powerful incentive to ensure that local merchants deal fairly with




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   citizens of other states and countries” 38 and a “strong interest ‘in regulating its domestic

   businesses and in deterring fraudulent business practices.’” 39 Furthermore, New Jersey has some

   of the “strongest consumer protection laws in the nation.” 40 Therefore, although other states may

   have some interest in protecting their own consumers, that interest is not frustrated by the

   application of New Jersey’s law. “If a strong state policy or interest will [not be] frustrated by the

   failure to apply [that state’s law], it is highly unlikely that that state has any interest whatsoever

   in blanketing that particular issue with its law.” 41

             445.   This claim is further brought by all plaintiffs that have paid for the analog insulins

   made by Sanofi. Sanofi is a corporation with its headquarters in Bridgewater, New Jersey.

             446.   Plaintiffs seek in this Count a nationwide class applying New Jersey law to the

   claims against Novo Nordisk and Sanofi.

             447.   The New Jersey Consumer Fraud Act (NJCFA) makes unlawful “[t]he act, use or

   employment by any person of any unconscionable commercial practice, deception, fraud, false

   pretense, false promise, misrepresentation, or the knowing concealment, suppression or omission

   of any material fact with the intent that others rely upon such concealment, suppression or

   omission, in connection with the sale or advertisement of any merchandise or real estate, or with



       38
         Boyes v. Greenwich Boat Works, 27 F. Supp. 2d 543, 547 (D.N.J. 1998); see generally
   Weinberg v. Sprint Corp., 173 N.J. 233, 249 (2002) (stating that one legislative purpose behind
   creating a private right of action under the NJCFA was to “punish the wrongdoer through the
   award of treble damages”).
       39
          Kalow & Springut LLP v. Commence Corp., No. 07-3442 (JEI/AMD), 2012 WL 6093876,
   at *4 (D.N.J. Dec. 7, 2012) (quoting DalPonte v. Am. Mortg. Express Corp., No. 04-2152, 2006
   WL 2403982 (D.N.J. Aug. 16, 2006)).
       40
            Cox v. Sears Roebuck & Co., 138 N.J. 2, 15 (1994).
       41
         Fu v. Fu, 160 N.J. 108, 122-23 (1999); Kalow, 2012 WL 6093876, at *4 (applying Fu to
   the NJCFA).



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   the subsequent performance of such person as aforesaid, whether or not any person has in fact

   been misled, deceived or damaged thereby . . . .” 42

            448.    Novo Nordisk, Sanofi, and the plaintiffs are “persons” within the meaning of N.J.

   Stat. Ann. § 56:8-1(d).

            449.    Novo Nordisk and Sanofi engaged in “sales” of “merchandise” within the

   meaning of N.J. Stat. Ann. § 56:8-1(c), (d).

            450.    As described above, Novo Nordisk and Sanofi engaged in deceptive business

   practices prohibited by the NJCFA, including artificially inflating the publicly reported

   benchmark prices of their analog insulins; misrepresenting, affirmatively and/or through

   omission, that their benchmark prices were reasonable approximations of the true prices of these

   medicines; concealing and/or misrepresenting the net prices of their analog insulins concealing

   and/or misrepresenting the existence and amount of the benchmark-to-net price spreads for their

   analog insulins, and engaging in other unconscionable, false, misleading or deceptive acts or

   practices in the conduct of trade or commerce. In violation of the NJCFA, these acts and

   omissions constitute “unconscionable commercial practice[s], deception, fraud, false pretense,

   false promise, misrepresentation, or the knowing concealment, suppression or omission of any

   material fact with the intent that others rely upon such concealment, suppression or omission in

   connection with the sale” 43 and pricing of their analog insulins.

            451.    From the outset, Novo Nordisk and Sanofi knew, but did not disclose, that the

   benchmark prices they selected and published for their analog insulins did not reflect the true

   prices of those products. They created substantial spreads between the benchmark and net prices



      42
           N.J. Stat. Ann. § 56:8-2.
      43
           N.J. Stat. Ann. § 56:8-2.


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   of those medications and they knew these spreads resulted in windfalls to the PBMs. Novo

   Nordisk and Sanofi offered these spreads to CVS, Express Scripts, and OptumRx in exchange for

   their agreement to grant exclusive or at least favorable placement on their formularies.

          452.    Novo Nordisk and Sanofi knew, but did not disclose, that the benchmark-to-real

   price spreads injured consumers who paid for all or part of their prescriptions out-of-pocket

   based on benchmark prices. Novo Nordisk and Sanofi knowingly and deliberately misled

   consumers regarding the existence, purpose, and extent of net price reductions off benchmark

   prices. Novo Nordisk and Sanofi knowingly and deliberately misled consumers as to whether the

   benchmark prices were reasonable approximations of the true prices of these medicines and,

   therefore, reasonable bases for consumer cost-sharing obligations.

          453.    By failing to disclose the net prices they offered to PBMs and by actively

   concealing this pricing deceit, Novo Nordisk, and Sanofi engaged in unfair and deceptive

   business practices in violation of the NJCFA. In the course of Novo Nordisk’s and Sanofi’s

   business, they willfully failed to disclose and actively concealed their misrepresentations

   regarding benchmark prices.

          454.    Novo Nordisk and Sanofi intentionally and knowingly misrepresented material

   facts regarding the true prices of their analog insulins with the intent to mislead consumers,

   including plaintiffs.

          455.    Novo Nordisk’s and Sanofi’s conduct is also unfair, deceptive, and unlawful

   because it violates the Federal Anti-Kickback statutes.

          456.    The anti-kickback statute prohibits knowing and willful solicitation, receipt, offer,

   or payment of remuneration to induce the purchase of any item or service for which payment

   may be made in whole or in part under a Federal health care program. 42 U.S.C. § 1320a-7b(b).




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   Pharmaceutical manufacturers may be liable under the anti-kickback statute if they offer to

   induce the purchase of drugs paid for by Medicare Part D or any other Federal health care

   program. “Federal health care program” is defined in the anti-kickback statute as “(1) any plan or

   program that provides health benefits, whether directly, through insurance, or otherwise, which is

   funded directly, in whole or in part, by the United States Government (other than the health

   insurance program under Chapter 89 of Title 5); or (2) any State health care program, as defined

   in section § 1320a-7(h) of this title.” 42 U.S.C. § 1320a-7b(f).

          457.    The purported “discounts” or “rebates” afforded by the PBMs to the

   manufacturers do not fall within the (h) safe harbor. First, they are neither “discounts” nor

   “rebates” alone, as they are accompanied by the quid pro quo of getting preferred formulary

   treatment. Second, the “discounts” or “rebates” do not reduce the manufacturers’ net selling

   prices—to the extent that the manufacturers have increased the benchmark prices to make up for

   an increased “rebate,” all that they have done is created a widened spread from which the PBM

   can make more money. This is a classic kickback.

          458.    Novo Nordisk and Sanofi owed the plaintiffs a duty to disclose the fact that each

   benchmark price did not approximate its true price because each:

                  a.      Possessed exclusive knowledge about the means by which they selected

          the benchmark prices;

                  b.      Knew material, non-public information regarding the existence and

          amount of the spreads between the benchmark and net prices; and

                  c.      Made incomplete representations about the prices of their analog insulins,

          while purposefully withholding material facts from the plaintiffs that contradicted these

          representations.




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             459.    The truth about the actual prices of these medicines, as distinguished from their

   inflated benchmark prices, would be material to a reasonable consumer.

             460.    Novo Nordisk’s and Sanofi’s unfair or deceptive acts or practices were likely to

   and did in fact deceive reasonable consumers, including the plaintiffs.

             461.    Novo Nordisk and Sanofi knew, or should have known, that their conduct violated

   the NJCFA.

             462.    As a direct and proximate result of Novo Nordisk’s and Sanofi’s violations of the

   NJCFA, the plaintiffs and class members have suffered injury-in-fact and/or actual damages. As

   a direct and proximate result of Novo Nordisk’s and Sanofi’s misconduct, all plaintiffs and class

   members incurred damages in the amount of the difference between Novo Nordisk’s and

   Sanofi’s reported benchmark prices and their net prices for their analog insulins.

             463.    This wrongful conduct by Novo Nordisk and Sanofi, coupled with the damages

   the plaintiffs and class members incurred, entitles members of the class to relief under the

   NJCFA. Section 19 of the Act provides a private right of action, with damages automatically

   trebled, to “[a]ny person who suffers any ascertainable loss of moneys or property, real or

   personal, as a result of the use or employment by another person of any method, act, or practice

   declared unlawful under this act . . . .” 44 “In any action under this section the court shall, in

   addition to any other appropriate legal or equitable relief, award threefold the damages sustained

   by any person in interest. In all actions under this section, . . . the court shall also award

   reasonable attorneys’ fees, filing fees and reasonable costs of suit.” 45 Therefore, the plaintiffs are

   entitled to recover legal and/or equitable relief, including an order enjoining unlawful conduct,



       44
            N.J. Stat. Ann. § 56:8-19.
       45
            Id.


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   treble damages, costs, and reasonable attorneys’ fees pursuant to N.J. Stat. Ann. § 56:8-19, and

   any other just and appropriate relief.

                                             COUNT FOUR

            VIOLATION OF THE NEW JERSEY CONSUMER FRAUD ACT
                       N.J. STAT. ANN. § 56:8-1, ET SEQ.
       (AGAINST NOVO NORDISK AND SANOFI ON BEHALF OF A NATIONWIDE
                                   CLASS)

            389.   Plaintiffs hereby incorporate by reference the allegations contained in the

   preceding paragraphs.

            464.   This claim is brought by all plaintiffs that have purchased the analog insulins

   made by Novo Nordisk. Novo Nordisk is a corporation with its headquarters in Plainsboro, New

   Jersey. New Jersey “has a powerful incentive to ensure that local merchants deal fairly with

   citizens of other states and countries” 46 and a “strong interest ‘in regulating its domestic

   businesses and in deterring fraudulent business practices.’” 47 Furthermore, New Jersey has some

   of the “strongest consumer protection laws in the nation.” 48 Therefore, although other states may

   have some interest in protecting their own consumers, that interest is not frustrated by the

   application of New Jersey’s law. “If a strong state policy or interest will [not be] frustrated by the




      46
         Boyes v. Greenwich Boat Works, 27 F. Supp. 2d 543, 547 (D.N.J. 1998); see generally
   Weinberg v. Sprint Corp., 173 N.J. 233, 249 (2002) (stating that one legislative purpose behind
   creating a private right of action under the NJCFA was to “punish the wrongdoer through the
   award of treble damages”).
      47
          Kalow & Springut LLP v. Commence Corp., No. 07-3442 (JEI/AMD), 2012 WL 6093876,
   at *4 (D.N.J. Dec. 7, 2012) (quoting DalPonte v. Am. Mortg. Express Corp., No. 04-2152, 2006
   WL 2403982 (D.N.J. Aug. 16, 2006)).
      48
           Cox v. Sears Roebuck & Co., 138 N.J. 2, 15 (1994).



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   failure to apply [that state’s law], it is highly unlikely that that state has any interest whatsoever

   in blanketing that particular issue with its law.” 49

            465.   This claim is further brought by all plaintiffs that have paid for the analog insulins

   made by Sanofi. Sanofi is a corporation with its headquarters in Bridgewater, New Jersey.

            466.   Plaintiffs seek in this Count a nationwide class applying New Jersey law to the

   claims against Novo Nordisk and Sanofi.

            467.   In addition to prohibiting fraudulent and deceptive conduct, the NJCFA prohibits

   unfair or unconscionable conduct.

            468.   Unconscionability “is an amorphous concept obviously designed to establish a

   broad business ethic. The standard of conduct that the term ‘unconscionable’ implies is a lack of

   good faith, honesty in fact and observance of fair dealing.” 50 Unconscionable practices include

   performance of an agreement, in addition to inducing a purchase. 51 Charging a price far in excess

   of the seller’s costs, combined with taking advantage of an unfair situation, is an unconscionable

   practice contrary to the NJCFA. 52

            469.   As the Third Circuit recently recognized, “unfair” and “unconscionable” business

   practices are “a category of business practices entirely separate from practices that are




       49
         Fu v. Fu, 160 N.J. 108, 122-23 (1999); Kalow, 2012 WL 6093876, at *4 (applying Fu to
   the NJCFA).
       50
          Cox v. Sears Roebuck & Co., 138 N.J. 2, 18 (1994) (quoting Kugler v. Romain, 58 N.J.
   522, 543-44 (1971)).
       51
          Pollitt v. DRS Towing LLC, No. 10-1285 (AET), 2011 WL 1466378, at *7 (D.N.J. April
   18, 2011) (citing New Mea Constr. Corp. v. Harper, 203 N.J. Super. 486, 501 (App. Div. 1985)).
       52
          Kugler v. Romain, 58 N.J. 522, 542-45 (1971); In re Nat’l Credit Mgt. Grp., LLC, 21 F.
   Supp. 2d 424, 452-53 (D.N.J. 1998); In re Fleet, 95 B.R. 319, 336 (E.D. Pa. 1989); Pro v. Hertz
   Equip. Rental, No. 06-cv-03830, 2012 WL 12906183 (D.N.J. June 25, 2012).



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   fraudulent, deceptive, or misleading” prohibited under the NJCFA. 53 The NJCFA “prohibit[s]

   business practices that are ‘unfair’ or ‘unconscionable’ in addition to practices that are

   fraudulent, deceptive, or misleading; these terms are defined separately and differently in the text

   of the statutes and in relevant case law interpreting them.” 54

            470.   As is set forth above, the prices the plaintiffs and class members pay for analog

   insulin, based on their benchmark prices, have been skyrocketing. This overpayment is a result

   of Novo Nordisk’s and Sanofi’s spread scheme, wherein they sell larger benchmark prices, and

   therefore spreads, to the largest PBMs in exchange for preferred formulary positions.

            471.   The analog insulins Novo Nordisk and Sanofi are selling have not changed since

   they entered the marketplace in the 1990s and 2000s. These analog insulins are no more effective

   and provide no more benefit than they did decades ago. Nonetheless, the Novo Nordisk and

   Sanofi have exponentially increased their benchmark prices.

            472.   There is no economic or technological reason why analog insulin would have

   become more expensive to produce during the period outlined above. Indeed, with technological

   advances and economies of scale, the per-unit cost of analog insulin should have gone down

   during the same period that Novo Nordisk and Sanofi were drastically raising prices.

            473.   Novo Nordisk and Sanofi were able to raise the benchmark prices of insulin

   because consumers with diabetes literally have no choice but to purchase and use their prescribed

   analog insulins. If they do not, they will die, and Novo Nordisk and Sanofi know it. Even cutting




      53
           Cottrell v. Alcon Labs., 874 F.3d 154, 165 (3d Cir. 2017).
      54
         Id. (citing Cox v. Sears Roebuck & Co., 647 A.2d 454, 462 (N.J. 1994) (explaining that an
   unconscionable practice can qualify as unlawful under the NJCFA, “even if no person was in fact
   misled or deceived thereby”).


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   back on analog insulins to save money, as is described above, can lead to serious health

   consequences.

             474.    These actions are made all the more unfair and unconscionable by the fact that the

   rate of diabetes is rising in the United States, giving Novo Nordisk, Sanofi, and PBMs more

   people of whom they can take advantage. Moreover, Novo Nordisk and Sanofi know that the

   other has not and will not compete based on real reductions in net price; each prefers to compete

   on inflation of benchmark prices. Even in the absence of collusion, it is in each of Novo

   Nordisk’s and Sanofi’s individual best interest to not compete on net price reductions because

   doing so would lead to a price war which would upset the unconscionable profits earned by all

   three.

             475.    The plaintiffs, on behalf of the class, therefore allege that Novo Nordisk and

   Sanofi, in violation of N.J. Stat. Ann. § 56:8-2, have engaged in an unconscionable commercial

   practice in connection with their sale and pricing of the analog insulins.

             476.    The plaintiffs and other class members have suffered ascertainable losses as a

   result of the defendants’ unfair and unconscionable act complained of herein. Under N.J. Stat.

   Ann. § 56:8-19, they are entitled to relief in the amount of Novo Nordisk’s and Sanofi’s

   overcharges: the difference between the benchmark prices for their analog insulins and a

   reasonable approximation of their net prices. Section 19 of the Act provides a private right of

   action, with damages automatically trebled, to “[a]ny person who suffers any ascertainable loss

   of moneys or property, real or personal, as a result of the use or employment by another person

   of any method, act, or practice declared unlawful under this act . . . .” 55 Furthermore, “In any

   action under this section the court shall, in addition to any other appropriate legal or equitable


       55
            N.J. Stat. Ann. § 56:8-19.


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   relief, award threefold the damages sustained by any person in interest. In all actions under this

   section, . . . the court shall also award reasonable attorneys’ fees, filing fees and reasonable costs

   of suit.” 56 Therefore, the plaintiffs are entitled to recover legal and/or equitable relief, including

   an order enjoining unlawful conduct, treble damages, costs, and reasonable attorneys’ fees

   pursuant to N.J. Stat. Ann. § 56:8-19, and any other just and appropriate relief.

                          FACTUAL ALLEGATIONS RELEVANT TO
                                  COUNTS 5 THROUGH 49
                     (AGAINST ELI LILLY, NOVO NORDISK, AND SANOFI)

             477.   The plaintiffs hereby incorporate by reference the allegations contained in the

   preceding paragraphs.

             478.   In addition to violating RICO, the Defendant Drug Manufacturers’ conduct set

   forth above constitutes unfair competition or unfair, unconscionable, deceptive, and/or fraudulent

   acts or practices in violation of various states’ consumer protection statutes.

             479.   As described above, through the Manufacturer-PBM Insulin Pricing Enterprises,

   the defendants engaged in unfair, unconscionable, and deceptive business practices prohibited by

   state consumer protection laws including: inflating the stated benchmark prices of the analog

   insulins to achieve an unlawful purpose; making false or misleading statements or material

   omissions regarding the net prices of the analog insulins; making false or misleading statements

   or material omissions regarding the existence and amount of the analog insulins’ benchmark-to-

   net price spread; and engaging in other unconscionable, false, misleading, or deceptive acts or

   practices in the conduct of trade or commerce. The truth about the net prices of the analog

   insulins as distinguished from the inflated benchmark prices would be material to a reasonable

   consumer.


       56
            Id.


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           480.   The Defendant Drug Manufacturers also engaged in unlawful trade practices by

   employing deception, deceptive acts or practices, fraud, unfair practices, misrepresentations, or

   concealment, suppression, or omission of material facts with the intent that others rely on such

   concealment, suppression, or omission in connection with the pricing and sale of the analog

   insulins.

           481.   From the outset, the defendants knew, but did not disclose, that the benchmark

   prices they selected and published for the analog insulins did not reflect the net prices of those

   products. The Defendant Drug Manufacturers knew that the benchmark prices they selected were

   not reasonable approximations of the true market prices of their analog insulins. Yet they held

   out these benchmark prices as reasonable approximations of the true costs of the analog insulins

   and reasonable bases for consumer cost-sharing obligations with respect to these medicines. The

   Defendant Drug Manufacturers substantially inflated the benchmark prices of their analog

   insulins so they could offer larger spreads to the PBMs in exchange for favorable formulary

   positions. The defendants knew, but did not disclose, that the benchmark-to-net price spreads did

   not reduce the prices paid by the plaintiffs and class members who purchased their analog

   insulins based on benchmark price. The Defendant Drug Manufacturers knowingly and

   deliberately misled consumers regarding the pricing of the analog insulins.

           482.   Furthermore, as is set forth above, the prices the plaintiffs and class members pay

   for analog insulin, based on their benchmark prices, have been skyrocketing. The analog insulins

   the Defendant Drug Manufacturers are selling have not changed since they entered the

   marketplace in the 1990s and 2000s. These analog insulins are no more effective and provide no

   more benefit than they did decades ago. Nonetheless, the Defendant Drug Manufacturers have

   exponentially increased their benchmark prices.




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          483.    There is no economic or technological reason why analog insulin would have

   become more expensive to produce during the period outlined above. Indeed, with technological

   advances and economies of scale, the per-unit cost of analog insulin should have gone down

   during the same period that the Defendant Drug Manufacturers were drastically raising prices.

          484.    The Defendant Drug Manufacturers were able to raise the benchmark prices of

   insulin because consumers with diabetes literally have no choice but to purchase and use their

   prescribed analog insulins. If they do not, they will die, and the Defendant Drug Manufacturers

   know it. Even cutting back on analog insulins to save money, as is described above, can lead to

   serious health consequences.

          485.    The Defendant Drug Manufacturers’ conduct is also unfair, deceptive, and

   unlawful because it violates the Federal Anti-Kickback statutes.

          486.    The anti-kickback statute prohibits knowing and willful solicitation, receipt, offer,

   or payment of remuneration to induce the purchase of any item or service for which payment

   may be made in whole or in part under a Federal health care program. 42 U.S.C. § 1320a-7b(b).

   Pharmaceutical manufacturers may be liable under the anti-kickback statute if they offer to

   induce the purchase of drugs paid for by Medicare Part D or any other Federal health care

   program. “Federal health care program” is defined in the anti-kickback statute as “(1) any plan or

   program that provides health benefits, whether directly, through insurance, or otherwise, which is

   funded directly, in whole or in part, by the United States Government (other than the health

   insurance program under Chapter 89 of Title 5); or (2) any State health care program, as defined

   in section § 1320a-7(h) of this title.” 42 U.S.C. § 1320a-7b(f).

          487.    The purported “discounts” or “rebates” afforded by the PBMs to the

   manufacturers do not fall within the (h) safe harbor. First, they are neither “discounts” nor




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   “rebates” alone, as they are accompanied by the quid pro quo of getting preferred formulary

   treatment. Second, the “discounts” or “rebates” do not reduce the manufacturer’s net selling

   price—to the extent that the manufacturer has increased the benchmark price to make up for an

   increased “rebate,” all that it has done is created a widened spread from which the PBM can

   make more money. This is a classic kickback.

          488.    The Defendant Drug Manufacturers’ actions are made all the more unfair and

   unconscionable by the fact that the rate of diabetes is rising in the United States, giving the

   Defendant Drug Manufacturers and PBMs more people to take advantage of. Moreover, each of

   the Defendant Drug Manufacturers knows that the others have not and will not compete based on

   real reductions in net price; they prefer to compete on inflation of benchmark prices. Even in the

   absence of collusion, it is in each of the Defendant Drug Manufacturers’ individual best interest

   to not compete on net price reductions because doing so would lead to a price war which would

   upset the unconscionable profits earned by all of three.

          489.    By exponentially raising the benchmark prices on which consumer cost-sharing

   obligations are based, while offering the three largest PBMs significantly lower, but secret, net

   prices, the defendants have engaged in unfair, unconscionable, and deceptive business practices

   in violation of state consumer protection laws. In the course of their business, the defendants

   willfully failed to disclose and actively concealed the reality that their benchmark prices are not

   reasonable approximations of the real prices of their analog insulins, knowing that the plaintiffs

   and class members pay for such insulins based on the medicines’ benchmark prices. This course

   of conduct was deceptive as well as unconscionable and unfair.

          490.    The Defendant Drug Manufacturers intentionally and knowingly misrepresented

   material facts and/or omitted material facts regarding the true prices of the analog insulins with




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   the intent to mislead consumers, including the plaintiffs. As alleged above, the Defendant Drug

   Manufacturers, through the Manufacturer-PBM Insulin Pricing Enterprises, made material

   misstatements about the prices of the analog insulins and the existence and extent of rebates on

   these drugs. These misstatements and omissions were either false or misleading.

          491.    The Defendant Drug Manufacturers owed the plaintiffs a duty to disclose the

   reality that the benchmark prices of the analog insulins were not reasonable approximations of

   the true costs of these medications and were not reasonable bases for the consumers’ cost sharing

   obligations because the Defendant Drug Manufacturers:

          a.      Possessed knowledge about the benchmark prices of the analog insulins;

          b.      Possessed exclusive, non-public, and material information regarding the net prices

                  of the analog insulins; and

          c.      Made false or incomplete representations about the prices of the analog insulins,

                  while purposefully withholding material facts from the plaintiffs that contradicted

                  these representations.

          492.    Because the Defendant Drug Manufacturers fraudulently concealed the true prices

   of the analog insulins, the plaintiffs were deprived of the benefit of their bargain: they grossly

   overpaid for the analog insulins.

          493.    The Defendant Drug Manufacturers’ concealment of the analog insulin pricing

   fraud was material to the plaintiffs. Had the plaintiffs known that the net prices of these analog

   insulins were much lower, they would have demanded that the benchmark prices on which their

   cost-sharing obligation were based be lowered as well.




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          494.    The Defendant Drug Manufacturers’ unfair, unconscionable, and/or deceptive acts

   or practices harmed the plaintiffs. They also were likely to and did, in fact, deceive reasonable

   consumers, including the plaintiffs, about the true prices of the analog insulins.

          495.    The Defendant Drug Manufacturers knew, or should have known, that their

   conduct violated state consumer protection laws.

          496.    As a direct and proximate result of the Defendant Drug Manufacturers’ conduct,

   the plaintiffs and class members have suffered injury-in-fact and/or actual damages. As a direct

   and proximate result of the Defendant Drug Manufacturers’ misconduct, all plaintiffs and class

   members who purchased the analog insulin incurred damages in the amount of the difference

   between the Defendant Drug Manufacturers’ reported benchmark prices for these medicines and

   their net prices for plaintiff and class member out-of-pocket payments.

          497.    This wrongful conduct by the Defendant Drug Manufacturers, coupled with the

   damages incurred by the plaintiffs and class members, entitles members of the class to relief

   under the consumer protection laws of the state in which each plaintiff or class member resides,

   as set forth below.

                                             COUNT FIVE

                       VIOLATION OF THE ALABAMA DECEPTIVE
                                TRADE PRACTICES ACT
                              ALA. CODE § 8-19-1, ET SEQ.
                    (AGAINST ELI LILLY, NOVO NORDISK, AND SANOFI)

          498.    The Alabama plaintiffs hereby incorporate by reference the allegations contained

   in the preceding paragraphs.

          499.    This claim is brought by the Alabama plaintiffs on behalf of residents of Alabama

   who are members of the class.




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            500.    The Alabama Deceptive Trade Practices Act (Alabama DTPA) declares several

   specific actions to be unlawful, including: “(11) Making a false or misleading statement of fact

   concerning the reasons for, existence of, or amounts of, price reductions”; and “(27) Engaging in

   any other unconscionable, false, misleading, or deceptive act or practice in the conduct of trade

   or commerce.” 57

            501.    Plaintiffs and class members are “consumers” within the meaning of Ala. Code

   § 8-19-3(2).

            502.    Plaintiffs, class members, Novo Nordisk and Sanofi are “persons” within the

   meaning of Ala. Code § 8-19-3(3).

            503.    Each defendant was and is engaged in “trade or commerce” within the meaning of

   Ala. Code § 8-19-3(8).

            504.    As alleged in this complaint, the Defendant Drug Manufacturers have made “false

   or misleading statements of fact concerning the reasons for, existence of, or amounts of, price

   reductions” 58 with respect to their analog insulins.

             505.   The defendants’ conduct, as described in this complaint, also constitutes

   “unconscionable, false, misleading, [and] deceptive act or practice in the conduct of trade or

   commerce.” 59

            506.    Pursuant to Ala. Code § 8-19-10, plaintiffs seek monetary relief against

   defendants measured as the greater of (a) actual damages in an amount to be determined at trial

   and (b) statutory damages in the amount of $100 for each plaintiff.



      57
           Ala. Code § 8-19-5.
      58
           Id.
      59
           Id.


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             507.   Plaintiffs also seek an order enjoining each defendant’s unfair, unlawful, and/or

   deceptive practices, attorneys’ fees, and any other just and proper relief available under Ala.

   Code § 8-19-1, et seq.

             508.   On January 24, 2017, and January 25, 2017, the plaintiffs sent letters complying

   with Ala. Code § 8-19-10(e) to the defendants. Because the defendants failed to remedy their

   unlawful conduct within the requisite period, the plaintiffs seek all damages and relief to which

   they are entitled.

                                               COUNT SIX

                    VIOLATION OF THE ARIZONA CONSUMER FRAUD ACT
                            ARIZ. REV. STAT. § 44-1521, ET SEQ.
                     (AGAINST ELI LILLY, NOVO NORDISK, AND SANOFI)

             509.   The Arizona plaintiffs hereby incorporate by reference the allegations contained

   in the preceding paragraphs of this Second Amended Complaint.

             510.   This claim is brought by the Arizona plaintiffs on behalf of residents of Arizona

   who are members of the class.

             511.   The Arizona Consumer Fraud Act (Arizona CFA) provides that “[t]he act, use or

   employment by any person of any deception, deceptive or unfair act or practice, fraud, false

   pretense, false promise, misrepresentation, or concealment, suppression or omission of any

   material fact with intent that others rely on such concealment, suppression or omission, in

   connection with the sale or advertisement of any merchandise whether or not any person has in

   fact been misled, deceived or damaged thereby, is declared to be an unlawful practice.” 60

             512.   The defendants, plaintiffs, and class members are “persons” within the meaning

   of Ariz. Rev. Stat. § 44-1521(6).


       60
            Ariz. Rev. Stat. § 44-1522(A).


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             513.    Each drug at issue is “merchandise” within the meaning of Ariz. Rev. Stat. § 44-

   1521(5).

             514.    The defendants’ conduct, as set forth above, occurred in the conduct of trade or

   commerce.

             515.    As alleged in this complaint, the defendants have employed “deception,” “fraud,

   false pretense, false promise, misrepresentation, [and/]or concealment”61 with respect to their

   analog insulins.

              516.   The Defendant Drug Manufacturers’ conduct, as described in this complaint, also

   constitutes “unfair act[s].” 62

             517.    Pursuant to the Arizona CFA, the plaintiffs seek monetary relief against each

   defendant in an amount to be determined at trial. The plaintiffs also seek punitive damages

   because the defendants have engaged in conduct that is wanton, reckless, or shows spite or ill-

   will, 63 and/or acted with reckless indifference to the interests of others. 64

             518.    Plaintiffs also seek an order enjoining each defendant’s unfair, unlawful, and/or

   deceptive practices, attorneys’ fees, and any other just and proper relief available under the

   Arizona CFA.




       61
            Id.
       62
            Id.
       63
        See Sellinger v. Freeway Mobile Home Sales, Inc., 110 Ariz. 573, 577 (1974); Lufty v. R.
   D. Roper & Sons Motor Co., 57 Ariz. 495, 115 P.2d 161 (1941)
       64
            See Sellinger, 110 Ariz. at 577; McNelis v. Bruce, 90 Ariz. 261 (1961).


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                                              COUNT SEVEN

                                   VIOLATION OF THE ARKANSAS
                                 DECEPTIVE TRADE PRACTICES ACT
                                    ARK. CODE § 4-88-101, ET SEQ.
                              (AGAINST ELI LILLY AND NOVO NORDISK)

             519.    The Arkansas plaintiffs hereby incorporate by reference the allegations contained

   in the preceding paragraphs of this Second Amended Complaint.

             520.    This claim is brought by the Arkansas plaintiffs on behalf of residents of

   Arkansas who are members of the class.

             521.    The Arkansas Deceptive Trade Practices Act (Arkansas DTPA) prohibits

   “[d]eceptive and unconscionable trade practices,” 65 which include, but are not limited to,

   “[e]ngaging in any . . . unconscionable, false, or deceptive act or practice in business, commerce,

   or trade.” 66 The Arkansas DTPA also prohibits “[k]nowingly taking advantage of a consumer

   who is reasonably unable to protect his or her interest because of: (A) Physical infirmity; (B)

   Ignorance; . . . or (E) A similar factor.” 67 The statute further bars, in connection with the sale or

   advertisement of any goods, “(1) the act, use, or employment by any person of any deception,

   fraud, or pretense; or (2) the concealment, suppression, or omission of any material fact with

   intent that other rely upon the concealment, suppression, or omission.” 68

             522.    Defendants, plaintiffs, and class members are “persons” within the meaning of

   Ark. Code § 4-88-102(5).




       65
            Ark. Code. § 4-88-107(a).
       66
            Id. § 4-88-107(a)(10).
       67
            Id. § 4-88-107(a)(8).
       68
            Id. § 4-88-108.


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             523.    Each drug at issue constitutes “goods” within the meaning of Ark. Code § 4-88-

   102(4).

             524.    As alleged in this complaint, the defendants’ conduct with respect to the analog

   insulins constitutes both “unconscionable” and “deceptive” acts in violation of the Arkansas

   DTPA.

             525.    Plaintiffs seek monetary relief against defendants in an amount to be determined

   at trial. Plaintiffs also seek punitive damages because defendants acted wantonly in causing

   plaintiffs’ and class members’ injuries or with such a conscious indifference to the consequences

   that malice may be inferred.

             526.    Plaintiffs also seek an order enjoining defendants’ unfair, unlawful, and/or

   deceptive practices, attorneys’ fees, and any other just and proper relief available under the

   Arkansas DTPA.

                                              COUNT EIGHT

                    VIOLATION OF THE CALIFORNIA LEGAL REMEDIES ACT
                               CAL. CIV. CODE § 1750, ET SEQ.
                      (AGAINST ELI LILLY, NOVO NORDISK, AND SANOFI)

             527.    The California plaintiffs hereby incorporate by reference the allegations contained

   in the preceding paragraphs of this Second Amended Complaint.

             528.    This claim is brought by the California plaintiffs on behalf of residents of

   California who are members of the class.

             529.    The California Legal Remedies Act (CLRA) prohibits “unfair or deceptive acts or

   practices undertaken by any person in a transaction intended to result or that results in the sale or




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   lease of goods or services to any consumer,” 69 including: “Making false or misleading statements

   of fact concerning reasons for, existence of, or amounts of, price reductions.” 70

             530.    Each defendant is a “person” under Cal. Civ. Code § 1761(c).

             531.    The plaintiffs and class members are “consumers,” as defined by Cal. Civ. Code

   § 1761(d), who purchased one or more analog insulin at issue.

             532.    As alleged in this complaint, the defendants’ conduct with respect to the analog

   insulins constitutes both “unfair” and “deceptive” acts in violation of the CLRA.

             533.    The plaintiffs seek injunctive relief under the CLRA for the defendants’ violations

   of Cal. Civ. Code § 1770. On January 24, 2017, and January 25, 2017, the plaintiffs sent demand

   letters notifying the defendants of such claims for relief pursuant to Cal. Civ. Code § 1782(d).

   Because the defendants failed to remedy their unlawful conduct within the requisite period, the

   plaintiffs seek all damages and relief to which they are entitled.

             534.    The plaintiffs also seek, under Cal. Civ. Code § 1780(a), monetary relief against

   the Defendant Drug Manufacturers for the harm their violations of the CLRA caused the

   plaintiffs.

             535.    Under Cal. Civ. Code § 1780(b), the plaintiffs seek an additional award against

   each defendant of up to $5,000 for each plaintiff or class member who qualifies as a “senior

   citizen” or “disabled person” under the CLRA. Each defendant knew or should have known that

   its conduct was directed to one or more plaintiffs or class members who are senior citizens or

   disabled persons. The defendants’ conduct caused one or more of these senior citizens or

   disabled persons to suffer a substantial loss of property set aside for retirement or for personal or



       69
            Cal. Civ. Code § 1770(a).
       70
            Id. § 1770(a)(13).


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   family care and maintenance, or assets essential to the health or welfare of the senior citizen or

   disabled person. One or more plaintiffs or class members who are senior citizens or disabled

   persons are substantially more vulnerable to each defendant’s conduct because of age, poor

   health or infirmity, impaired understanding, restricted mobility, or disability, and each of them

   suffered substantial physical, emotional, or economic damage resulting from each defendant’s

   conduct.

          536.    The plaintiffs further seek an order enjoining defendants’ unfair or deceptive acts

   or practices, restitution, costs of court, and attorneys’ fees pursuant to Cal. Civ. Code § 1780(e),

   and any other just and proper relief available under the CLRA. The plaintiffs sent letters

   complying with Cal. Civ. Code § 1780(b) on January 24, 2017, and January 25, 2017, to the

   defendants. Because the defendants failed to remedy their unlawful conduct within the requisite

   period, the plaintiffs seek all damages and relief to which they are entitled.

                                             COUNT NINE

              VIOLATION OF THE CALIFORNIA UNFAIR COMPETITION LAW
                       CAL. BUS. & PROF. CODE § 17200, ET SEQ.
                  (AGAINST ELI LILLY, NOVO NORDISK, AND SANOFI)

          537.    The California plaintiffs hereby incorporate by reference the allegations contained

   in the preceding paragraphs of this Second Amended Complaint.

          538.    This claim is brought by the California plaintiffs on behalf of residents of

   California who are members of the class.

          539.    California Business and Professions Code § 17200 (UCL) prohibits “unlawful,

   unfair, or fraudulent business acts or practices.”

          540.    The defendants violated the “unlawful” prong of § 17200 by their violations of

   the CLRA, as described above.




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            541.    Defendants also violated the “fraudulent” prong of § 17200 through their pricing

   fraud, as described throughout this complaint.

            542.    In addition, the defendants violated the “unfair” prong of § 17200 71 because the

   defendants’ acts and practices described in this complaint, including artificial inflation of

   benchmark prices to offer large rebates to the PBMs, caused the Defendant Drug Manufacturers

   to profit at the expense of consumers.

            543.    The California courts have set out several definitions of unfairness. The

   Defendant Drug Manufacturers’ conduct is unfair under each of them:

                    a.      “[T]he consumer injury is substantial, is not outweighed by any

            countervailing benefits to consumers or to competition, and is not an injury the

            consumers themselves could reasonably have avoided.” 72

                    b.      The Defendant Drug Manufacturers’ conduct “offends an established

            public policy [the FTC Policy Statement on Unfairness] or is immoral, unethical,

            oppressive, unscrupulous or substantially injurious to consumers.” 73

                    c.      The plaintiffs’ claim is predicated upon public policy which is “‘tethered’

            to specific constitutional, statutory or regulatory provisions.” 74




      71
          See Rubio v. Capital One Bank, 613 F.3d 1195, 1203 (9th Cir. 2010) (“A business act or
   practice may violate the [UCL] if it is either unlawful, unfair, or fraudulent. Each of these three
   adjectives captures a separate and distinct theory of liability.” (internal quotation marks and
   citation omitted)).
      72
           See Daugherty v. Am. Honda Motor Co., Inc., 144 Cal. App. 4th 824, 839 (2006).
      73
         See West v. JPMorgan Chase Bank, N.A., 214 Cal. App. 4th 780, 806 (2013) (quoting
   Smith v. State Farm Mut. Auto. Ins. Co., 93 Cal. App. 4th 700, 719 (2001)).
      74
         See West, 214 Cal. App. at 806 (quoting Scripps Clinic v. Superior Court, 108 Cal. App.
   4th 917, 940 (2003)).


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           544.    The defendants’ actions, as set forth above, occurred within the conduct of their

   business and in trade or commerce.

           545.    Pursuant to Cal. Bus. & Prof. Code § 17203, the Court may “restore to any person

   in interest any money or property, real or personal, which may have been acquired by means of”

   a violation of the statute.

           546.    The plaintiffs request that this Court enter such orders or judgments as may be

   necessary, including: a declaratory judgment that each defendant has violated the UCL; an order

   enjoining the defendants from continuing their unfair, unlawful, and/or fraudulent trade

   practices; an order restoring to the plaintiffs any money lost as result of each defendant’s unfair,

   unlawful, and/or fraudulent trade practices, including restitution and disgorgement of any profits

   the defendants received as a result of their unfair, unlawful, or fraudulent practices, as provided

   in Cal. Bus. & Prof. Code § 17203, Cal. Civ. Proc. Code § 384, and Cal. Civ. Code § 3345; and

   for any other relief as may be just and proper.

           547.    In addition, under Cal. Civ. Proc. Code § 1021.5, the Court “may award

   attorneys’ fees to a successful party against one or more opposing parties in any action which has

   resulted in the enforcement of an important right affecting the public interest if: (a) a significant

   benefit, whether pecuniary or nonpecuniary, has been conferred on the general public or a large

   class of persons, (b) the necessity and financial burden of private enforcement . . . are such as to

   make the award appropriate, and (c) such fees should not in the interest of justice be paid out of

   the recovery, if any.”




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                                               COUNT TEN

              VIOLATION OF THE COLORADO CONSUMER PROTECTION ACT
                         COLO. REV. STAT. § 6-1-101, ET SEQ.
                  (AGAINST ELI LILLY, NOVO NORDISK, AND SANOFI)

            548.   The Colorado plaintiffs hereby incorporate by reference the allegations contained

   in the preceding paragraphs of this Second Amended Complaint.

            549.   This claim is brought by the Colorado plaintiffs on behalf of residents of

   Colorado who are members of the class.

            550.   The Colorado Consumer Protection Act (Colorado CPA) prohibits deceptive

   practices in the course of a person’s business including, but not limited to: “Advertis[ing] goods,

   services, or property with intent not to sell them as advertised”; “Mak[ing] false or misleading

   statements of fact concerning the price of goods, services, or property or the reasons for,

   existence of, or amounts of price reductions”; and “Fail[ing] to disclose material information

   concerning goods, services, or property which information was known at the time of an

   advertisement or sale if such failure to disclose such information was intended to induce the

   consumer to enter into a transaction.” 75

            551.   Each defendant is a “person” under Colo. Rev. Stat. § 6-1-102(6).

            552.   Plaintiffs and class members are “consumers” for purposes of Colo. Rev. Stat.

   § 6-1-113(1)(a).

            553.   Each defendant’s conduct, as set forth above, occurred in the conduct or trade or

   commerce.

            554.   As alleged in this complaint, the defendants’ conduct with respect to the analog

   insulins constitutes: “Advertis[ing] goods, services, or property with intent not to sell them as


      75
           Colo. Rev. Stat. § 6-1-105(1).


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   advertised”; “Mak[ing] false or misleading statements of fact concerning the price of goods,

   services, or property or the reasons for, existence of, or amounts of price reductions”; and

   “Fail[ing] to disclose material information concerning goods, services, or property which

   information was known at the time of an advertisement or sale if such failure to disclose such

   information was intended to induce the consumer to enter into a transaction” 76 in violation of the

   Colorado CPA.

            555.   Under Colo. Rev. Stat. § 6-1-113, plaintiffs seek monetary relief against each

   defendant measured as the greater of (a) actual damages in an amount to be determined at trial

   and discretionary trebling of such damages and (b) statutory damages in the amount of $500 for

   each plaintiff or class member.

            556.   Plaintiffs also seek an order enjoining each defendant’s unfair, unlawful, or

   deceptive practices, declaratory relief, attorneys’ fees, and any other just and proper remedy

   under the Colorado CPA.

                                           COUNT ELEVEN

                           VIOLATION OF THE CONNECTICUT
                            UNFAIR TRADE PRACTICES ACT
                           CONN. GEN. STAT. § 42-110A, ET SEQ.
                    (AGAINST ELI LILLY, NOVO NORDISK, AND SANOFI)

            557.   The Connecticut plaintiffs hereby incorporate by reference the allegations

   contained in the preceding paragraphs of this Second Amended Complaint.

            558.   This claim is brought by the Connecticut plaintiffs on behalf of residents of

   Connecticut who are members of the class.




      76
           Id.



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            559.   The Connecticut Unfair Trade Practices Act (Connecticut UTPA) provides: “No

   person shall engage in unfair methods of competition and unfair or deceptive acts or practices in

   the conduct of any trade or commerce.” 77

            560.   Each defendant is a “person” within the meaning of Conn. Gen. Stat. § 42-

   110a(3).

            561.   The defendants’ challenged conduct occurred in “trade” or “commerce” within

   the meaning of Conn. Gen. Stat. § 42-110a(4).

            562.   As alleged in this complaint, the defendants’ conduct with respect to the analog

   insulins constitutes both “unfair” and “deceptive” acts in violation of the Connecticut UTPA.

            563.   The plaintiffs and class members are entitled to recover their actual damages,

   punitive damages, and attorneys’ fees pursuant to Conn. Gen. Stat. § 42-110g.

            564.   The defendants acted with reckless indifference to another’s rights or wanton or

   intentional violation of another’s rights and otherwise engaged in conduct amounting to a

   particularly aggravated, deliberate disregard for the rights and safety of others. Therefore,

   punitive damages are warranted.

            565.   Plaintiffs also seek an order enjoining each defendant’s unfair, unlawful, and/or

   deceptive practices, attorneys’ fees, and any other just and proper relief available under Conn.

   Gen. Stat. § 42-110g(d).




      77
           Conn. Gen. Stat. § 42-110b(a).


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                                           COUNT TWELVE

                   VIOLATION OF THE DELAWARE CONSUMER FRAUD ACT
                             DEL. CODE TIT. 6, § 2513, ET SEQ.
                     (AGAINST ELI LILLY, NOVO NORDISK, AND SANOFI)

            566.    The Delaware plaintiffs hereby incorporate by reference the allegations contained

   in the preceding paragraphs of this Second Amended Complaint.

            567.    This claim is brought by the Delaware plaintiffs on behalf of residents of

   Delaware who are members of the class.

            568.    The Delaware Consumer Fraud Act (Delaware CFA) prohibits the “act, use or

   employment by any person of any deception, fraud, false pretense, false promise,

   misrepresentation, or the concealment, suppression, or omission of any material fact with intent

   that others rely upon such concealment, suppression or omission, in connection with the sale,

   lease or advertisement of any merchandise, whether or not any person has in fact been misled,

   deceived or damaged thereby.” 78

            569.    Each defendant is a “person” within the meaning of Del. Code tit. 6, § 2511(7).

            570.    The defendants’ actions, as set forth above, occurred in the conduct of trade or

   commerce.

            571.    As alleged in this complaint, the defendants’ conduct with respect to the analog

   insulins violated the Delaware CFA.

            572.    The plaintiffs seek damages under the Delaware CFA for injury resulting from the

   direct and natural consequences of each defendant’s unlawful conduct. 79 The plaintiffs also seek




      78
           Del. Code tit. 6, § 2513(a).
      79
           See, e.g., Stephenson v. Capano Dev., Inc., 462 A.2d 1069, 1077 (Del. 1980).


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   an order enjoining each defendant’s unfair, unlawful, and/or deceptive practices, declaratory

   relief, attorneys’ fees, and any other just and proper relief available under the Delaware CFA.

            573.    The defendants engaged in gross, oppressive, or aggravated conduct justifying the

   imposition of punitive damages.

                                           COUNT THIRTEEN

                   VIOLATION OF THE FLORIDA UNFAIR AND DECEPTIVE
                                TRADE PRACTICES ACT
                              FLA. STAT. § 501.201, ET SEQ.
                    (AGAINST ELI LILLY, NOVO NORDISK, AND SANOFI)

            574.    The Florida plaintiffs hereby incorporate by reference the allegations contained in

   the preceding paragraphs of this Second Amended Complaint.

            575.    This claim is brought by the Florida plaintiffs on behalf of residents of Florida

   who are members of the class.

            576.    The Florida Unfair and Deceptive Trade Practices Act (FUDTPA) prohibits

   “[u]nfair methods of competition, unconscionable acts or practices, and unfair or deceptive acts

   or practices in the conduct of any trade or commerce.” 80

            577.    In outlawing unfair acts or practices, the Florida Legislature adopted the FTC’s

   interpretations of § 5(a)(1) of the Federal Trade Commission Act. 81 The Legislature specifically

   stated that a violation of FUDTPA “may be based upon . . . [t]he standards of unfairness . . . set

   forth and interpreted by the Federal Trade Commission or the federal courts.” 82




      80
           Fla. Stat. § 501.204(1).
      81
           Id. § 501.204(2).
      82
           Id. § 501.203(3)(b).



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             578.    The defendants’ conduct, as described in this complaint, constitutes “deceptive

   acts” in violation of the FUDTPA.

             579.    In addition, the defendants’ conduct, as described in this complaint, constitutes

   “unfair” acts in violation of the FUDTPA. 83

             580.    Plaintiffs and class members are “consumers” within the meaning of Fla. Stat.

   § 501.203(7).

             581.    Each defendant engaged in “trade or commerce” within the meaning of Fla. Stat.

   § 501.203(8).

             582.    The Florida Legislature has provided that a person who has suffered a loss as a

   result of a violation of FUDTPA may recover actual damages, plus attorneys’ fees and court

   costs, all of which the plaintiffs seek in this action. The plaintiffs are entitled to recover their

   actual damages under Fla. Stat. § 501.211(2) and attorneys’ fees under Fla. Stat. § 501.2105(1).

             583.    FUDTPA provides that “[a]nyone aggrieved by a violation of this part may bring

   an action to obtain a declaratory judgment that an act or practice violates this part and to enjoin a

   person who has violated, is violating, or is otherwise likely to violate this part.” 84 The plaintiffs

   seek an order enjoining each defendant’s unfair, unlawful, and/or deceptive practices, declaratory

   relief, and any other just and proper relief available under the FUDTPA.




       83
         PNR, Inc. v. Beacon Prop. Mgmt., Inc., 842 So.2d 773, 777 (Fla. 2003) (defining an
   “unfair practice” under the FDUTPA as “one that offends established public policy and one that
   is immoral, unethical, oppressive, unscrupulous or substantially injurious to consumers” and
   noting a separate definition for “deception” (internal quotation marks and citation omitted)).
       84
            Fla. Stat. § 501.211(1).


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                                           COUNT FOURTEEN

        VIOLATION OF THE GEORGIA FAIR BUSINESS PRACTICES ACT OF 1975
                       GA. CODE ANN. § 10-1-390, ET SEQ.
               (AGAINST ELI LILLY, NOVO NORDISK, AND SANOFI)

             584.    The Georgia plaintiffs hereby incorporate by reference the allegations contained

   in the preceding paragraphs of this Second Amended Complaint.

             585.    This claim is brought by the Georgia plaintiffs on behalf of residents of Georgia

   who are members of the class.

             586.    The Georgia Fair Business Practices Act (Georgia FBPA) declares “[u]nfair or

   deceptive acts or practices in the conduct of consumer transactions and consumer acts or

   practices in trade or commerce” to be unlawful. 85 Such acts include, but are not limited to:

   “[a]dvertising goods or services with intent not to sell them as advertised”; and “[m]aking false

   or misleading statements concerning the reasons for, existence of, or amounts of price

   reductions.” 86

             587.    Plaintiffs and class members are “consumers” within the meaning of Ga. Code

   Ann. § 10-1-393(b).

             588.    Each defendant engaged in “trade or commerce” within the meaning of Ga. Code

   Ann. § 10-1-393(b).

             589.    As alleged in this complaint, the defendants’ conduct with respect to the analog

   insulins constitutes “[a]dvertising goods or services with intent not to sell them as advertised”




       85
            Ga. Code. Ann. § 101-393(a).
       86
            Id. § 10-1-393(b).



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   and “[m]aking false or misleading statements concerning the reasons for, existence of, or

   amounts of price reductions.” 87

            590.   The plaintiffs are entitled to recover damages and exemplary damages (for

   intentional violations) under Ga. Code Ann. § 10-1-399(a).

            591.   The plaintiffs also seek an order: enjoining the defendants’ unfair, unlawful,

   and/or deceptive practices; attorneys’ fees; and any other just and proper relief available under

   the Georgia FBPA.

            592.   On January 24 and 25, 2017, certain plaintiffs sent letters complying with Ga.

   Code Ann. § 10-1-399(b) to the defendants.

                                           COUNT FIFTEEN

                         VIOLATION OF THE GEORGIA UNIFORM
                           DECEPTIVE TRADE PRACTICES ACT
                            GA. CODE ANN. § 10-1-370, ET SEQ.
                    (AGAINST ELI LILLY, NOVO NORDISK, AND SANOFI)

            593.   The Georgia plaintiffs hereby incorporate by reference the allegations contained

   in the preceding paragraphs of this Second Amended Complaint.

            594.   This claim is brought by the Georgia plaintiffs on behalf of residents of Georgia

   who are members of the class.

            595.   Georgia’s Uniform Deceptive Trade Practices Act (Georgia UDTPA) prohibits

   “deceptive trade practices,” which include: “Mak[ing] false or misleading statements of fact

   concerning the reasons for, existence of, or amounts of price reductions” or “Engaging in any

   other conduct which similarly creates a likelihood of confusion or of misunderstanding.” 88




      87
           Id.
      88
           Ga. Code Ann § 10-1-372(a).


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            596.    The defendants, plaintiffs, and class members are “persons” within the meaning

   of Ga. Code Ann. § 10-1-371(5).

            597.    As alleged in this complaint, the defendants’ conduct with respect to the analog

   insulins constitutes making “false or misleading statements of fact concerning the reasons for,

   existence of, or amounts of price reductions” and “[e]ngaging in . . .conduct which similarly

   creates a likelihood of confusion or of misunderstanding.” 89

            598.    The plaintiffs seek an order that enjoin each defendant’s unfair, unlawful, and/or

   deceptive practices, awards attorneys’ fees, and awards any other just and proper relief available

   under Ga. Code Ann. § 10-1-373.

                                           COUNT SIXTEEN

                   VIOLATION OF THE IDAHO CONSUMER PROTECTION ACT
                                IDAHO CODE § 48-601, ET SEQ.
                      (AGAINST ELI LILLY, NOVO NORDISK, AND SANOFI)

            599.    The Idaho plaintiffs hereby incorporate by reference the allegations contained in

   the preceding paragraphs of this Second Amended Complaint.

            600.    This claim is brought by the Idaho plaintiffs on behalf of residents of Idaho who

   are members of the class.

            601.    The Idaho Consumer Protection Act (Idaho CPA) prohibits “unfair or deceptive

   acts or practices, including, but not limited to: “(11) Making false or misleading statements of

   fact concerning the reasons for, existence of, or amounts of price reductions”; “(17) Engaging in

   any act or practice which is otherwise misleading, false, or deceptive to the consumer”; or




      89
           Id.



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   “(18) Engaging in any unconscionable method, act or practice in the conduct of trade or

   commerce.” 90

            602.   Each defendant is a “person” under Idaho Code Ann. § 48-602(1).

            603.   The defendants’ acts or practices as set forth above occurred in the conduct of

   “trade” or “commerce” under Idaho Code Ann. § 48-602(2).

            604.   As alleged in this complaint, the defendants’ conduct with respect to the analog

   insulins constitutes both “unfair” and “deceptive” acts under the Idaho CPA. 91

            605.   Under Idaho Code § 48-608, the plaintiffs seek monetary relief against each

   defendant measured as the greater of (a) actual damages in an amount to be determined at trial

   and (b) statutory damages in the amount of $1,000 for each plaintiff.

            606.   The plaintiffs also seek an order enjoining each defendant’s unfair, unlawful,

   and/or deceptive practices, attorneys’ fees, and any other just and proper relief available under

   the Idaho CPA.

            607.   The plaintiffs also seek punitive damages against defendants because each

   defendant’s conduct evidences an extreme deviation from reasonable standards. The defendants

   flagrantly, maliciously, and fraudulently misrepresented the actual cost of their analog insulin

   products and the existence, purpose, and amount of the rebates granted to the PBMs. They

   concealed facts that only they knew. The defendants’ unlawful conduct constitutes malice,

   oppression and fraud warranting punitive damages.




      90
           Idaho Code Ann. § 48-603.
      91
           Id.


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                                           COUNT SEVENTEEN

    VIOLATION OF THE ILLINOIS CONSUMER FRAUD AND DECEPTIVE BUSINESS
                               PRACTICES ACT
                     815 ILL. COMP. STAT. § 505/1, ET SEQ.
              (AGAINST ELI LILLY, NOVO NORDISK, AND SANOFI)

            608.    The Illinois plaintiffs hereby incorporate by reference the allegations contained in

   the preceding paragraphs of this Second Amended Complaint.

            609.    This claim is brought by the Illinois plaintiffs on behalf of residents of Illinois

   who are members of the class.

            610.    The Illinois Consumer Fraud and Deceptive Business Practices Act (ICFA)

   prohibits “unfair or deceptive acts or practices, including but not limited to the use or

   employment of any deception, fraud, false pretense, false promise, misrepresentation or the

   concealment, suppression or omission of any material fact, with intent that others rely upon the

   concealment, suppression or omission of such material fact . . . in the conduct of any trade or

   commerce . . . whether any person has in fact been misled, deceived or damaged thereby.” 92

            611.    That section also provides: “In construing this section consideration shall be given

   to the interpretations of the Federal Trade Commission and the federal courts relating to Section

   5(a) of the Federal Trade Commission Act.” 93

            612.    Each defendant is a “person” as that term is defined in 815 Ill. Comp. Stat.

   § 505/1(c).

            613.    The plaintiffs and class members are “consumers” as that term is defined in 815

   Ill. Comp. Stat. § 505/1(e).




      92
           815 Ill. Comp. Stat. § 505/2.
      93
           Id.


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            614.   The defendants’ conduct, as described in this complaint, constitutes “deceptive

   acts” in violation of the ICFA.

            615.   In addition, the defendants’ conduct, as described in this complaint, constitutes

   “unfair” acts in violation of the ICFA. 94

            616.   The ICFA allows “[a]ny person who suffers actual damage as a result of a

   violation of this Act committed by any other person [to] bring an action against such person. The

   court, in its discretion may award actual economic damages or any other relief which the court

   deems proper . . . .” 95 Pursuant to this provision of the code, the plaintiffs seek monetary relief

   against each defendant in the amount of actual damages, as well as punitive damages because

   defendants each acted with fraud and/or malice and/or was grossly negligent.

            617.   The plaintiffs also seek an order enjoining each defendant’s unfair and/or

   deceptive acts or practices, attorneys’ fees, and any other just and proper relief available under

   815 Ill. Comp. Stat. § 505/1, et seq.

                                             COUNT EIGHTEEN

             VIOLATION OF THE INDIANA DECEPTIVE CONSUMER SALES ACT
                            IND. CODE § 24-5-0.5-2, ET SEQ.
                  (AGAINST ELI LILLY, NOVO NORDISK, AND SANOFI)

            618.   The Indiana plaintiffs hereby incorporate by reference the allegations contained in

   the preceding paragraphs of this Second Amended Complaint.

            619.   This claim is brought by the Indiana plaintiffs on behalf of residents of Indiana

   who are members of the class.


      94
          Siegel v. Shell Oil Co., 612 F.3d 932, 935 (7th Cir. 2010) (stating that “[a] plaintiff is
   entitled to recovery under ICFA when there is unfair or deceptive conduct” and “may allege that
   conduct is unfair . . . without alleging that the conduct is deceptive”).
      95
           815 Ill. Comp. Stat. § 505/10a.



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            620.    Indiana’s Deceptive Consumer Sales Act (Indiana DCSA) prohibits a supplier

   from committing “an unfair, abusive, or deceptive act, omission, or practice in connection with a

   consumer transaction.” 96 Such acts and practices include, but are not limited to, representations

   that “a specific price advantage exists as to such subject of a consumer transaction, if it does not

   and if the supplier knows or should reasonably know that it does not.” 97

            621.    Each defendant is a “person” within the meaning of Ind. Code § 25-5-0.5-2(a)(2)

   and a “supplier” within the meaning of Ind. Code § 24-5-0.5-2(a)(3).

            622.    Plaintiffs’ payments for insulin are “consumer transactions” within the meaning

   of Ind. Code § 24-5-0.5-2(a)(3).

            623.    The defendants’ conduct, as described in this complaint, constitutes “deceptive

   acts” as well as “unfair” acts in violation of the Indiana DCSA.

            624.    Under Ind. Code § 24-5-0.5-4, the plaintiffs seek monetary relief against each

   defendant measured as the greater of (a) actual damages in an amount to be determined at trial

   and (b) statutory damages in the amount of $500 for each plaintiff, including treble damages up

   to $1000 for defendants’ willfully deceptive acts.

            625.    The plaintiffs also seek punitive damages based on the outrageousness and

   recklessness of each defendant’s conduct.

            626.    The plaintiffs also seek an order enjoining each defendant’s unfair and/or

   deceptive acts or practices, attorneys’ fees, and any other just and proper relief available under

   Ind. Code § 24-5-0.5-4.




      96
           Ind. Code § 24-5-0.5-3(a).
      97
           Id. § 24-5-0.5-3(b).


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             627.   On January 24, 2017, and January 25, 2017, the plaintiffs sent letters complying

   with Ind. Code § 24-5-0.5-5(a) to the defendants. Because each defendant failed to remedy its

   unlawful conduct within the requisite period, the plaintiffs seek all damages and relief to which

   they are entitled.

                                          COUNT NINETEEN

       VIOLATION OF THE IOWA PRIVATE RIGHT OF ACTION FOR CONSUMER
                                FRAUDS ACT
                         IOWA CODE § 714H.1, ET SEQ.
               (AGAINST ELI LILLY, NOVO NORDISK, AND SANOFI)

             628.   The Iowa plaintiffs hereby incorporate by reference the allegations contained in

   the preceding paragraphs of this Second Amended Complaint.

             629.   This claim is brought by the Iowa plaintiffs on behalf of residents of Iowa who

   are members of the class.

             630.   The Iowa Private Right of Action for Consumer Frauds Act (Iowa CFA) prohibits

   any “practice or act the person knows or reasonably should know is an unfair practice, deception,

   fraud, false pretense, or false promise, or the misrepresentation, concealment, suppression, or

   omission of a material fact, with the intent that others rely upon the unfair practice, deception,

   fraud, false pretense, false promise, misrepresentation, concealment, suppression, or omission in

   connection with the advertisement, sale, or lease of consumer merchandise.” 98

             631.   Each defendant is a “person” under Iowa Code § 714H.2(7).

             632.   The plaintiffs and class members are “consumers” as defined by Iowa Code

   § 714H.2(3), who purchased insulin.




       98
            Iowa Code § 714H.3.1.


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             633.   The defendants’ conduct, as described in this complaint, constitutes “deceptive”

   practices as well as “unfair” practices in violation of the Iowa CFA.

             634.   Pursuant to Iowa Code § 714H.5, the plaintiffs seek: an order enjoining each

   defendant’s unfair and/or deceptive acts or practices; actual damages; and statutory damages up

   to three times the amount of actual damages awarded as a result of each defendant’s willful and

   wanton disregard for the rights and safety of others; attorneys’ fees; and other such equitable

   relief as the court deems necessary to protect the public from further violations of the Iowa CFA.

             635.   Furthermore, pursuant to Iowa Code § 714H.7, the plaintiffs have obtained the

   permission of the Iowa Attorney General to file this Second Amended Complaint because it is

   “materially the same” as the original complaint, for which the plaintiffs obtained permission to

   file.

                                           COUNT TWENTY

                 VIOLATION OF THE KANSAS CONSUMER PROTECTION ACT
                              KAN. STAT. § 50-623, ET SEQ.
                               (AGAINST NOVO NORDISK)

             636.   The Kansas plaintiffs hereby incorporate by reference the allegations contained in

   the preceding paragraphs of this Second Amended Complaint.

             637.   This claim is brought by the Kansas plaintiffs on behalf of residents of Kansas

   who are members of the class.

             638.   The Kansas Consumer Protection Act (Kansas CPA) states “[n]o supplier shall

   engage in any deceptive act or practice in connection with a consumer transaction.” 99 Deceptive

   acts or practices include, but are not limited to: “the willful use, in any oral or written

   representation, of exaggeration, falsehood, innuendo or ambiguity as to a material fact”; “the


       99
            Kan. Stat. § 50-626(a).


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   willful failure to state a material fact, or the willful concealment, suppression or omission of a

   material fact”; and “making false or misleading representations, knowingly or with reason to

   know, of fact concerning the reason for, existence of or amounts of price reductions.” 100 These

   acts constitute deceptive conduct “whether or not any consumer has in fact been misled.” 101

            639.    Plaintiffs and class members are “consumers,” within the meaning of Kan. Stat.

   Ann. § 50-624(b), who purchased insulin.

            640.    The sale of insulin to plaintiffs was a “consumer transaction” within the meaning

   of Kan. Stat. Ann. § 50-624(c).

            641.    The defendants’ conduct, as described in this complaint, constitutes “deceptive”

   practices in violation of the Kansas CPA.

            642.    Under Kan. Stat. Ann. § 50-634, the plaintiffs seek monetary relief against each

   defendant measured as the greater of (a) actual damages in an amount to be determined at trial

   and (b) statutory damages in the amount of $10,000 for each plaintiff.

            643.    The plaintiffs also seek an order enjoining each defendant’s unfair, unlawful,

   and/or deceptive practices, declaratory relief, attorneys’ fees, and any other just and proper relief

   available under Kan. Stat. Ann. § 50-623, et seq.

                                        COUNT TWENTY-ONE

                  VIOLATION OF THE LOUISIANA UNFAIR TRADE PRACTICES
                           AND CONSUMER PROTECTION LAW
                             LA. REV. STAT. § 51:1401, ET SEQ.
                     (AGAINST ELI LILLY, NOVO NORDISK, AND SANOFI)

            644.    The Louisiana plaintiffs hereby incorporate by reference the allegations contained

   in the preceding paragraphs of this Second Amended Complaint.


      100
            Id. § 50-626(b).
      101
            Id.


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            645.    This claim is brought by the Louisiana plaintiffs on behalf of residents of

   Louisiana who are members of the class.

            646.    The Louisiana Unfair Trade Practices and Consumer Protection Law (Louisiana

   CPL) makes unlawful “unfair or deceptive acts or practices in the conduct of any trade or

   commerce.” 102

            647.    The defendants, plaintiffs, and class members are “persons” within the meaning

   of La. Rev. Stat. § 51:1402(8).

            648.    The plaintiffs and class members are “consumers” within the meaning of La. Rev.

   Stat. § 51:1402(1).

            649.    Each defendant engaged in “trade” or “commerce” within the meaning of La.

   Rev. Stat. § 51:1402(9).

            650.    The defendants’ conduct, as described in this complaint, constitutes both

   “deceptive” and “unfair” practices in violation of the Louisiana CPL.

            651.    Pursuant to La. Rev. Stat. § 51:1409, plaintiffs seek to recover actual damages in

   an amount to be determined at trial; treble damages for knowing violations of the Louisiana

   CPL; an order enjoining each defendant’s unfair, unlawful, and/or deceptive practices;

   declaratory relief; attorneys’ fees; and any other just and proper relief available under La. Rev.

   Stat. § 51:1409.




      102
            La. Rev. Stat. § 51:1405(A).


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                                            COUNT TWENTY-TWO

                VIOLATION OF THE MAINE UNFAIR TRADE PRACTICES ACT
                       ME. REV. STAT. ANN. TIT. 5, § 205-A, ET SEQ.
                   (AGAINST ELI LILLY, NOVO NORDISK, AND SANOFI)

            652.    The Maine plaintiffs hereby incorporate by reference the allegations contained in

   the preceding paragraphs of this Second Amended Complaint.

            653.    This claim is brought by the Maine plaintiffs on behalf of residents of Maine who

   are members of the class.

            654.    The Maine Unfair Trade Practices Act (Maine UTPA) makes unlawful “[u]nfair

   methods of competition and unfair or deceptive acts or practices in the conduct of any trade or

   commerce.” 103

            655.    The defendants, plaintiffs, and class members are “persons” within the meaning

   of Me. Rev. Stat. Ann. tit. § 5, 206(2).

            656.    The defendants are engaged in “trade” or “commerce” within the meaning of Me.

   Rev. Stat. Ann. tit. § 5, 206(3).

            657.    The defendants’ conduct, as described in this complaint, constitutes both

   “deceptive” and “unfair” acts or practices in violation of the Maine UTPA.

            658.    Pursuant to Me. Rev. Stat. Ann. tit. 5, § 213, the plaintiffs seek an order enjoining

   each defendant’s unfair and/or deceptive acts or practices.

            659.    On January 24, 2017, and January 25, 2017, the plaintiffs sent letters complying

   with Me. Rev. Stat. Ann. tit. 5, § 213(1-A) to the defendants. Because the defendants failed to

   remedy their unlawful conduct within the requisite period, the plaintiffs seek all damages and

   relief to which they are entitled.


      103
            Me. Rev. Stat. tit. 5, § 207.


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                                      COUNT TWENTY-THREE

              VIOLATION OF THE MARYLAND CONSUMER PROTECTION ACT
                        MD. COM. LAW CODE § 13-101, ET SEQ.
                      (AGAINST ELI LILLY AND NOVO NORDISK)

            660.    The Maryland plaintiffs hereby incorporate by reference the allegations contained

   in the preceding paragraphs of this Second Amended Complaint.

            661.    This claim is brought by the Maryland plaintiffs on behalf of residents of

   Maryland who are members of the class.

            662.    The Maryland Consumer Protection Act (Maryland CPA) provides that a person

   may not engage in any unfair or deceptive trade practice, including: “False, falsely disparaging,

   or misleading oral or written statement, visual description, or other representation of any kind

   which has the capacity, tendency, or effect of deceiving or misleading consumers”; “Failure to

   state a material fact if the failure deceives or tends to deceive”; “False or misleading

   representation[s] of fact which concern[] . . . [t]he reason for or the existence or amount of a

   price reduction”; and “Deception, fraud, false pretense, false premise, misrepresentation, or

   knowing concealment, suppression, or omission of any material fact with the intent that a

   consumer rely on the same.” 104 The statute further provides that a person may not engage in such

   conduct regardless of whether the consumer is actually deceived or damaged. 105

            663.    Defendants, plaintiffs, and class members are “persons” within the meaning of

   Md. Code, Com. Law § 13-101(h).

            664.    The defendants’ conduct, as described in this complaint, constitutes both

   “deceptive” and “unfair” acts or practices in violation of the Maryland CPA.



      104
            Md. Code, Com. Law § 13-301.
      105
            Id. § 13-302.


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            665.   Pursuant to Md. Code, Com. Law § 13-408, plaintiffs seek actual damages,

   attorneys’ fees, and any other just and proper relief available under the Maryland CPA.

            666.   The plaintiffs also seek an order enjoining each defendant’s unfair and/or

   deceptive acts or practices, punitive damages, and attorneys’ fees, costs, and any other just and

   proper relief available under Md. Code, Com. Law § 13-406.

                                      COUNT TWENTY-FOUR

                           VIOLATION OF THE MASSACHUSETTS
                              GENERAL LAW CHAPTER 93(A)
                           MASS. GEN. LAWS CH. 93A, § 1, ET SEQ.
                     (AGAINST ELI LILLY, NOVO NORDISK, AND SANOFI)

            667.   The Massachusetts plaintiffs hereby incorporate by reference the allegations

   contained in the preceding paragraphs of this Second Amended Complaint.

            668.   This claim is brought by the Massachusetts plaintiffs on behalf of residents of

   Massachusetts who are members of the class.

            669.   Massachusetts law (the Massachusetts Act) prohibits “unfair or deceptive acts or

   practices in the conduct of any trade or commerce.” 106

            670.   The defendants, plaintiffs, and class members are “persons” within the meaning

   of Mass. Gen. Laws ch. 93A, § 1(a).

            671.   Each defendant engaged in “trade” or “commerce” within the meaning of Mass.

   Gen. Laws ch. 93A, § 1(b).

            672.   The defendants’ conduct, as described in this complaint, constitutes both

   “deceptive” and “unfair” acts or practices in violation of the Massachusetts Act.




      106
            Mass. Gen. Laws ch. 93A, § 2.


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          673.    Pursuant to Mass. Gen. Laws ch. 93A, § 9, the plaintiffs will seek monetary relief

   measured as the greater of (a) actual damages in an amount to be determined at trial and

   (b) statutory damages in the amount of $25 for each plaintiff. Because the defendants’ conduct

   was committed willfully and knowingly, the plaintiffs are entitled to recover, for each plaintiff,

   up to three times actual damages, but no less than two times actual damages.

          674.    The plaintiffs also seek an order enjoining each defendant’s unfair and/or

   deceptive acts or practices, punitive damages, and attorneys’ fees, costs, and any other just and

   proper relief available under the Massachusetts Act.

          675.    On January 24, 2017, and January 25, 2017, the plaintiffs sent letters complying

   with Mass. Gen. Laws ch. 93A, § 9(3) to the defendants. Because the defendants failed to

   remedy their unlawful conduct within the requisite period, the plaintiffs seek all damages and

   relief to which they are entitled.

                                        COUNT TWENTY-FIVE

             VIOLATION OF THE MICHIGAN CONSUMER PROTECTION ACT
                       MICH. COMP. LAWS § 445.902, ET SEQ.
                 (AGAINST ELI LILLY, NOVO NORDISK, AND SANOFI)

          676.    The Michigan plaintiffs hereby incorporate by reference the allegations contained

   in the preceding paragraphs of this Second Amended Complaint.

          677.    This claim is brought by the Michigan plaintiffs on behalf of residents of

   Michigan who are members of the class.

          678.    The Michigan Consumer Protection Act (Michigan CPA) prohibits “[u]nfair,

   unconscionable, or deceptive methods, acts, or practices in the conduct of trade or commerce,”

   including: “[m]aking false or misleading statements of fact concerning the reasons for, existence

   of, or amounts of price reductions”; “[f]ailing to reveal a material fact, the omission of which




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   tends to mislead or deceive the consumer, and which fact could not reasonably be known by the

   consumer”; “charging the consumer a price that is grossly in excess of the price at which similar

   property or services are sold”; “[m]aking a representation of fact or statement of fact material to

   the transaction such that a person reasonably believes the represented or suggested state of affairs

   to be other than it actually is”; and “[f]ailing to reveal facts that are material to the transaction in

   light of representations of fact made in a positive manner.” 107

             679.   Plaintiffs and class members are “person[s]” within the meaning of the Mich.

   Comp. Laws § 445.902(1)(d).

             680.   Each defendant is a “person” engaged in “trade or commerce” within the meaning

   of the Mich. Comp. Laws § 445.902(1)(d) and (g).

             681.   The defendants’ conduct, as described in this complaint, constitutes both

   “deceptive” and “unfair” acts or practices in violation of the Michigan CPA.

             682.   The plaintiffs seek: injunctive against the defendants to prevent their continuing

   unfair and deceptive acts; monetary relief against each defendant measured as the greater of (a)

   actual damages in an amount to be determined at trial and (b) statutory damages in the amount of

   $250 for each plaintiff; reasonable attorneys’ fees; and any other just and proper relief available

   under Mich. Comp. Laws § 445.911.

             683.   The plaintiffs also seek punitive damages because each defendant carried out

   despicable conduct with willful and conscious disregard of the rights and safety of others.

   Defendants maliciously and egregiously misrepresented the actual price of their analog insulins,

   inflated their benchmark prices, and concealed the reasons for and amount of the rebates offered

   to PBMs to increase their profits at the expense of consumers. They manipulated the price of


       107
             Mich. Comp. Laws § 445.903(1).


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   their life-saving products without regard to the impact of their scheme on consumers’ ability to

   afford a life-saving product. The defendants’ conduct constitutes malice, oppression, and fraud,

   warranting punitive damages.

                                        COUNT TWENTY-SIX

     VIOLATION OF THE MINNESOTA PREVENTION OF CONSUMER FRAUD ACT
                        MINN. STAT. § 325F.68, ET SEQ.
              (AGAINST ELI LILLY, NOVO NORDISK, AND SANOFI)

            684.   The Minnesota plaintiffs hereby incorporate by reference the allegations

   contained in the preceding paragraphs of this Second Amended Complaint.

            685.   This claim is brought by the Minnesota plaintiffs on behalf of residents of

   Minnesota who are members of the class.

            686.   The Minnesota Prevention of Consumer Fraud Act (Minnesota CFA) prohibits

   “[t]he act, use, or employment by any person of any fraud, false pretense, false promise,

   misrepresentation, misleading statement or deceptive practice, with the intent that others rely

   thereon in connection with the sale of any merchandise, whether or not any person has in fact

   been misled, deceived, or damaged thereby.” 108

            687.   Each purchase of analog insulin constitutes “merchandise” within the meaning of

   Minn. Stat. § 325F.68(2).

            688.   The defendants’ conduct, as described in this complaint, constitutes “deceptive”

   acts or practices in violation of the Minnesota CFA.

            689.   Pursuant to Minn. Stat. § 8.31(3a), the plaintiffs seek actual damages, attorneys’

   fees, injunctive relief, and any other just and proper relief available under the Minnesota CFA.




      108
            Minn. Stat. § 325F.69(1).


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             690.   The plaintiffs also seek punitive damages under Minn. Stat. § 549.20(1)(a) given

   the clear and convincing evidence that each defendant’s acts showed deliberate disregard for the

   rights or safety of others.

                                       COUNT TWENTY-SEVEN

                         VIOLATION OF THE MINNESOTA DECEPTIVE
                                  TRADE PRACTICES ACT
                             MINN. STAT. §§ 325D.43-48, ET SEQ.
                      (AGAINST ELI LILLY, NOVO NORDISK, AND SANOFI)

             691.   The Minnesota plaintiffs hereby incorporate by reference the allegations

   contained in the preceding paragraphs of this Second Amended Complaint.

             692.   This claim is brought by the Minnesota plaintiffs on behalf of residents of

   Minnesota who are members of the class.

             693.   The Minnesota Deceptive Trade Practices Act (Minnesota DTPA) prohibits

   deceptive trade practices, which occur when a person “makes false or misleading statements of

   fact concerning the reasons for, existence of, or amounts of price reductions” or “engages in any

   other conduct which similarly creates a likelihood of confusion or of misunderstanding.” 109

             694.   The defendants’ conduct, as described in this complaint, constitutes “deceptive”

   acts or practices in violation of the Minnesota DTPA.

             695.   Pursuant to Minn. Stat. §§ 325 D.45, F.70, the plaintiffs seek actual damages,

   attorneys’ fees, injunctive relief, and any other just and proper relief available under the

   Minnesota DTPA.




       109
             Minn. Stat. § 325D.44.


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             696.    The plaintiffs also seek punitive damages under Minn. Stat. § 549.20(1)(a) given

   the clear and convincing evidence that each defendant’s acts showed deliberate disregard for the

   rights or safety of others.

                                        COUNT TWENTY-EIGHT

               VIOLATION OF THE MISSISSIPPI CONSUMER PROTECTION ACT
                             MISS. CODE § 75-24-1, ET SEQ.
                   (AGAINST ELI LILLY, NOVO NORDISK, AND SANOFI)

             697.    The Mississippi plaintiffs hereby incorporate by reference the allegations

   contained in the preceding paragraphs of this Second Amended Complaint.

             698.    This claim is brought by the Mississippi plaintiffs on behalf of residents of

   Mississippi who are members of the class.

             699.    The Mississippi Consumer Protection Act (Mississippi CPA) prohibits “unfair or

   deceptive trade practices in or affecting commerce.” 110 Unfair or deceptive practices include, but

   are not limited to, “[m]isrepresentations of fact concerning the reasons for, existence of, or

   amounts of price reductions.” 111

             700.    The defendants’ conduct, as described in this complaint, constitutes both

   “deceptive” and “unfair” acts or practices in violation of the Mississippi CPA.

             701.    The plaintiffs seek actual damages in an amount to be determined at trial any

   other just, injunctive relief, and proper relief available under the Mississippi CPA.




       110
             Miss. Code Ann. § 75-24-5(1).
       111
             Id. § 75-24-5(2).


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                                          COUNT TWENTY-NINE

             VIOLATION OF THE MISSOURI MERCHANDISING PRACTICES ACT
                           MO. REV. STAT. § 407.010, ET SEQ.
                  (AGAINST ELI LILLY, NOVO NORDISK, AND SANOFI)

            702.   The Missouri plaintiffs hereby incorporate by reference the allegations contained

   in the preceding paragraphs of this Second Amended Complaint.

            703.   This claim is brought by the Missouri plaintiffs on behalf of residents of Missouri

   who are members of the class.

            704.   The Missouri Merchandising Practices Act (Missouri MPA) makes unlawful the

   “act, use or employment by any person of any deception, fraud, false pretense, false promise,

   misrepresentation, unfair practice or the concealment, suppression, or omission of any material

   fact in connection with the sale or advertisement of any merchandise.” 112

            705.   The defendant, plaintiffs, and class members are “persons” within the meaning of

   Mo. Rev. Stat. § 407.010(5).

            706.   The defendant engaged in “trade” or “commerce” in the State of Missouri within

   the meaning of Mo. Rev. Stat. § 407.010(7).

            707.   The defendants’ conduct, as described in this complaint, constitutes both

   “deceptive” and “unfair” acts or practices in violation of the Missouri MPA.

            708.   The defendants are liable to the plaintiffs for damages in amounts to be proven at

   trial, including attorneys’ fees, costs, and punitive damages, as well as injunctive relief enjoining

   each defendant’s unfair and deceptive practices, and any other just and proper relief under Mo.

   Rev. Stat. § 407.025.




      112
            Mo. Rev. Stat. § 407.020.1.


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                                            COUNT THIRTY

                   VIOLATION OF THE MONTANA UNFAIR TRADE PRACTICES
                         AND CONSUMER PROTECTION ACT OF 1973
                            MONT. CODE ANN. § 30-14-101, ET SEQ.
                      (AGAINST ELI LILLY, NOVO NORDISK, AND SANOFI)

            709.    The Montana plaintiffs hereby incorporate by reference the allegations contained

   in the preceding paragraphs of this Second Amended Complaint.

            710.    This claim is brought by the Montana plaintiffs on behalf of residents of Montana

   who are members of the class.

            711.    The Montana Unfair Trade Practices and Consumer Protection Act (Montana

   CPA) makes unlawful any “[u]nfair methods of competition and unfair or deceptive acts or

   practices in the conduct of any trade or commerce.” 113

            712.    The defendants, plaintiffs, and class members are “persons” within the meaning

   of Mont. Code Ann. § 30-14-102(6).

            713.    The plaintiffs and class members are “consumer[s]” under Mont. Code Ann. § 30-

   14-102(1).

            714.    The sale of each drug at issue occurred within “trade and commerce” within the

   meaning of Mont. Code Ann. § 30-14-102(8), and each defendant committed deceptive and

   unfair acts in the conduct of “trade and commerce” as defined in that statutory section.

            715.    The defendants’ conduct, as described in this complaint, constitutes both

   “deceptive” and “unfair” acts or practices in violation of the Montana CPA.

            716.    Because the defendants’ unlawful methods, acts, and practices have caused the

   plaintiffs to suffer an ascertainable loss of money and property, the plaintiffs seek from each



      113
            Mont. Code Ann. § 30-14-103.


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   defendant the greater of actual damages or $500. The plaintiffs further seek to treble their actual

   damages under Mont. Code Ann. § 30-14-133.

            717.   The plaintiffs also seek reasonable attorneys’ fees under Mont. Code Ann. § 30-

   14-133.

            718.   Finally, the plaintiffs seek an order enjoining each defendant’s unfair, unlawful,

   and/or deceptive practices, and any other relief the Court considers necessary or proper under

   Mont. Code Ann. § 30-14-133.

                                         COUNT THIRTY-ONE

              VIOLATION OF THE NEBRASKA CONSUMER PROTECTION ACT
                          NEB. REV. STAT. § 59-1601, ET SEQ.
                  (AGAINST ELI LILLY, NOVO NORDISK, AND SANOFI)

            719.   The Nebraska plaintiffs hereby incorporate by reference the allegations contained

   in the preceding paragraphs of this Second Amended Complaint.

            720.   This claim is brought by the Nebraska plaintiffs on behalf of residents of

   Nebraska who are members of the class.

            721.   The Nebraska Consumer Protection Act (Nebraska CPA) prohibits “unfair or

   deceptive acts or practices in the conduct of any trade or commerce.” 114

            722.   The defendants, plaintiffs, and class members are “person[s]” under Neb. Rev.

   Stat. § 59-1601(1).

            723.   The defendants’ actions as set forth herein occurred in the conduct of trade or

   commerce as defined under Neb. Rev. Stat. § 59-1601(2).

            724.   The defendants’ conduct, as described in this complaint, constitutes both

   “deceptive” and “unfair” acts or practices in violation of the Nebraska CPA.


      114
            Neb. Rev. Stat. § 59-1602.


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             725.   Because the defendants’ conduct caused injury to the plaintiffs’ property through

   violations of the Nebraska CPA, the plaintiffs seek recovery of: actual damages, as well as

   enhanced damages up to $1,000; an order enjoining each defendant’s unfair or deceptive acts and

   practices; costs of Court; reasonable attorneys’ fees; and any other just and proper relief

   available under Neb. Rev. Stat. § 59-1609.

                                           COUNT THIRTY-TWO

              VIOLATION OF THE NEVADA DECEPTIVE TRADE PRACTICES ACT
                           NEV. REV. STAT. § 598.0903, ET SEQ.
                                  (AGAINST SANOFI)

             726.   The Nevada plaintiffs hereby incorporate by reference the allegations contained in

   the preceding paragraphs of this Second Amended Complaint.

             727.   This claim is brought by the Nevada plaintiffs on behalf of residents of Nevada

   who are members of the class.

             728.   The Nevada Deceptive Trade Practices Act (Nevada DTPA) prohibits deceptive

   trade practices. The statute provides that a person engages in a “deceptive trade practice” if, in

   the course of business or occupation, the person: “[m]akes false or misleading statements of fact

   concerning the price of goods or services for sale or lease, or the reasons for, existence of or

   amounts of price reductions” 115; “[k]nowingly makes any other false representation in a

   transaction” 116; “[f]ails to disclose a material fact in connection with the sale or lease of goods or

   services” 117; and/or “[m]akes an assertion of scientific, clinical or quantifiable fact in an

   advertisement which would cause a reasonable person to believe that the assertion is true, unless,


       115
             Nev. Rev. Stat. § 598.0915.
       116
             Id.
       117
             Id. § 598.0923.



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   at the time the assertion is made, the person making it has possession of factually objective

   scientific, clinical or quantifiable evidence which substantiates the assertion.” 118

            729.    The defendants’ conduct, as described in this complaint, constitutes “deceptive”

   acts or practices in violation of the Nevada CTPA.

            730.    The plaintiffs seek their actual damages, punitive damages, an order enjoining the

   defendants’ deceptive acts or practices, costs of court, attorneys’ fees, and all other appropriate

   and available remedies under Nev. Rev. Stat. § 41.600.

                                        COUNT THIRTY-THREE

                   VIOLATION OF THE NEW JERSEY CONSUMER FRAUD ACT
                               N.J. STAT. ANN. § 56:8-1, ET SEQ.
                      (AGAINST ELI LILLY, NOVO NORDISK, AND SANOFI)


            731.    The New Jersey plaintiffs hereby incorporate by reference the allegations

   contained in the preceding paragraphs of this Second Amended Complaint.

            732.    This claim is brought by the New Jersey plaintiffs on behalf of residents of New

   Jersey who are members of the class.

            733.    The New Jersey Consumer Fraud Act (NJCFA) makes unlawful “[t]he act, use or

   employment by any person of any unconscionable commercial practice, deception, fraud, false

   pretense, false promise, misrepresentation, or the knowing concealment, suppression or omission

   of any material fact with the intent that others rely upon such concealment, suppression or

   omission, in connection with the sale or advertisement of any merchandise or real estate, or with

   the subsequent performance of such person as aforesaid, whether or not any person has in fact

   been misled, deceived or damaged thereby . . . .” 119


      118
            Id. § 598.0925.
      119
            N.J. Stat. Ann. § 56:8-2.


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             734.    The defendants, plaintiffs, and class members are “persons” within the meaning

   of N.J. Stat. Ann. § 56:8-1(d).

             735.    The defendants engaged in “sales” of “merchandise” within the meaning of N.J.

   Stat. Ann. § 56:8-1(c), (d).

             736.    As described above, the defendants’ conduct, as described in this complaint,

   constitutes “deceptive,” “unfair,” and “unconscionable” acts or practices in violation of the

   NJCFA.

             737.    This wrongful conduct by the defendants, coupled with the damage the New

   Jersey plaintiffs and class members incurred, entitles members of the class to relief under the

   NJCFA. Section 19 of the Act provides a private right of action, with damages automatically

   trebled, to “[a]ny person who suffers any ascertainable loss of moneys or property, real or

   personal, as a result of the use or employment by another person of any method, act, or practice

   declared unlawful under this act . . . .” 120 “In any action under this section the court shall, in

   addition to any other appropriate legal or equitable relief, award threefold the damages sustained

   by any person in interest. In all actions under this section, . . . the court shall also award

   reasonable attorneys’ fees, filing fees and reasonable costs of suit.” 121

             738.    Therefore, the plaintiffs are entitled to recover legal and/or equitable relief,

   including an order enjoining unlawful conduct, treble damages, costs, and reasonable attorneys’

   fees pursuant to N.J. Stat. Ann. § 56:8-19, and any other just and appropriate relief.




       120
             N.J. Stat. Ann. § 56:8-19.
       121
             Id.


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                                         COUNT THIRTY-FOUR

             VIOLATION OF THE NEW MEXICO UNFAIR TRADE PRACTICES ACT
                             N.M. STAT. § 57-12-1, ET SEQ.
                        (AGAINST NOVO NORDISK AND SANOFI)

             739.   The New Mexico plaintiffs hereby incorporate by reference the allegations

   contained in the preceding paragraphs of this Second Amended Complaint.

             740.   This claim is brought by the New Mexico plaintiffs on behalf of residents of New

   Mexico who are members of the class.

             741.   The New Mexico Unfair Trade Practices Act (New Mexico UTPA) makes

   unlawful “a false or misleading oral or written statement, visual description or other

   representation of any kind knowingly made in connection with the sale . . . of goods or services

   . . . by a person in the regular course of the person’s trade or commerce, that may, tends to or

   does deceive or mislead any person,” including, but not limited to: “making false or misleading

   statements of fact concerning the price of goods or services, the prices of competitors or one’s

   own price at a past or future time or the reasons for, existence of or amounts of price reduction”;

   “making false or misleading statements of fact for the purpose of obtaining appointments for the

   demonstration, exhibition or other sales presentation of goods or services”; and/or “failing to

   state a material fact if doing so deceives or tends to deceive.” 122

             742.   The New Mexico UTPA further makes unlawful “unconscionable trade

   practice[s],” meaning “an act or practice in connection with the sale . . . or in connection with the

   offering for sale . . . of any goods or services, . . . that to a person’s detriment: (1) takes

   advantage of the lack of knowledge, ability, experience or capacity of a person to a grossly unfair



       122
             N.M. Stat. Ann. § 57-12-2(D).



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   degree; or (2) results in a gross disparity between the value received by a person and the price

   paid.” 123

             743.    The defendants, plaintiffs, and class members are “person[s]” under N.M. Stat.

   § 57-12-2.

             744.    The defendants’ actions as set forth herein occurred in the conduct of trade or

   commerce as defined under N.M. Stat. § 57-12-2.

             745.    The defendants’ conduct, as described in this complaint, constitutes a pattern of

   “false or misleading oral or written statement[s]” in violation of N.M. Stat. Ann. § 57-12-2(D).

             746.    The defendants’ conduct, as described in this complaint, also constitutes a pattern

   of “unconscionable trade practice[s]” in violation of N.M. Stat. Ann. § 57-12-2(E).

             747.    Because the defendants’ false, unconscionable, and willful conduct caused actual

   harm to the plaintiffs, the plaintiffs seek recovery of: actual damages or $100, whichever is

   greater; discretionary treble damages; punitive damages; reasonable attorneys’ fees and costs;

   injunctive relief, and all other proper and just relief available under N.M. Stat. § 57-12-10.

                                         COUNT THIRTY-FIVE

                    VIOLATION OF THE NEW YORK GENERAL BUSINESS LAW
                                N.Y. GEN. BUS. LAW §§ 349-350
                      (AGAINST ELI LILLY, NOVO NORDISK, AND SANOFI)

             748.    The New York plaintiffs hereby incorporate by reference the allegations

   contained in the preceding paragraphs of this Second Amended Complaint.

             749.    This claim is brought by the New York plaintiffs on behalf of residents of New

   York who are members of the class.



       123
             Id. § 57-12-2(E).



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            750.   The New York General Business Law (New York GBL) makes unlawful

   “[d]eceptive acts or practices in the conduct of any business, trade or commerce.” 124

            751.   The plaintiffs and class members are “persons” within the meaning of N.Y. Gen.

   Bus. Law § 349(h).

            752.   Each defendant is a “person,” “firm,” “corporation,” or “association” within the

   meaning of N.Y. Gen. Bus. Law § 349.

            753.   The defendants’ conduct, as described in this complaint, constitutes deceptive acts

   in violation of the New York GBL.

            754.   The defendants’ deceptive acts and practices, which were intended to mislead

   consumers who purchased analog insulin, constitutes conduct directed at consumers.

            755.   Because the defendants’ willful and knowing conduct caused injury to the

   plaintiffs, the plaintiffs seek recovery of: actual damages or $50, whichever is greater;

   discretionary treble damages up to $1,000; punitive damages; reasonable attorneys’ fees and

   costs; an order enjoining defendants’ unlawful conduct; and any other just and proper relief

   available under N.Y. Gen. Bus. Law § 349.

                                        COUNT THIRTY-SIX

       VIOLATION OF THE NORTH CAROLINA UNFAIR AND DECEPTIVE TRADE
                               PRACTICES ACT
                        N.C. GEN. STAT. § 75-1.1, ET SEQ.
                    (AGAINST NOVO NORDISK AND SANOFI)

            756.   The North Carolina plaintiffs hereby incorporate by reference the allegations

   contained in the preceding paragraphs of this Second Amended Complaint.




      124
            N.Y. Gen. Bus. Law § 349.


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             757.    This claim is brought by the North Carolina plaintiffs on behalf of residents of

   North Carolina who are members of the class.

             758.    North Carolina’s Unfair and Deceptive Acts and Practices Act (NCUDTPA)

   broadly prohibits “unfair or deceptive acts or practices in or affecting commerce.” 125

             759.    The defendants’ conduct, as described in this complaint, constitutes “deceptive

   acts” in violation of the NCUDTPA.

             760.    In addition, the defendants’ conduct, as described in this complaint, constitutes

   “unfair” acts in violation of the NCUDTPA. 126

             761.    Defendants engaged in “commerce” within the meaning of N.C. Gen. Stat. § 75-

   1.1(b).

             762.    Section 75-16 of the NCUDTPA provides injured persons with a private right of

   action and automatic trebling of damages: “If any person shall be injured or the business of any

   person, firm or corporation shall be broken up, destroyed or injured by reason of any act or thing

   done by any other person, firm or corporation in violation of the provisions of this Chapter, such

   person, firm or corporation so injured shall have a right of action on account of such injury done,

   and if damages are assessed in such case judgment shall be rendered in favor of the plaintiff and

   against the defendant for treble the amount fixed by the verdict.” 127




      125
             N.C. Gen. Stat. § 75-1.1(a).
      126
          Melton v. Family First Mortg. Corp., 576 S.E.2d 365, 368 (2003) (“A practice is unfair
   [under the NCUDTPA] when it offends established public policy as well as when the practice is
   immoral, unethical, oppressive, unscrupulous, or substantially injurious to consumers” and
   offering a separate definition for “deceptive” practices (internal quotation marks and citations
   omitted)).
      127
             N.C. Gen. Stat. § 75-16.


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            763.    The plaintiffs seek an order trebling their actual damages, an order enjoining

   defendants’ unlawful acts, costs of Court, attorney’s fees, and any other just and proper relief

   available under N.C. Gen. Stat. § 75-16.

                                       COUNT THIRTY-SEVEN

                  VIOLATION OF THE NORTH DAKOTA CONSUMER FRAUD ACT
                                 N.D. CENT. CODE § 51-15-02
                                   (AGAINST ELI LILLY)

            764.    The North Dakota plaintiffs hereby incorporate by reference the allegations

   contained in the preceding paragraphs of this Second Amended Complaint.

            765.    This claim is brought by the North Dakota plaintiffs on behalf of residents of

   North Dakota who are members of the class.

            766.    The North Dakota Consumer Fraud Act (North Dakota CFA) makes unlawful the

   “act, use, or employment by any person of any deceptive act or practice, fraud, false pretense,

   false promise, or misrepresentation, with the intent that others rely thereon in connection with the

   sale or advertisement of any merchandise, whether or not any person has in fact been misled,

   deceived, or damaged thereby, is declared to be an unlawful practice.” 128 The statute further

   provides that the “act, use, or employment by any person of any act or practice, in connection

   with the sale or advertisement of any merchandise, which is unconscionable or which causes or

   is likely to cause substantial injury to a person which is not reasonably avoidable by the injured

   person and not outweighed by countervailing benefits to consumers or to competition, is declared

   to be an unlawful practice.” 129




      128
            N.D. Cent. Code § 51-15-02.
      129
            Id.


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            767.   The defendants, plaintiffs, and class members are “persons” within the meaning

   of N.D. Cent. Code § 51-15-02(4).

            768.   The defendants engaged in the “sale” of “merchandise” within the meaning of

   N.D. Cent. Code § 51-15-02(3), (5).

            769.   The defendants’ conduct, as described in this complaint, constitutes “deceptive

   acts” in violation of the North Dakota CFA.

            770.   In addition, the defendants’ conduct, as described in this complaint, constitutes

   “unconscionable conduct” acts in violation of the North Dakota CFA.

            771.   The defendants knowingly committed the conduct described above. As a result,

   under N.D. Cent. Code § 51-15-09, the defendants are liable to the plaintiffs for treble damages

   in amounts to be proven at trial, attorneys’ fees, costs, and disbursements. The plaintiffs further

   seek an order enjoining each defendant’s unfair and/or deceptive acts or practices as well as

   other just and proper available relief under the North Dakota CFA.

                                      COUNT THIRTY-EIGHT

               VIOLATION OF THE OHIO CONSUMER SALES PRACTICES ACT
                        OHIO REV. CODE ANN. § 1345.01, ET SEQ.
                   (AGAINST ELI LILLY, NOVO NORDISK, AND SANOFI)

            772.   The Ohio plaintiffs hereby incorporate by reference the allegations contained in

   the preceding paragraphs of this Second Amended Complaint.

            773.   This claim is brought by the Ohio plaintiffs on behalf of residents of Ohio who

   are members of the class.

            774.   The Ohio Consumer Sales Practices Act (Ohio CSPA) broadly prohibits “unfair

   or deceptive act[s] or practice[s] in connection with a consumer transaction.” 130 Specifically, and


      130
            Ohio Rev. Code Ann. § 1345.02.


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   without limitation on the broad prohibition, the Ohio CSPA prohibits suppliers from representing

   that “a specific price advantage exists, if it does not.” 131

             775.   Each defendant is a “supplier” as that term is defined in Ohio Rev. Code Ann.

   § 1345.01(C).

             776.   The plaintiffs and class members are “consumers” as that term is defined in Ohio

   Rev. Code Ann. § 1345.01(D).

             777.   The plaintiffs’ purchases of analog insulins are “consumer transaction” within the

   meaning of Ohio Rev. Code Ann. § 1345.01(A).

             778.   The defendants’ conduct, as described in this complaint, constitutes “deceptive

   acts” in violation of the Ohio CSPA.

             779.   In addition, the defendants’ conduct, as described in this complaint, constitutes

   “unfair” acts in violation of the Ohio CSPA.

             780.   As a result of the defendants’ wrongful conduct, the plaintiffs have been damaged

   in an amount to be proven at trial. They seek all just and proper remedies, including, but not

   limited to: actual and statutory damages, an order enjoining defendants’ deceptive and unfair

   conduct, treble damages, court costs, and reasonable attorneys’ fees, pursuant to Ohio Rev. Code

   Ann. § 1345.09, et seq.

                                         COUNT THIRTY-NINE

               VIOLATION OF THE OKLAHOMA CONSUMER PROTECTION ACT
                           OKLA. STAT. TIT. 15, § 751, ET SEQ.
                    (AGAINST ELI LILLY, NOVO NORDISK, AND SANOFI)

             781.   The Oklahoma plaintiffs hereby incorporate by reference the allegations

   contained in the preceding paragraphs of this Second Amended Complaint.


       131
             Id.


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            782.    This claim is brought by the Oklahoma plaintiffs on behalf of residents of

   Oklahoma who are members of the class.

            783.    The Oklahoma Consumer Protection Act (Oklahoma CPA) declares unlawful,

   inter alia, the following acts or practices when committed in the course of business: making

   “false or misleading statements of fact, knowingly or with reason to know, concerning the price

   of the subject of a consumer transaction or the reason for, existence of, or amounts of price

   reduction” 132 and/or “any practice which offends established public policy or if the practice is

   immoral, unethical, oppressive, unscrupulous or substantially injurious to consumers.” 133

            784.    The Oklahoma CPA further provides that if “[t]he commission of any act or

   practice declared to be a violation of the Consumer Protection Act” “is also found to be

   unconscionable,” the violator is liable to the aggrieved customer for the payment of a civil

   penalty, recoverable in an individual action only, in a sum set by the court of not more than Two

   Thousand Dollars ($2,000.00) for each violation.” 134 “In determining whether an act or practice

   is unconscionable the following circumstances shall be taken into consideration by the court: (1)

   whether the violator knowingly or with reason to know, took advantage of a consumer

   reasonably unable to protect his or her interests because of his or her age, physical infirmity,

   ignorance, illiteracy, inability to understand the language of an agreement or similar factor; (2)

   whether, at the time the consumer transaction was entered into, the violator knew or had reason

   to know that price grossly exceeded the price at which similar property or services were readily

   obtainable in similar transactions by like consumers; . . . [and] (4) whether the violator knew or


      132
            Okla. Stat. tit. 15, § 753.
      133
            Id. § 752.
      134
            Id. § 761.1.



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   had reason to know that the transaction he or she induced the consumer to enter into was

   excessively one-sided in favor of the violator.” 135

             785.   The plaintiffs and class members are “persons” under Okla. Stat. tit. 15, § 752.

             786.   Each defendant is a “person,” “corporation,” or “association” within the meaning

   of Okla. Stat. tit. 15, § 15-751(1).

             787.   The sale of insulin to the plaintiffs was a “consumer transaction” within the

   meaning of Okla. Stat. tit. 15, § 752, and each defendant’s actions as set forth herein occurred in

   the conduct of trade or commerce.

             788.   The defendants’ conduct, as described in this complaint, constitutes “false or

   misleading statements” in violation of the Oklahoma CPA. The defendants’ conduct, as

   described in this complaint, further constitutes practices that are immoral, unethical, oppressive,

   unscrupulous or substantially injurious to consumers in violation of the Oklahoma CPA.

             789.   The defendants’ conduct as alleged herein was also unconscionable because (1)

   the defendants, knowingly or with reason to know, took advantage of consumers reasonably

   unable to protect their interests because of their age, physical infirmity, ignorance, illiteracy,

   inability to understand the language of an agreement or similar factor; (2) the defendants knew or

   had reason to know that their benchmark prices grossly exceeded the prices at which similar

   property or services were readily obtainable in similar transactions by like consumers; and (3)

   the defendants knew or had reason to know that the transactions they induced the consumers to

   enter were excessively one-sided in favor of each defendant.

             790.   The plaintiffs seek punitive damages because the defendants’ conduct was

   egregious. The defendants misrepresented the actual prices of their analog insulins, inflated their


       135
             Id.


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   benchmark prices, and concealed the reasons for and amount of the rebates offered to PBMs to

   increase their profits at the expense of consumers. They manipulated the prices of their life-

   saving analog insulins without regard to the impact of their scheme on consumers’ ability to

   afford these life-saving drugs. The defendants’ egregious conduct warrants punitive damages.

            791.    Furthermore, because the defendants’ unconscionable conduct caused injury to

   plaintiffs, plaintiffs seek recovery of actual damages, discretionary penalties up to $2,000 per

   violation, and reasonable attorneys’ fees under Okla. Stat. tit. 15, § 761.1. The plaintiffs further

   seek an order enjoining each defendant’s unfair and/or deceptive acts or practices and any other

   just and proper relief available under the Oklahoma CPA.

                                            COUNT FORTY

            VIOLATION OF THE OREGON UNLAWFUL TRADE PRACTICES ACT
                          OR. REV. STAT. § 646.605, ET SEQ.
                      (AGAINST NOVO NORDISK AND SANOFI)

            792.    The Oregon plaintiffs hereby incorporate by reference the allegations contained in

   the preceding paragraphs of this Second Amended Complaint.

            793.    This claim is brought by the Oregon plaintiffs on behalf of residents of Oregon

   who are members of the class.

            794.    The Oregon Unfair Trade Practices Act (Oregon UTPA) prohibits a person from,

   in the course of the person’s business: making “false or misleading representations of fact

   concerning the reasons for, existence of, or amounts of price reductions”; making “false or

   misleading representations of fact concerning the offering price of, or the person’s cost for . . .

   goods”; or engaging “in any other unfair or deceptive conduct in trade or commerce.” 136

            795.    Each defendant is a person within the meaning of Or. Rev. Stat. § 646.605(4).


      136
            Or. Rev. Stat. § 646.608(1).


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            796.   Each analog insulin at issue is a “good” obtained primarily for personal family or

   household purposes within the meaning of Or. Rev. Stat. § 646.605(6).

            797.   The defendants’ conduct, as described in this complaint, constitutes “false or

   misleading representations of fact concerning the reasons for, existence of, or amounts of price

   reductions” on the analog insulins; “false or misleading representations of fact concerning the

   offering price of, or the person’s cost for” the analog insulins; and “unfair or deceptive

   conduct.” 137

            798.   The plaintiffs are entitled to recover the greater of actual damages or $200

   pursuant to Or. Rev. Stat. § 646.638(1). The plaintiffs are also entitled to punitive damages

   because defendants engaged in conduct amounting to a particularly aggravated, deliberate

   disregard of the rights of others. The plaintiffs further seek an order enjoining each defendant’s

   unfair and/or deceptive acts or practices and any other just and proper relief available under Or.

   Rev. Stat. §§ 646.632, 636.

                                        COUNT FORTY-ONE

              VIOLATION OF THE PENNSYLVANIA UNFAIR TRADE PRACTICES
                         AND CONSUMER PROTECTION LAW
                          73 PA. CONS. STAT. § 201-1, ET SEQ.
                      (AGAINST ELI LILLY AND NOVO NORDISK)

            799.   The Pennsylvania plaintiffs hereby incorporate by reference the allegations

   contained in the preceding paragraphs of this Second Amended Complaint.

            800.   This claim is brought by the Pennsylvania plaintiffs on behalf of residents of

   Pennsylvania who are members of the class.




      137
            Id.


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            801.    The Pennsylvania Unfair Trade Practices and Consumer Protection Law

   (Pennsylvania CPL) prohibits “unfair or deceptive acts or practices,” including: “[m]aking false

   or misleading statements of fact concerning the reasons for, existence of, or amounts of price

   reductions” and “[e]ngaging in any other fraudulent or deceptive conduct which creates a

   likelihood of confusion or of misunderstanding.” 138

            802.    The defendants, plaintiffs, and class members are “persons” within the meaning

   of 73 Pa. Cons. Stat. § 201-2(2).

            803.    The plaintiffs purchased analog insulin primarily for personal, family, or

   household purposes within the meaning of 73 Pa. Cons. Stat. § 201-9.2.

            804.    All of the acts complained of herein were perpetrated by the defendants in the

   course of trade or commerce within the meaning of 73 Pa. Cons. Stat. § 201-2(3).

            805.    The defendants’ conduct, as described in this complaint, constitutes “deceptive

   acts” in violation of the Pennsylvania CPL.

            806.    In addition, the defendants’ conduct, as described in this complaint, constitutes

   “unfair” acts in violation of the Pennsylvania CPL.

            807.    The defendants are liable to the plaintiffs for treble their actual damages or $100,

   whichever is greater, and attorneys’ fees and costs. 139 The plaintiffs are also entitled to an award

   of punitive damages because the defendants’ conduct was malicious, wanton, willful, oppressive,

   or exhibited a reckless indifference to the rights of others.




      138
            73 Pa. Cons. Stat. § 201-2(4).
      139
            73 Pa. Cons. Stat. § 201-9.2(a).


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                                        COUNT FORTY-TWO

                          VIOLATION OF THE SOUTH CAROLINA
                             UNFAIR TRADE PRACTICES ACT
                             S.C. CODE ANN. § 39-5-10, ET SEQ.
                     (AGAINST ELI LILLY, NOVO NORDISK, AND SANOFI)

            808.   The South Carolina plaintiffs hereby incorporate by reference the allegations

   contained in the preceding paragraphs of this Second Amended Complaint.

            809.   This claim is brought by the South Carolina plaintiffs on behalf of residents of

   South Carolina who are members of the class.

            810.   The South Carolina Unfair Trade Practices Act (South Carolina UTPA) prohibits

   “unfair or deceptive acts or practices in the conduct of any trade or commerce.” 140

            811.   Each defendant is a “person” under S.C. Code Ann. § 39-5-10.

            812.   The defendants’ conduct, as described in this complaint, constitutes “deceptive

   acts” in violation of the South Carolina UTPA.

            813.   In addition, the defendants’ conduct, as described in this complaint, constitutes

   “unfair” acts in violation of the South Carolina UTPA.

            814.   Pursuant to S.C. Code Ann. § 39-5-140(a), the plaintiffs seek monetary relief to

   recover their economic losses. Because the defendants’ actions were willful and knowing, the

   plaintiffs’ damages should be trebled.

            815.   The plaintiffs further allege that the defendants’ malicious and deliberate conduct

   warrants an assessment of punitive damages because the defendants carried out despicable

   conduct with willful and conscious disregard of the rights and safety of others, subjecting the

   plaintiffs to cruel and unjust hardship as a result. The defendants misrepresented the actual prices



      140
            S.C. Code Ann. § 39-5-20(a).


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   of the analog insulins, inflated their benchmark prices, and concealed the reasons for and amount

   of the rebates offered to PBMs to increase their profits at the expense of consumers. They

   manipulated the prices of their life-saving products without regard to the impact of their scheme

   on consumers’ ability to afford life-saving medicines. The defendants’ unlawful conduct

   constitutes malice, oppression, and fraud warranting punitive damages.

             816.   The plaintiffs further seek an order enjoining each defendant’s unfair or deceptive

   acts or practices.

                                        COUNT FORTY-THREE

               VIOLATION OF THE TENNESSEE CONSUMER PROTECTION ACT
                          TENN. CODE ANN. § 47-18-101, ET SEQ.
                       (AGAINST ELI LILLY AND NOVO NORDISK)

             817.   The Tennessee plaintiffs hereby incorporate by reference the allegations

   contained in the preceding paragraphs of this Second Amended Complaint.

             818.   This claim is brought by the Tennessee plaintiffs on behalf of residents of

   Tennessee who are members of the class.

             819.   Tennessee Consumer Protection Act (Tennessee CPA) prohibits “[u]nfair or

   deceptive acts or practices affecting the conduct of any trade or commerce,” including, but not

   limited to, “[m]aking false or misleading statements of fact concerning the reasons for, existence

   of, or amounts of price reductions.” 141

             820.   The plaintiffs and class members are “natural persons” and “consumers” within

   the meaning of Tenn. Code Ann. § 47-18-103(2).

             821.   Each defendant is a “person” within the meaning of Tenn. Code Ann. § 47-18-

   103(2).


       141
             Tenn. Code Ann. § 47-18-104.


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            822.   Each defendant’s conduct complained of herein affected “trade,” “commerce,” or

   “consumer transactions” within the meaning of Tenn. Code Ann. § 47-18-103(19).

            823.   The defendants’ conduct, as described in this complaint, constitutes “deceptive

   acts” in violation of the Tennessee CPA.

            824.   Pursuant to Tenn. Code Ann. § 47-18-109(a), the plaintiffs seek monetary relief

   against each defendant measured as actual damages in an amount to be determined at trial, treble

   damages as a result of defendants’ willful or knowing violations, and any other just and proper

   relief available under the Tennessee CPA.

                                        COUNT FORTY-FOUR

       VIOLATION OF THE TEXAS DECEPTIVE TRADE PRACTICES CONSUMER
                              PROTECTION ACT
                    TEX. BUS. & COM. CODE § 17.41, ET SEQ.
               (AGAINST ELI LILLY, NOVO NORDISK, AND SANOFI)

            825.   The Texas plaintiffs hereby incorporate by reference the allegations contained in

   the preceding paragraphs of this Second Amended Complaint.

            826.   This claim is brought by the Texas plaintiffs on behalf of residents of Texas who

   are members of the class.

            827.   Plaintiffs are individuals, partnerships, and corporations with assets of less than

   $25 million (or are controlled by corporations or entities with less than $25 million in assets). 142

            828.   The Texas Deceptive Trade Practices-Consumer Protection Act (TDTPA)

   provides: “(a) A consumer may maintain an action where any of the following constitute a

   producing cause of economic damages or damages for mental anguish: (1) the use or

   employment by any person of a false, misleading, or deceptive act or practice that is: (A)



      142
            See Tex. Bus. & Com. Code § 17.41.


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   specifically enumerated in a subdivision of Subsection (b) of Section 17.46 of this subchapter;

   and (B) relied on by a consumer to the consumer’s detriment; . . . [and] ([2]) any unconscionable

   action or course of action by any person . . . .” 143

             829.    The TDTPA defines an “unconscionable action or course of action” as “an act or

   practice which, to a consumer’s detriment, takes advantage of the lack of knowledge, ability,

   experience, or capacity of the consumer to a grossly unfair degree.” 144 The Texas courts further

   define an unconscionable act as “one that takes advantage of the lack of knowledge, ability,

   experience, or capacity of a person to a ‘grossly unfair degree,’ or which results in a gross

   disparity between the value received and consideration paid, in a transaction involving transfer of

   consideration.” 145

             830.    As alleged in this complaint, the defendants have engaged in false, misleading, or

   deceptive acts.

             831.    They have also engaged in unconscionable actions in violation of the TDTPA.

   The defendants knew, or had reason to know, that consumers would rely on their reported

   benchmark price as the prices of their analog insulin. And they knew that these benchmark prices

   were not fair or reasonable approximations of the actual cost of those analog insulins.



       143
             Id. § 17.50.
       144
             Id. § 17.45(5).
       145
          Brennan v. Manning, No. 07-06-0041-CV, 2007 WL 1098476, at *5 (Tex. App. Apr. 12,
   2007); see also Lon Smith & Assocs., Inc. v. Key, 527 S.W.3d 604, 623, 2017 WL 3298391, at
   *11 (Tex. Ct. App. Aug 3, 2017) (“The DTPA defines ‘[u]nconscionable action or course of
   action’ as ‘an act or practice which, to a consumer’s detriment, takes advantage of the lack of
   knowledge, ability, experience, or capacity of the consumer to a grossly unfair degree.’”
   (quoting Tex. Bus. & Comm. Code Ann. § 17.45(5))); Robinson v. Match.com, L.L.C., 3:10-CV-
   2651-L, 2012 WL 5007777, at *4 (N.D. Tex. Oct. 17, 2012), aff’d sub nom. Malsom v.
   Match.com, L.L.C., 540 F. App’x 412 (5th Cir. 2013); McPeters v. LexisNexis, 910 F. Supp. 2d
   981, 988 (S.D. Tex. 2012).


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          832.    Pursuant to Tex. Bus. & Com. Code § 17.50(a)(1) and (b), the plaintiffs seek

   monetary relief against the defendants measured as actual damages in an amount to be

   determined at trial, treble damages for defendants’ knowing violations of the TDTPA, and any

   other just and proper relief available under the TDTPA.

          833.    Alternatively, or additionally, pursuant to Tex. Bus. & Com. Code § 17.50(b)(3)

   & (4), the plaintiffs who purchased analog insulin from the defendants in the class period are

   entitled to disgorgement or to rescission or to any other relief necessary to restore any money or

   property that was acquired from them based on the defendants’ violations of the TDTPA.

          834.    The plaintiffs are also entitled to recover court costs and reasonable and necessary

   attorneys’ fees under § 17.50(d) of the TDTPA.

          835.    On January 24, 2017, and January 25, 2017, the plaintiffs sent letters complying

   with Tex. Bus. & Com. Code § 17.50(a) to defendants. Because the defendants failed to remedy

   their unlawful conduct within the requisite period, the plaintiffs seek all damages and relief to

   which they are entitled.

                                        COUNT FORTY-FIVE

              VIOLATION OF THE UTAH CONSUMER SALE PRACTICES ACT
                            UTAH CODE § 13-11-1, ET SEQ.
                  (AGAINST ELI LILLY, NOVO NORDISK, AND SANOFI)

          836.    The Utah plaintiffs hereby incorporate by reference the allegations contained in

   the preceding paragraphs of this Second Amended Complaint.

          837.    This claim is brought by the Utah plaintiffs on behalf of residents of Utah who are

   members of the class.




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             838.    The Utah Consumer Sales Practices Act (Utah CSPA) makes unlawful any

   “deceptive act or practice by a supplier in connection with a consumer transaction,” including,

   but not limited to, “indicat[ing] that a specific price advantage exists, if it does not.” 146

             839.    “An unconscionable act or practice by a supplier in connection with a consumer

   transaction” also violates the Utah CSPA. 147

             840.    As alleged in this complaint, the defendants have engaged in deceptive acts in

   violation of the Utah CSPA.

             841.    They have also engaged in unconscionable actions in violation of the Utah CSPA.

   The defendants knew, or had reason to know, that consumers would rely on their reported

   benchmark price as the prices of their analog insulin. And they knew that these benchmark prices

   were not fair or reasonable approximations of the actual cost of those analog insulins.

             842.    Pursuant to Utah Code Ann. § 13-11-4, the plaintiffs seek: monetary relief

   measured as the greater of (a) actual damages in an amount to be determined at trial and (b)

   statutory damages in the amount of $2,000 for each plaintiff; reasonable attorneys’ fees; and any

   other just and proper relief available under the Utah CSPA.

                                           COUNT FORTY-SIX

                VIOLATION OF THE VIRGINIA CONSUMER PROTECTION ACT
                            VA. CODE ANN. § 59.1-196, ET SEQ.
                    (AGAINST ELI LILLY, NOVO NORDISK, AND SANOFI)

             843.    The Virginia plaintiffs hereby incorporate by reference the allegations contained

   in the preceding paragraphs of this Second Amended Complaint.




       146
             Utah Code § 13-11-4.
       147
             Id. § 13-11-5.


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            844.   This claim is brought by the Virginia plaintiffs on behalf of residents of Virginia

   who are members of the class.

            845.   The Virginia Consumer Protection Act (Virginia CPA) lists prohibited

   “fraudulent acts or practices” which include: “[m]aking false or misleading statements of fact

   concerning the reasons for, existence of, or amounts of price reductions” and “[u]sing any other

   deception, fraud, false pretense, false promise, or misrepresentation in connection with a

   consumer transaction.” 148

            846.   Each defendant is a “supplier” under Va. Code Ann. § 59.1-198.

            847.   The defendants’ advertisements of the analog insulins’ benchmark prices were

   “consumer transactions” within the meaning of Va. Code Ann. § 59.1-198.

            848.   The defendants’ conduct, as described in this complaint, constitutes “fraudulent

   acts” in violation of the Virginia CPA.

            849.   Pursuant to Va. Code Ann. § 59.1-204, the plaintiffs seek monetary relief against

   each defendant measured as the greater of (a) actual damages in an amount to be determined at

   trial and (b) statutory damages in the amount of $500 for each plaintiff. Because the defendants’

   conduct was committed willfully and knowingly, the plaintiffs are entitled to recover, for each

   plaintiff, the greater of (a) three times actual damages or (b) $1,000.

            850.   The plaintiffs also seek an order enjoining each defendant’s unfair and/or

   deceptive acts or practices, punitive damages, attorneys’ fees, and any other just and proper relief

   available under Va. Code Ann. § 59.1-204, et seq.




      148
            Va. Code Ann. § 59.1-200.


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                                       COUNT FORTY-SEVEN

            VIOLATION OF THE WASHINGTON CONSUMER PROTECTION ACT
                       WASH. REV. CODE § 19.86.010, ET SEQ.
                 (AGAINST ELI LILLY, NOVO NORDISK, AND SANOFI)

            851.   The Washington plaintiffs hereby incorporate by reference the allegations

   contained in the preceding paragraphs of this Second Amended Complaint.

            852.   This claim is brought by the Washington plaintiffs on behalf of residents of

   Washington who are members of the class.

            853.   The Washington Consumer Protection Act (Washington CPA) broadly prohibits

   “[u]nfair methods of competition and unfair or deceptive acts or practices in the conduct of any

   trade or commerce.” 149

            854.   Defendants committed the acts complained of herein in the course of “trade” or

   “commerce” within the meaning of Wash. Rev. Code. § 19.86.010.

            855.   The defendants’ conduct, as described in this complaint, constitutes “deceptive

   acts” in violation of the Washington CPA.

            856.   The defendants’ conduct, as described in this complaint, constitutes “unfair acts”

   in violation of the Washington CPA.

            857.   The defendants are liable to the plaintiffs for damages in amounts to be proven at

   trial, including attorneys’ fees, costs, and treble damages, as well as any other remedies the Court

   may deem appropriate under Wash. Rev. Code. § 19.86.090.




      149
            Wash. Rev. Code. § 19.86.020.


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                                        COUNT FORTY-EIGHT

                   VIOLATION OF THE WEST VIRGINIA CONSUMER CREDIT
                                  AND PROTECTION ACT
                             W. VA. CODE § 46A-1-101, ET SEQ.
                     (AGAINST ELI LILLY, NOVO NORDISK, AND SANOFI)

            858.    The West Virginia plaintiffs hereby incorporate by reference the allegations

   contained in the preceding paragraphs of this Second Amended Complaint.

            859.    This claim is brought by the West Virginia plaintiffs on behalf of residents of

   West Virginia who are members of the class.

            860.    The West Virginia Consumer Credit and Protection Act (West Virginia CCPA)

   prohibits “unfair or deceptive acts or practices in the conduct of any trade or commerce.” 150

   Without limitation, “unfair or deceptive” acts or practices include:

                    (I)    Advertising goods or services with intent not to sell them as
                           advertised;

                    ...

                    (K)     Making false or misleading statements of fact concerning
                    the reasons for, existence of or amounts of price reductions;

                    (L)     Engaging in any other conduct which similarly creates a
                    likelihood of confusion or of misunderstanding;

                    (M) The act, use or employment by any person of any
                    deception, fraud, false pretense, false promise or
                    misrepresentation, or the concealment, suppression or omission of
                    any material fact with intent that others rely upon such
                    concealment, suppression or omission, in connection with the sale
                    or advertisement of any goods or services, whether or not any
                    person has in fact been misled, deceived or damaged thereby;

                    (N)    Advertising, printing, displaying, publishing, distributing or
                    broadcasting, or causing to be advertised, printed, displayed,
                    published, distributed or broadcast in any manner, any statement or
                    representation with regard to the sale of goods or the extension of
                    consumer credit including the rates, terms or conditions for the sale
      150
            W. Va. Code § 46A-6-104.


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                    of such goods or the extension of such credit, which is false,
                    misleading or deceptive or which omits to state material
                    information which is necessary to make the statements therein not
                    false, misleading or deceptive.[151]

             861.   The defendants are “persons” under W. Va. Code § 46A-1-102(31).

             862.   The plaintiffs are “consumers,” as defined by W. Va. Code § 46A-6-102(2).

             863.   The defendants engaged in trade or commerce as defined by W. Va. Code § 46A-

   6-102(6).

             864.   The defendants’ conduct, as described in this complaint, constitutes “deceptive

   acts” in violation of the West Virginia CCPA.

             865.   The defendants’ conduct, as described in this complaint, constitutes “unfair acts”

   in violation of the West Virginia CCPA.

             866.   Pursuant to W. Va. Code § 46A-6-106, the plaintiffs seek monetary relief against

   the defendants measured as the greater of (a) actual damages in an amount to be determined at

   trial and (b) statutory damages in the amount of $200 per violation of the West Virginia CCPA

   for each plaintiff.

             867.   The plaintiffs also seek punitive damages against the defendants because they

   carried out despicable conduct with willful and conscious disregard of the rights of others,

   subjecting plaintiffs to cruel and unjust hardship as a result.

             868.   The plaintiffs further seek an order enjoining the defendants’ unfair or deceptive

   acts or practices, restitution, punitive damages, costs of court, attorney’s fees under W. Va. Code

   § 46A-5-101, et seq., and any other just and proper relief available under the West Virginia

   CCPA.



       151
             Id. § 46A-6-102(7).


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            869.    On January 24, 2017, and January 25, 2017, the plaintiffs sent letters complying

   with W. Va. Code § 46A-6-106(b) to the defendants. Because the defendants failed to remedy

   their unlawful conduct within the requisite period, the plaintiffs seek all damages and relief to

   which they are entitled.

                                         COUNT FORTY-NINE

                             VIOLATION OF THE WISCONSIN
                           DECEPTIVE TRADE PRACTICES ACT
                                    WIS. STAT. § 100.18
                     (AGAINST ELI LILLY, NOVO NORDISK, AND SANOFI)

            870.    The Wisconsin plaintiffs hereby incorporate by reference the allegations

   contained in the preceding paragraphs of this Second Amended Complaint.

            871.    This claim is brought by the Wisconsin plaintiffs on behalf of residents of

   Wisconsin who are members of the class.

            872.    The Wisconsin Deceptive Trade Practices Act (Wisconsin DTPA) prohibits a

   “representation or statement of fact which is untrue, deceptive or misleading.” 152

            873.    Each defendant is a “person, firm, corporation or association” within the meaning

   of Wis. Stat. § 100.18(1).

            874.    The plaintiffs and class members are members of “the public” within the meaning

   of Wis. Stat. § 100.18(1). Plaintiffs purchased analog insulin.

            875.    The defendants’ conduct, as described in this complaint, constitutes

   “representation[s] or statement[s] of fact which [were] untrue, deceptive or misleading” in

   violation of the Wisconsin DTPA.




      152
            Wis. Stat. § 100.18(1).


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           876.    The plaintiffs are entitled to damages and other relief provided for under Wis.

   Stat. § 100.18(11)(b)(2). Because the defendants’ conduct was committed knowingly and/or

   intentionally, the plaintiffs are entitled to treble damages.

           877.    The plaintiffs also seek court costs and attorneys’ fees under Wis. Stat.

   § 110.18(11)(b)(2).

                                      DEMAND FOR JUDGMENT

           WHEREFORE, the plaintiffs, on behalf of themselves and the proposed class,

   respectfully demand that this Court:

           A.      Determine that this action may be maintained as a class action pursuant to Federal

   Rules of Civil Procedure 23(a) and (b)(3), and direct that reasonable notice of this action, as

   provided by Federal Rule of Civil Procedure 23(c)(2), be given to the class, and declare the

   plaintiffs as the representatives of the class;

           B.      Enter judgments against the defendants and in favor of the plaintiffs and the class;

           C.      Award the class damages (i.e., three times overcharges) in an amount to be

   determined at trial;

           D.      Award the plaintiffs and the class their costs of suit, including reasonable

   attorneys’ fees as provided by law; and

           E.      Enjoin the defendants from continuing to report artificially inflated benchmark

   prices that do not approximate their true net prices to CVS, Express Scripts, and OptumRx.

           Award such further and additional relief as the case may require and the Court may deem

   just and proper under the circumstances.




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                                            JURY DEMAND

          Pursuant to Federal Rule of Civil Procedure 38, the plaintiffs, on behalf of themselves

   and the proposed class, demand a trial by jury on all issues so triable.




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   Dated: March 18, 2019       Respectfully submitted,

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